       Case: 23-2557   Document: 53        Filed: 09/25/2024    Pages: 139



                                 NO. 23-2557

                               IN THE
                  UNITED STATES COURT OF APPEALS
                      FOR THE SEVENTH CIRCUIT


UNITED STATES OF AMERICA,
Plaintiff-Appellee,

vs.

LARRY JONES,
Defendant-Appellant.


              Appeal from the United States District Court for the
                Northern District of Illinois, Eastern Division.
                             No. 1:20 cr 00309-1

               Honorable. Virginia M. Kendall, Judge Presiding.


      OPENING BRIEF, ARGUMENT AND REQUIRED APPENDIX FOR
               LARRY JONES DEFENDANT-APPELLANT



                              ALLAN A. ACKERMAN
                              Attorney at Law
                              Counsel of Record
                              19 S. LaSalle Street, Suite 502
                              Chicago, Illinois 60603
                              Telephone: 312- 332-2891
                              Facsimile: 312-750-1595
                              Email: profaaa@aol.com

                               Counsel for Larry Jones
                               Defendant-Appellant


                       ORAL ARGUMENT REQUESTED
                Case: 23-2557                  Document: 53                       Filed: 09/25/2024                  Pages: 139


                  Case: 23-2557                  Document: 41-1                       Filed: 03/22/2024                Pages: 1                     (1 of 2)

                                                                                                           Save As                 Clear Form

                                  APPEARA~C E & C I RCUIT RULE 26.1 DISCLOSURE STATEME~T

 Appellate Coun No: :;;2.:a.
                        3--=2""5~5"-7_ _ __

 Shon Caption: United S tates v. Larry Jones

    To enable 1he judges to determine whether recusal is necessary or appropriate, an auomey for a non-governmental pany, amicus curiae,
 mter,enor or a private auomey representing a go,emmen1 part)', mus1 fun1i~h a disclosure s1ateme111 providing 1he following infomiation
 in compliance with Circuit Rule 26. 1 and Fed. R. App. P. 26.1.

        The Coun prefers that the disclosure stateme111s be filed immediate!)' follO\I ing docketing; bu1, the disclosure statement must be filed
 111thin 21 days of docl..t ting or upon the filing of a motion, response, petition, or answer in this court, \\-hiche\er occurs lirs1. A11omeys are
 required to file an amended statement to reflect any material changes in the required inform:ition. The text of the statement must also be
 included in the front of the table of contents of1he pany's 111:iin brief. Counsel Is required to complete the entire statement and to use
 ':',/ A for an) information that is not applicable if this form is used.

          0         PLEASE CHECK HERE If ANY !:"/FORMATION 0~ TH IS FORM JS ':',EW OR REVISED A~D
                    INDICATE WH ICH IXFORM,\ TIO~ IS NEW OR REVISED.

 (I)      The full name of every party that the anomey represents in the case (if the party is a corporation, you must provide the corporate disclosure
          inforrnanon required by Fed. R. App. P. 26.1 b)' completing item #3):




(2)       The names of all law finns v.hosc pilTUlcrs or as,ociates hne appeared for the party in the case (tncluding proceedings in th: distnct court or
          before an admioistrauve a1icncy) or arc expected to appear for the party m llm cou.rt:
          PbilliP Turner, Law Offices or Phillip A. Turner and Debra Loew Loew & Loew


(3)       If the pilrty, amicus or inten.enor is a corporauon,

          1)        Identify al! Its parent corporations, 1f any; and

                    N/A

          ii)       hst an)' publicly held comp:iny that owns 10% or more of the party's, amicus' or intervenor's stock:

                    NIA

(4)       Provide mfonnation required by FRAP 26.1 (b) - Or1ian1a11onal Victims m Criminal Cases:



(5 )      Provide Debtor information required by !'RAP 26.1 (c) I & 2:

          NIA



Auomcy's S1gnatul'\!: s/Allan A. Ackerman                                      Date. March 22, 2024

Anome)"s Pnntcd :-'1tmc: ""AJ""l"'a""n-'-A'--'-A~c""k""e""rm"'a""n-'------------------------ - - - - - - - -

Pleasc indicate if you arc CoUJ1sel ofRecord for the abo,·e h~ted p.in,e~ punuan1 to Circuit Rule 3(d).   Ye,   [2J No D
Addreu: 19 S. LaSalle Street, Suite 502, Chicago. IL 60603



Phune :-.umber: _3_1_2 /_3_32
                            _-_2_8 9_1_ _ _ __ _ _ _ _ _ _ __             Fax Number. 312/750-1595

E-Mail Address: profaaa@aol.com
                                                                                                                                       rev. 12/ 19 AK
                                                                           i
          Case: 23-2557            Document: 53                   Filed: 09/25/2024             Pages: 139



                                         TABLE OF CONTENTS

Circuit Rule 26.1 Disclosure Statement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . i

TABLE OF AUTHORITIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ii-iv

        CASES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . iii

        STATUTES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . iv

        OTHER AUTHORITIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . iv

JURISDICTIONAL STATEMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1-2

ISSUES PRESENTED FOR REVIEW . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

STATEMENT OF THE CASE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2-32

SUMMARY OF THE ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32-33

ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33-45

STANDARD OF REVIEW . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33-34

CONCLUSION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 45

CERTIFICATE OF COMPLIANCE WITH FRAP 32(a)(7)

CIRCUIT RULE 30 STATEMENT

CERTIFICATE OF SERVICE

REQUIRED APPENDIX




                                                        ii
         Case: 23-2557          Document: 53              Filed: 09/25/2024         Pages: 139


                                  TABLE OF AUTHORITIES

                                                CASES

     I.     Whether the District Court Erred by Including as Uncharged Relevant
Conduct Drug Amounts and Violent Acts from a Time Period Distinct from that
Appearing in Defendant’s Drug Trafficking/Money Laundering Indictment? . . 34

Gall v. U.S., 552 U.S. 38 (2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33-34

Hurtado v. California, 110 U.S. 516 (1884). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 45

U.S. v. Bacallao, 149 F.3d 717 (7th Cir. 1998). . . . . . . . . . . . . . . . . . . . . . . . . . . . 34

U.S. v. Bell, 808 F.3d 926 (D.C. Cir. 2015) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 42

U.S. v. Berry, 553 F.3d 273 (3d Cir.2009). . . . . . . . . . . . . . . . . . . . . . . . . . . . 44-45

U.S. v. Brasher, 105 F.4th 1002 (7th Cir. 2024) . . . . . . . . . . . . . . . . . . . . . . . . 40-42

U.S. v. Crockett, 82 F.3d 722 (7th Cir. 1996) . . . . . . . . . . . . . . . . . . . . . . . . . . 42, 44

U.S. v. Draheim/Lewis, 958 F.3d 651 (7th Cir. 2020) . . . . . . . . . . . . . . . . . . . . . . 42

U.S. v. Duarte, 950 F.2d 1255 (7th Cir. 1991) . . . . . . . . . . . . . . . . . . . . . . . . . . . . 35

U.S. v. England, 555 F.3d 616 (7th Cir. 2009) . . . . . . . . . . . . . . . . . . . . . . . . . 44-45

U.S. v. Hahn, 960 F.2d 903 (9th Cir. 1992) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 41

U.S. v. Mendoza, 510 F.3d 749 (7th Cir. 2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . 34

U.S. v. McGowan, 478 F.3d 800 (7th Cir. 2007) . . . . . . . . . . . . . . . . . . . . . . . . . . 41

U.S. v. Mullins, 971 F.2d 1138 (4th Cir. 1992) . . . . . . . . . . . . . . . . . . . . . . . . . . . 41

U.S. v. Ortiz, 431 F.3d 1035 (7th Cir. 2005). . . . . . . . . . . . . . . . . . 35-36, 41-42, 44

U.S. v. Patel, 131 F.3d 1195 (7th Cir. 1997). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 42

U.S. v. Purham, 754 F.3d 411 (7th Cir. 2014) . . . . . . . . . . . . . . . . . . . . . . . . . . . . 42

U.S. v. Rollerson, 7 F.4th 565 (7th Cir. 2021) . . . . . . . . . . . . . . . . . . . . . . . . . 34, 44

U.S. v. Young, 863 F.3d 685 (7th Cir. 2017) . . . . . . . . . . . . . . . . . . . . . . . . . . 33-34
                                      iii
          Case: 23-2557             Document: 53                  Filed: 09/25/2024            Pages: 139



                           CONSTITUTION, STATUTES AND RULES

U.S. Constitution Fifth Amendment – Due Process . . . . . . . . . . . . . . . . . . . . 34, 44

18 U.S.C. § 710. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 38

18 U.S.C. § 1956(a)(3)(A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

18 U.S.C. § 3231 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

18 U.S.C. § 3553. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6, 8, 26

18 U.S.C. § 3742 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

21 U.S.C. § 841(a)(1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

21 U.S.C. § 846. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

28 U.S.C. § 1291 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

U.S.S.G. § 1B1.3 and 1B1.3(a)(1)(A) and §§ 1B1.3(a)(2), (3) . . . . . . . . . . . . . 42, 44

U.S.S.G. § 2D1.1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8, 24, 39


                                                       RULES

Seventh Circuit Rules 30(a) and 30(b). . . . . . . . . . . . . . . . . . . Preceding Appendix



                                          OTHER AUTHORITIES




                                                        iv
          Case: 23-2557    Document: 53       Filed: 09/25/2024   Pages: 139



                          JURISDICTIONAL STATEMENT

      On July 24, 2020, Larry Jones (a/k/a “Lil Larry,” hereafter defendant or

Jones), and two others, were charged by the Special January 2019 Grand Jury (in

Chicago) in an nine (9) count indictment. R. 1. Those counts charged that Jones,

from about August 6, 2018 and continuing until about September 3, 2019,

conspired to violate federal drug and money laundering statutes in violation of 21

U.S.C. §§ 841(a)(1) and 846. In Count 3 Jones was charged with money

laundering under 18 U.S.C. § 1956(a)(3)(A) based on August 6, 2018 activities.

Each counts involved drug activity in the Chicago area between August 2018 and

September 2019. R. 1. App. 1-12.

      On January 19, 2023, Jones, who had been released pending trial and was

represented by retained counsel, executed a plea agreement. R. 174. App. 14-33.

Based on his plea agreement, Jones pled guilty to Counts 1 and 3 of Indictment 20

CR 309 before the Honorable Virginia M. Kendall. Judge Kendall accepted

defendant’s guilty plea. R. 173.1

      On July 20, 2023, following several hours of sentencing evidentiary

hearings, Jones was sentenced to 188-months on Count One and a concurrent 188-

month sentence on Count Three (along with a four-year term of supervised release

and a monetary forfeiture order). The balance of the counts against Jones were


      1
        The District Court’s docket filings are designated as “R. —,” and the
January 19, 2023, July 19-20, 2023, guilty plea and sentencing Reports of
Proceedings will be referred to by the date of the proceedings followed by “Tr.
___.”
                                          1
       Case: 23-2557     Document: 53         Filed: 09/25/2024   Pages: 139


dismissed. R. 205-206.

      Jones filed his original pro se Notice of Appeal on August 4, 2023.

Subsequently, the district court allowed counsel’s motion to amend/correct his

Notice of Appeal Nunc Pro Tunc to August 4, 2023. R. 210, 225-226.

      The district court had jurisdiction pursuant to 18 U.S.C. § 3231 and the

United State’s Court of Appeals for the Seventh Circuit has jurisdiction based on

28 U.S.C. § 1291 and 18 U.S.C. § 3742.



                       ISSUE PRESENTED FOR REVIEW

      I.     Whether the District Court Erred by Including as Uncharged

Relevant Conduct Drug Amounts and Violent Acts from a Time Period

Distinct from that Appearing in Defendant’s Drug Trafficking/Money

Laundering Indictment?



                         STATEMENT OF THE CASE

      Larry Jones, a/k/a “Lil Larry,” with counsel, appeared before presiding

Judge Kendall during the morning of January 19, 2023, for his “change-of-plea”

concerning Counts 1 and 3 in 20 CR 309-1.

      AUSA Arce appeared for the government and the court is advised that there

was a 20-page plea agreement. Under oath, Jones relates that he is 42 years old,

went to the 10th grade in high school and is reasonably healthy with no history of

treatment for mental health difficulties. He discussed the case and the plea


                                         2
       Case: 23-2557     Document: 53         Filed: 09/25/2024   Pages: 139


agreement with his attorney and is satisfied with the attorney’s representation; he

has had enough time to review the plea agreement and doesn’t need any further

time because they have discussed it many, many times. Neither the government

nor defendant’s attorney, Philip A. Turner have any questions concerning his

competency. Tr. 2-5 (for the balance of this segment of the Statement of the Case

the report of proceeding pages are from 1/19/23).

      The court reviewed the nine-count indictment with Jones; in Count One he’s

charged with possessing heroin with the intent to distribute more than 100 grams

and in Count Three he’s charged with money laundering. And, in Counts 2, 4-9, he

is charged with distributing quantities of heroin. Tr. 5-6. The court then reviewed

the plea agreement explaining the maximum and minimum penalties regarding

Count One and Three. The court inquired of the defendant concerning her

explanations and the defendant answered he understood. Tr. 6-7.

      Starting at Tr. 8-9 the court discussed “relevant conduct,” noting that the

government, using the 2021 U.S.S.G. manual, maintains that Jones is responsible

for 85 grams of cocaine base which converts to 303.54 kilos of converted drug

weight. Further, they have 160-200 grams of fentanyl which is the equivalent of

400-500 kilos of drug weight. Furthermore, according to the government there is

5.57-6.04 kilos of heroin which is converted to 5,570-6,040 kilos of converted

drug weight. Finally, there is 12.71 kilos of marijuana and the combined and

converted drug weight makes Jones responsible [per relevant conduct] of between

6,286.25-6,856.25 kilos of converted drug weight. That gives rise to an offense


                                         3
       Case: 23-2557      Document: 53         Filed: 09/25/2024     Pages: 139


level of 32 because it’s between 3,000 and 10,000 kilos of converted drug weight.

Per the plea agreement, defense counsel disagrees and will argue or reserves the

right to argue at the time of sentencing that a different drug weight applies.

Concerning the two-level increase because Jones was a leader, organizer, manager

or supervisor will be just explained by defense counsel. Id. at 9-10.

      The court summarized the potential guideline range and, with acceptance of

responsibility, it becomes a level 33. Because his prior convictions are beyond the

15-year period they are not calibrated as criminal history points.

      Defendant’s plea agreement has a level 36 rather than a level 33 and in

response to questions from the court, government counsel maintains that they may

argue at sentencing that Jones has not accepted responsibility and therefore the

offense level should be 36 and not 33. Id. at 11-12.

      The court then reminds defendant that the guideline calculations being

discussed are preliminary and the court will make the determination of the correct

guideline calculations. However, at a level 36 with a criminal history of 1, his

guideline range is 188-235 months. Id. at ¶ 12. And, he will not be permitted to

withdraw his guilty plea if the U.S. Probation Officer has different calculations.

Defendant agrees. Id. at Tr. 12-13.

      The defendant agrees that he’s giving up his rights to a jury trial and all his

trial rights, and defendant will have the right to appeal this guilty plea and the

sentence that I impose. Jones understands and agrees. Tr. 14-16.




                                           4
       Case: 23-2557     Document: 53         Filed: 09/25/2024    Pages: 139


      After the government articulated its factual basis for Counts One and Three

at Tr. 17-21, the court asks defendant if he agrees–he did not. Per Jones, he admits

he did wrong and did what he did but it’s the amounts that they’re saying. Id. at

Tr. 21. In other words, Jones disagrees with the relevant conduct aspect of the

government’s factual basis. With that the court advises defense counsel and Jones

that she will not accept his guilty plea and he should have another conversation

with his lawyer. Tr. 21-23.

      After speaking with Jones, defense counsel explained some of the

difficulties Jones has in understanding words like “advisory” and things of that

sort; he just misunderstood and he’ll tell the court that. According to defense

counsel Jones now understands what is meant by “factual basis” and defense

counsel believes that Jones will tell the court that he agrees with the government’s

factual basis. Thereafter Jones agrees that it was the amounts in the other portion

“relevant conduct,” not the amounts in the factual basis. Id. at Tr. 25-26.

      Thereafter, defendant agrees with the drugs that were distributed on August

6 and October 24, 2018 and he agrees to having received $9,385 for those

transactions. He further agrees that on August 6 he got $3,750 and $1,875 was

repayment to him for the drugs previously given the confidential source. With that,

defendant agrees that he was disagreeing with the amount of drugs that were

mentioned as far as the base offense level. The court then accepted his guilty plea

to Counts One and Three. Id. at Tr. 25-29.




                                          5
       Case: 23-2557     Document: 53         Filed: 09/25/2024   Pages: 139


      Jones, through counsel, requested that he be released pending sentencing.

The court listened to the arguments of counsel and denied release pending

sentencing.

      July 19, 2023 – First evidentiary hearing sentencing date before the

Honorable [now Chief Judge] Virginia M. Kendall. Larry Jones is represented by

retained counsel, Philip A. Turner, and attorneys appearing for the government are

Jimmy L. Arce and John D. Mitchell.

      Before getting to the guidelines, the court discusses the PSR and

defendant’s plea agreement. Without objection from the from the government, the

court agrees to remove ¶ 17 and 18 from the PSR. ROP 7/19/23 at Tr. 5. The

government opposes acceptance of responsibility and removing ¶ 10 from the

PSR. Id. at Tr. 6-7.

      After discussing defendant’s plea agreement and his guilty plea to Counts

One and Three, the court explains how advisory guidelines operate and the § 3553

factors that are considered by the court for sentencing purposes after completing

the federal sentencing guideline calculations. Concerning relevant conduct, the

court goes through the relevant conduct and how what was actually sold as part of

the drug conspiracy has converted drug weight for guideline calculation purposes.

Id. at Tr. 8-9. Based on those calculations and the possible two-level increase as a

leader or manager, that brings the base offense level for Count 1 to a level 34.

Then you add to that BOL (34) the money laundering count, and you add two

more levels bringing it to a BOL of 36. Then with grouping it still remains a level


                                          6
       Case: 23-2557      Document: 53        Filed: 09/25/2024    Pages: 139


36 and if you receive 3 levels off or acceptance of responsibility you’re at a level

33 and because you don’t have any criminal history points it’s either going to be a

level 36 (no acceptance of responsibility) or a level 33 (acceptance of

responsibility). According to the court a level 36, with no criminal history, reaches

an advisory guideline range of 188-235 months. Your attorney is going to argue

for less than that based on the drug quantity, along with your acceptance of

responsibility. The court also explains that the calculations are preliminary and

they could be higher or lower and it will be the judge who makes the calculations

under the guidelines. The defendant answers that he understands what the court

has said. Id. at Tr. 10-13.

      Starting at Tr. 17, the government recites its factual basis for Count One. In

part, the government explained that from approximately August 2018 through

December 2019, defendant worked with Ms. Fountain and Mr. Spencer and others

concerning the possession and distribution of heroin and the monies collected for

that heroin. The government goes through specific dates such as August 6, 2018

and as part of his plea agreement Jones acknowledged being involved in drug

transactions on specific dates in August, September and December 2018 and

February 2019. The government also recited the factual basis for the money

laundering–Count 3 which was also acknowledged as part of the plea agreement.

Id. at Tr. 17-21.

      Concerning relevant conduct, the defense position is the drug amounts are

overstated and the PSR’s reference at ¶ 11 is objectionable. No matter. The court


                                          7
       Case: 23-2557     Document: 53         Filed: 09/25/2024    Pages: 139


withholds judgment concerning that relevant conduct dispute. Id. at Tr. 7-9. The

court accepts the rest of the PSR and commences discussing offense levels.

      The defense maintains defendant’s offense level is 24, the PSR has 32 as the

offense level. Defendant admitted 174 grams of heroin and under § 2D1.1 that’s a

level 24, which defense counsel increases by two levels because of money

laundering; so it’s a level 26 and subtracting the acceptance of responsibility there

is a U.S.S.G. level of 23 with an advisory sentencing range of 70-87 months. Id. at

Tr. 10-11. The government forcefully disputes the defense guideline positions,

contending that the defense is mistaken. Id. at Tr. 13-14. The sentencing court

eschews making the U.S.S.G. calculations while agreeing that it has to be done

before considering § 3553 factors.

      In advance of Spencer’s testimony, defense counsel has discovery issues

concerning the contemplated testimony from Messrs. Spencer and Dockett. The

sentencing court resolves those disputes. Tr. 24-28.

      !      On 7/19/23, the government called its first sentencing evidentiary

witness, Jamar Spencer (Spencer). At age 37, he grew up on the westside of

Chicago. He went to the 10th grade at Austin High School and was “kicked out.”

His criminal history includes several felony convictions and his plea agreement is

contained in the record at R. 118. After serving several Illinois felony sentences,

as part of his plea agreement, he pled guilty to drug trafficking offenses and

stipulated to a pending federal indictment involving a firearm. Tr. 30-32. In this

case, along with Marsha [Fountain] and defendant, he agreed to provide truthful


                                          8
       Case: 23-2557     Document: 53           Filed: 09/25/2024   Pages: 139


testimony as part of his plea agreement. Tr. 33-34.

      He joined the Black P Stone gang in the Austin area of Chicago when he

was 15 and at Austin High School. They would have occasional meetings, talk

about the neighborhood and the gang had different ranks. He believed there was a

“Prince,” and an “Akbar,” and they had status as higher-ups in the “Stones.” In the

Stone’s rankings, a “General” was below a Prince and then a “Mufti,” and below

that, a “Ranger.” He was a Ranger and to become a General you had to do some

work, whatever the organization tells you to do including “to kill somebody.” Tr.

37-38. The meetings were periodic, more than once a year, he would see Jones at

the meetings and by word of mouth he learned that Jones was a “General.” He was

18 when he first met Jones and he never saw Jones do anything but knew that he

had gone to jail (went away) for attempted murder. And after looking at a

government photo, he recognizes Dante Dockett from the neighborhood; Dockett

was one of the Vice Lords. Dockett and Jones hung around together; by word of

mouth he learned that Dockett was a “shooter” and that Jones and Dockett did

drug work together. Tr. 41-44.

      Spencer identified another Vice Lord “Breezy” Montana; Jones had a

relationship with Montana. If Jones had a problem, he had Montana who was like

a “send-off” man. Per Spencer the “send-off” man would do whatever he was told

to do including kill somebody. Id. at Tr. 45.

      Spencer testified that between October 2015 and 2020 he did drug deals

with others and Jones was one of his suppliers. Spencer could not recall how much


                                          9
          Case: 23-2557   Document: 53        Filed: 09/25/2024   Pages: 139


marijuana Jones supplied during that time frame. Tr. 47. But his plea agreement

includes over 12 kilos, along with heroin (about 5 kilos) and about 100 grams of

fentanyl-laced heroin and about 85 grams of crack [cocaine]. Tr. 48-49.

      Spencer was paroled out of the IDOC around August 2016 and he started

dealing heroin with Jones around October 2016.2

      Concerning getting marijuana from Jones, in the beginning it was a few

ounces, and into 2017 he got up to a pound of marijuana. Spencer sold it out of a

gas station in the Austin neighborhood which was an area controlled by the

“Stones.” Per Spencer, around May 2017 he was getting small quantities of heroin

from Jones which he was selling “off my phone,” in the Austin area. Jones would

personally bring him drugs from time to time. Tr. 52-55.

      During May 2018 he got a call from one of his marijuana customers. He met

up with the customer who pointed a gun at him, and then that customer called

others and Spencer was taken from place to place and ended up on the north west

side where his family lived. At gunpoint he was taken into the apartment because

they were going to rob him or steal money from the apartment. Everyone in the

apartment was tied up and he escaped because he heard one of the kidnappers say

they were going to kill Spencer and his brother. Spencer jumped out a window

from the second floor, landed on a metal gate broke his shoulder and leg and



      2
        Defense counsel made repeated objections because Spencer referred to his
plea agreement and had little independent recollection without looking at his plea
agreement or being reminded about the content of his plea agreement. Tr. 45-46,
51-52.
                                         10
       Case: 23-2557     Document: 53          Filed: 09/25/2024   Pages: 139


ended up having several surgeries. He didn’t do any further drug dealing until

around October 2018. Tr. 56-60.

      During October 2018 he met up with Jones and agreed that Jones would

supply Spencer with heroin. Spencer had another supplier or another person he

was dealing with and they would get 25 grams at a time, sometimes on credit,

sometimes not. On 10/24/18, Jones told him to get a certain amount of money after

delivering some heroin. He gave the money to Jones but did not know that the

drug customer was an informant. Spencer saw and listened to an audio/video of

the sale. Tr. 60-62. During October 2018 Spencer claimed that Jones directed him

to different drug spots to sell drugs at certain locations. And that continued into

2019. Tr. 63-66.

      Spencer’s testimony included discussing his co-indictee, Marsha Fountain

(Marsha). Spencer met her during late 2018. She knew how to mix heroin, Jones

was present at an apartment around Monroe and Central when she would mix

heroin with another woman. Marsha related that she had people and she could get

whatever she needed when she was mixing heroin. She would mix it with dormins

and fentanyl, weigh it, put it in a blender and mix it up; Spencer and Jones would

be present and he was living in that apartment at the time. After Marsha mixed the

drugs, they would package it and Jones would tell them where to take it and what

to do with it. Spencer would collect money, he would give it to Marsha




                                          11
          Case: 23-2557   Document: 53        Filed: 09/25/2024   Pages: 139


occasionally but most of the time to Jones. Tr. 68-70.3

      Spencer testified concerning a December 2016 double murder that occurred

on Chicago’s westside. Per Spencer, the murder victims got killed because they

robbed a dope dealer “Mack.” Mack and Jones hung out together but he wasn’t

sure whether they did any [drug] work together. He never learned Jones had any

connection to the dope that was stolen from Mack or the double murder. Mack

never told him he participated in the murder but Spencer learned about it while he

was in the Kankakee County Jail. He learned that “Dante” [Dockett] committed

the murders and Spencer did not learn if anyone else participated. Tr. 70-75.

Spencer also talked about “Main-Main.” Spencer and Main-Main grew up in the

same area, and Main-Main was “up under Larry [Jones] a lot,” Main-Main was

running one of the drug spots for Jones. During 2016 he and Main-Main had a

conversation about some heroin. Main-Main didn’t know what to do with the

heroin he had and Main-Main didn’t want to talk to Jones about it because Main-

Main and Jones didn’t see eye-to-eye and Spencer wasn’t sure but it probably had

to do with money. Spencer recalled that around February 2017 Main-Main was

killed. Tr. 76-79.

      Under cross-examination Spencer agrees he’s testifying because he wants

to lower his sentence. Further, he was charged in a separate case before another

federal judge with felony drug possession and as part of his current deal, there


      3
       Marsha Fountain was sentenced to a total 20-months and Jamar Spencer
was sentenced to 72-months based on their guilty pleas to Count 1 in Indictment
20 CR 309. R. 158 and 208.
                                         12
       Case: 23-2557     Document: 53          Filed: 09/25/2024    Pages: 139


would be no jail time because that case was dismissed. That’s part of his plea

agreement and he does have eight prior felony convictions and was labeled a

“career offender.” Under cross, Spencer insists that he’s “up here to tell the truth.”

Tr. 81-83. Spencer agrees he was facing 20-years and that included an agg battery

charge involving a peace officer; but he denies beating up a police officer. Tr. 83-

85.

      Spencer was getting drugs from other suppliers in addition to Jones. Some

of them were “Beatle Man,” “Yogi,” and “Curt.” Tr. 85-86. And he doesn’t

remember the dates he got drugs from the different suppliers, he thinks he was

getting it from Yogi in 2017, and from Curt in 2019; he would call and they would

deliver the drugs to him and he had his own people selling for him. In other words

Spencer had people selling for him but couldn’t remember all their names–it was

during 2017 and 2019. Then he remembers some of his drug sellers including

“Doorman, Ice, Boo-Man,” and “Peanut.” Spencer agrees he had a lot of people

selling drugs for him over time, he doesn’t remember all the people, but he doesn’t

think it was as many as 20 or 25. They would come and go; but Spencer denied

having his own drug trafficking organization. Tr. 87-90. Spencer agrees he was

not charged as having an entire drug organization, only conspiring with Marsha

and Jones, but not all the rest of the people he named. Id. at Tr. 90.

      Other than the recorded conversations between he and others, a lot of what

he testified about was “word of mouth,” and someone recorded conversations he

had with other people and he heard some of those conversations between he and


                                          13
       Case: 23-2557     Document: 53        Filed: 09/25/2024   Pages: 139


Jones, and here he was working with Marsha and Jones to try and make money

selling drugs. Marsha bragged about calling herself a chemist and how she knew

how to get and mix drugs from people she knew and she actually bought drugs

including fentanyl. Tr. 90-92.

      Spencer admits to being a member of the “Stones,” and while he was never

initiated, it was just something that happened. Tr. 93-94. Concerning what he

means when he testifies about “word of mouth,” Spencer explained that people say

things, somebody tells you something, but just because somebody says something

doesn’t make it true; according to Spencer it depends on what that something

is–meaning what the word of mouth is–or the subject [is]. Eventually Spencer

concedes that because somebody says it doesn’t make it true. Tr. 96.

      Spencer testified concerning his personal drug history which includes

ingesting ecstacy, meth, marijuana and drinking as much as a pint of liquor a day

or more. Tr. 97-103. The last time Spencer used drugs or ingested liquor was the

weekend before he got locked up. Id. at Tr. 103.

      When questioned by the government attorneys and agents on March 12,

2021, he failed to recall–but apparently agrees that he told them he had no

involvement with Jones or Marsha. Tr. 103-104. And regarding his own drug

selling employees, they got paid in drugs, heroin and cocaine. He did not keep any

records, books, or anything like that, nothing about who gave what as payment for

drugs, so there are no records concerning his own drug involvement. Tr. 104-105.




                                        14
       Case: 23-2557     Document: 53         Filed: 09/25/2024    Pages: 139


      Redirect: Although his weapon case pending before Judge Kennelly was

dismissed, the facts of that case were including in his plea agreement before Judge

Kendall. Tr. 107. Importantly, in connection with this case, he didn’t possess any

weapons and he was told not to mess with people or firearms. Tr. 108-110.

      Spencer has been a member of the “Stones” for many years, and if you claim

to be a member and are not that’s frowned on. Tr. 110-113. How someone

becomes a “Prince” in the Stones, he’s not sure how that comes about, he is

familiar with the title “General,” and that has to be given to you, you have to earn

it and it was about 10 years ago that Jones became a General. All Spencer recalls

is that it just happened, he looked up and he was a General and you have to be

nominated to be a General and he doesn’t know who nominated Jones. Tr. 113-

115. Spencer claims that he has not used ecstacy, cocaine, any drugs or alcohol

since the weekend of his arrest and his ability to recall has not been impacted by

drugs or alcohol. Tr. 116-117.

      Recross: Spencer was arrested during Father’s Day weekend during 2020.

He was drinking the entire weekend, until he probably passed out, but if he didn’t,

he drank a great deal. And he used some Molly, marijuana and ecstacy because it

was a long weekend. Tr. 119-120.

       !     The next witness for the government during the afternoon of July 19,

2023, was Dante Dockett (Dockett). An overview of Dockett’s criminal history

and background reflects that he was charged with multiple other defendants in a

RICO conspiracy under indictment 19 CR 641. That case was pending before the


                                         15
       Case: 23-2557     Document: 53        Filed: 09/25/2024   Pages: 139


Honorable Thomas M. Durkin. On May 25, 2022, pursuant to a plea agreement,

Dockett entered a guilty plea before Judge Durkin. In 19 CR 641 at R. 474/475.

On August 25, 2023, following his testimony in this case, where he acknowledged

committing, inter alia, six (6) murders, Judge Durkin imposed [a] 360-month

custodial sentence. 19 CR 641 at R. 968.

      !     Dockett’s direct commenced on 7/19/23 at Tr. 122. At age 45,

Dockett acknowledges pleading guilty in the RICO case before Judge Durkin. His

plea/cooperation agreement requires him to be truthful. He admitted his leadership

in the Traveling Vice Lords Street Gang (TVL). Dockett was a member of the

“Wicked Town” TVL faction. From the 1990s until September 2017 he

participated in six (6) murders along with many attempt murders and other acts of

violence. Tr. 122-126.

      During late January 2018, his friend, Donald Holmes Jr., was murdered.

Dockett learned that some of his brother TVL members were involved in that

murder. Thereafter, Dockett agreed to cooperate and provide information

concerning many murders committed by the “Wicked Park” TVLs. As example,

Dockett testified that he was paroled on 10/5/15 and was arrested during late

September 2017. During those two years he committed a triple murder in

Kankakee, along with three other murders. Tr. 126-128. Dockett grew up with

Jones and around November 2015, they reconnected at the home of a drug

trafficker, Donald Holmes, Sr. (a/k/a Big Don).




                                        16
          Case: 23-2557   Document: 53         Filed: 09/25/2024   Pages: 139


      Several months later, during late 2016, Dockett arranged with Jones and Big

Don to get heroin to sell. Dockett had a block on the westside where he sold dope,

he considered it his own territory. During that time he learned that Jones, who he

knew most of his life, was with the Stones and had some rank. Although they were

with different groups, they were from the same neighborhood, grew-up together,

so it was not unusual that they dealt with one another. Tr. 132-34.

      Dockett explained his participation in the triple murder occurring in

Kankakee during October 2016. Big Don’s home was broken into and he

suspected that the robber was “Dabo.” So at Big Don’s direction, along with Big

Don’s son, and another individual, Dockett traveled to Kankakee and went to

Dabo’s home. Dabo was there with his two sons. After some conversation Dockett

“just killed them–participated in it.” Tr. 138-39.4

      Dockett then described a double murder which took place on the westside of

Chicago on 12/23/16. That murder was a favor to Big Don because the murder

victims had broken into and stole drugs from a dope dealer named “Mack.” Tr.

139-140. When Dockett was asked whether Jones had any relationship to the

stolen drugs–he answered “no.” Tr. 142. (Dante then described the 12/23/16

westside double murder in great detail at Tr. 143-45).




      4
        Dockett testified that he was receiving money from the government
although he’s in custody. Ironically, he was in the Kankakee County Jail as a
federal prisoner. Dockett needed certain medications and the federal government
was paying for those medications along with furnishing some other funds to him
while in custody. Tr. 135-136.
                                          17
       Case: 23-2557     Document: 53           Filed: 09/25/2024   Pages: 139


      Starting at Tr. 147, Dockett describes his participation in the attempt-murder

of “Main.” (Main may also have been known as “Main Main”). Per Dockett, Jones

called him asking if he would meet with Breezy Montana. Jones wanted Dockett

to be with Breezy because Dockett believed there was going to be a drug deal.

Jones and Breezy were together every day; some people said Breezy was a

bodyguard for Jones. But that’s street talk and Dockett doesn’t get involved in

that. Tr. 149-50. Breezy and Dockett got together, and it turns out that Breezy was

chasing down “Main.” Dockett didn’t know who “Main” was or anything about

him. He saw Breezy was “tussling” with Main but he did not see “Twin” at the

time. The deal was that Dockett would drive Breezy’s car and if he heard any

gunshots he would pick up Breezy. Turned out that Breezy wanted to use

Dockett’s gun but it jammed. The plan didn’t end well; Breezy was shot and was

limping so they returned to Dockett’s house and he called Jones. “Main” had

gotten away and all of this was reported to Jones. Tr. 150-59. Dockett testified that

a couple of weeks later he got a text message and a newspaper article that Main

was found dead. Tr. 159-60.

      During the execution of a search warrant at Dockett’s home drugs and a

firearm were seized. Among the items taken from Dockett’s home, were

photographs and one of them was a photo of Jones, with Dockett and Dockett’s

wife at Dockett’s birthday party. Tr. 161-62.

      JULY 20, 2023, afternoon continued testimony of Dockett, starting with the

cross-examination at Tr. 168.


                                         18
       Case: 23-2557     Document: 53         Filed: 09/25/2024   Pages: 139


      Dockett agrees he committed murders, he took lives, and that was beneficial

or helpful to him. Dockett was willing to kill people to benefit himself. Tr. 168-69.

      Concerning the triple murder in Kankakee, the victims were a guy named

“Dabo,” along with his two adult sons. Dockett murdered the father and both sons.

Per Dockett’s amended plea agreement he also murdered three other people. Tr.

170-71. Dockett also explained that he shot many other people in self-defense

while protecting himself. When asked questions about his “motivation”

concerning the murders, Dockett maintained that he shot at people, it was always

self defense. He told the government about all the other “incidents”–meaning

shooting at people. Tr. 171-74.

      Dockett admitted that he was also selling drugs at the same time which he

did to benefit himself. According to Dockett’s amended plea agreement the

government will recommend a sentence of not less than 20 no more than 30 years.

Thus, for murdering and attempting to murder people, the most that will happen is

the government recommending a 30-year sentence. Tr. 174-75.

      Dockett agreed that over the years the government paid him over $16,000

while he’s been in custody. Dockett explained that those funds were for

medication and making phone calls. Some of the government money was also used

for commissary but most it was for medication and phone calls to his family. Tr.

175-76.

      He was with the Wicked Town TVLs since he was 13 or 14, they are a

faction of the Vice Lords. The Vice Lords have different branches and factions but


                                         19
       Case: 23-2557      Document: 53          Filed: 09/25/2024     Pages: 139


they all work together and are part of the TVLs. Tr. 177. He didn’t work with the

Black P Stone gang, but that doesn’t mean that they’re at war with them, or that

they’re rivals. The Stones controled different territories and they never had a

serious problem with the Stones. Tr. 177-78. Dockett associated and grew up

around the Stones all his life so none of that is unusual. And, there’s always a lot

of “talk” in the neighborhood about many things; but he generally didn’t pay

attention to any of that, because “they lie.” According to Dockett, regarding street

talk, the lies simply get repeated by people but that doesn’t make it true–Dockett

agrees with that. Tr. 178-79.

       When Dockett became a TVL, he was “blessed” into the gang, just took an

oath, in front of a group and he became an official TVL member. Dockett denies

that he’s seen anyone claim to be a member of the TVLs or some other gang, even

when they were really not a member of the gang; he’s never seen that happen. As

far as he knows, the other gangs all involve taking an oath and that means “blessed

in.” The Latino gangs are different, but black gangs involve taking an oath, and

that makes someone an official member. Tr. 180-81.

       Dockett is not being prosecuted in any Illinois court and he’s hoping it

won’t happen. But if it happens, it happens and he won’t cry over it if it happens.

He did what he did, if he’s prosecuted in State court after this, it is what it is. Tr.

182.

       Dockett agrees he’s a career offender and has felony convictions going back

to 1996; and under the advisory guidelines, he was to receive a life sentence, and


                                           20
       Case: 23-2557     Document: 53         Filed: 09/25/2024    Pages: 139


he’s doing everything he can to avoid getting a life sentence. Tr. 182-83.

      REDIRECT:

      Between 2015 and the fall of 2017, Dockett participated in six murders, and

several other attempted murders. And during that time he was an associate of

Larry Jones, went to his birthday party, he came to Dockett’s birthday party, and

that’s where the picture was taken. During those years Dockett sold drugs and

hung out with Jones. Dockett didn’t hide his violence. Tr. 183-84.

      Regarding the murder of Antonio Watkins (a/k/a “Main”) there was no

benefit to Dockett, and because Jones was his friend it benefitted Jones, actually it

benefitted both of them. Tr. 184-85. Dockett benefitted from the sale of drugs, and

Jones supplied the drugs, so that was a benefit to Jones. Dockett explained that if

he got 50 or 100 grams, Jones would get $8,000 for 100 grams, stuff like that, so

Jones had a benefit from supplying him with drugs. Tr. 186.

      Concerning other acts of violence, there was a single time it happened with

Jones. Another Stone named “Cash,” said that Jones was an informant because

Cash’s house was raided and Cash told others that Jones had given the police the

information concerning Cash. Jones requested help from Dockett and Breezy, and

they found Cash in a barber shop; in the barber shop Cash fought with the three of

them. Tr. 187-89.

      On redirect, Dockett repeated that in order for him to secure the

government’s 20-30 year sentencing recommendation he must be truthful and, if

not, the plea agreement goes out the window. However, if Dockett truthfully


                                         21
       Case: 23-2557     Document: 53         Filed: 09/25/2024   Pages: 139


relates other crimes that he had not previously told the government about, the 20-

30 year sentencing recommendation would stand. Tr. 189-91.

      RECROSS:

      Dockett told the government about all the murders he’s been involved in or

participated in. Tr. 191-92.

      !      Arguments of Counsel, Findings of Fact and Sentencing.

      The report of proceedings for July 20, 2023, starting at Tr. 193 captures the

court’s discussion of the disputed guidelines. The government, articulating its

guideline positions, maintained the marijuana furnished by Jones to Spencer

eventually involved 25-50 grams of heroin for a period of time. Although there

were no ledgers or documents maintained by Spencer because he had his own drug

trafficking activities–separate and apart from Jones–Spencer provided the time

line for receiving the drugs which included some time in 2018. Spencer had been

injured during March or April after he was kidnaped and did not return to drug

trafficking until about October 2018. Jones and Spencer renewed their drug

relationship thereafter and, per Spencer’s plea agreement, that’s when Jones was

supplying Spencer with heroin. Tr. 194-95. Regarding wiretaps or other

interceptions, concerning Spencer/Jones, there were none for any specific

transactions. With that, the government maintained that Jones should not have the

benefit of an acceptance of responsibility. The government explained its position

by converting grams into kilograms of heroin and marijuana. The government’s

estimates came from Spencer who maintained those were the amounts he


                                         22
       Case: 23-2557      Document: 53          Filed: 09/25/2024    Pages: 139


purchased from Jones from 2016-2019. (The timeframe regarding the

Jones/Spencer indictment spans only from about August 6, 2018, to about

September 3, 2019. App. 1-12.).

      The government argued that based on Dockett’s testimony he got 25-50

grams of heroin at a time which corroborates Spencer’s testimony for that same

period of time. Tr. 196-98. But recall that Dockett was arrested in the RICO

conspiracy case for which he pled guilty during September 2017. Therefore, he

was not involved in drug trafficking, with or without Jones, during 2018-2019.

      Defense counsel argued that the drugs charged in the Jones indictment

concerned an informant “Mack,” and the drugs involving Spencer. The

Jones/Spencer drug deals did not rise to the amounts calculated by the

government. Importantly, according to the PSR, Jones’ phone was tapped during

this entire time, but there is nothing there; just like Spencer’s testimony, there is

no specifics in terms of his dealings with Spencer. Moreover, Spencer had his own

drug organization at the same time and had sources other than Jones for his drug

organization. Furthermore, there were no records of any kind supporting Spencer’s

testimony. Spencer also failed to recall much of his alleged drug dealings with

Jones and, attached to defendant’s sentencing memos (R.184, 198), Marsha

Fountain was bringing drugs and mix and was doing all kinds of things with no

specificity concerning amounts or quantities. Tr. 198-201.

      Defense counsel’s argument continued by pointing out that the government

has indicated the quantities that they’re asking the court to consider were


                                           23
       Case: 23-2557     Document: 53          Filed: 09/25/2024    Pages: 139


“estimates,” which would be “guesstimates”–it’s just guessing. There were

transactions between Spencer and Jones and Jones has not denied they were

dealing drugs, working together and trying to make money. But there is no

accurate testimony concerning quantities and nothing that can come close to the

quantities the government is claiming.

      Hence, the reason the defense maintains that the amounts in the indictment,

that we have on tape with Mack, and he wasn’t brought in here to testify by the

government, so far as we know, for certain, and instead of guessing, that’s the 178

grams of heroin. And looking at 2D1.1, you look for 100-400 grams, and no one

likes drug distribution, but you don’t guess, and add things up that really have no

real support. Importantly, the defense level is 24 – and that’s based on 100-400

grams. The defense position is that you cannot guess, and add things up, therefore,

based on 100-400 grams, you get a BOL of 24, under 2D1.1. Tr. 201.

      AUSA Arce, takes issue with that, calculating, as example Jamar Spencer

noted that during a certain timeframe he was buying quantities of drugs from

Jones, and that’s corroborated by Dockett; that’s what Jones did for a living.

Concerning Spencer’s draft plea agreement, Spencer put all the weight on himself

because he fully cooperated with the government, acknowledging his conduct

instead of taking responsibility for just the transactions outlined in the four corners

of the indictment. Spencer was lucid, testified credibly both in terms of quantity

and types of drugs that he transferred with Dockett or with Jones as corroborated

by Dockett because of similar transactions with Dockett. Tr. 201-202.


                                          24
       Case: 23-2557     Document: 53         Filed: 09/25/2024    Pages: 139


      Following the arguments of counsel, the court explained that where there is

a dispute without any type of evidence to support it, the court has a much more

difficult situation but here there is the testimony of two individuals, Spencer and

Dockett, testifying about their own criminal activity, and the criminal activity they

engaged in with defendant. However, at bar, the court finds that Spencer and

Dockett, were credible because they corroborated one another. The court believes

the estimated drug quantities [proffered by the government] were appropriate. In

fact it’s an under-representation – under-represented by the ongoing interaction

with Spencer/Dockett and the defendant. If we dug into it more, it would go

higher, but certainly supported by the testimony. Thus, the BOL will be 32. Tr.

202-04. App. 63-65.

      The court then turned its attention to the role Jones played in the overall

scheme. Was he a leader or organizer? Defense counsel claims they were all in it

together, Spencer, Fountain, and Jones; they were selling drugs, doing different

things, there was no hierarchy. Given the association between the three, according

to the defense, they were in a partnership and no one was really in charge. Tr. 205-

06.

      The government’s position is otherwise. Specifically, the government points

to defendant’s plea agreement which according to the government indicates that

Jones, by his own admission, is the leader of the conspiracy involving himself,

Spencer and Fountain. Tr. 207-08. The trial court interjects and inquires of the

government concerning Dockett’s testimony and didn’t Dockett conduct one of the


                                         25
       Case: 23-2557     Document: 53           Filed: 09/25/2024   Pages: 139


shootings to benefit Jones. Of course, the government agrees but that would have

occurred (not mentioned by the parties) long prior to the on or about indictment

dates being August 6, 2018, to about September 3, 2019.

      The sentencing court finds that the two-level increase is warranted.

Therefore, the drug and money laundering guilty plea counts and drug quantities

are at a level 32 and two additional levels for defendant’s role in the offense puts it

at a level 34. Tr. 210. (Defendant is not challenging the two-level role-

enhancement).

      The government, from Tr. 210-214, argues that defendant is not entitled to

an acceptance of responsibility reduction. The defense insists that Jones was

candid with the court, pled guilty, made admissions and therefore he should be

entitled to the § 3E1.1 three-level reduction. Tr. 214-16. The sentencing court

grants Jones’ three-level acceptance of responsibility while noting that she

believes it would be “improper for me to suggest that he’s required to admit to the

relevant conduct that they put on the stand today ...” Tr. 216. The court then

calculated the advisory guideline range on Counts One and Three to be 151-188

months. The statutory provisions on Count One are 5-40 years and on Count

Three, 0-20 years. Tr. 217. The court, in advance of conducting its § 3553 analysis

entertains the arguments of counsel. Tr. 217.

      The government contends that the top of the 188-months guideline range is

appropriate. The government discusses heroin, fentanyl and argues that defendant

was selling wholesale quantities of heroin, 25-50 grams at a time. Jones was not


                                          26
       Case: 23-2557     Document: 53          Filed: 09/25/2024   Pages: 139


involved in .1 gram quantities, but, rather, in quantities of about 250 or 500 doses

per transaction. He was acting with Messrs. Spencer and Dockett, and Ms.

Fountain; Jones was the boss and dealing dope for his livelihood. And while Jones

is not charged with any of the deaths discussed by Dockett, that highlights the

dangers associated with “defendant’s profession,” and the “triple deaths are

presented because they’re the direct consequence of defendant’s drug trafficking

enterprise, per the testimony of Dockett. Tr. 217-221. Furthermore, the

government maintains that murder victims were members of the “Wicked Town”

TVLs who robbed a stash house belonging to “Mack,” who was part of the Stones.

Dockett tried to recover contraband from a couple of the TVLs and when they

ignored him, Dockett felt “slighted,” so he murdered them per Dockett’s plea

agreement. These were the people defendant associated with. More about Dockett

at Tr. 222-224. The government asserts that if defendant, age 42, is returned to

society after a five-year sentence, he would return to the life style he’s had and

therefore the specific deterrents of a 188-month sentence is required. Tr. 225-26.

      Defense counsel points out that defendant’s attempt murder conviction

occurred when he was 16, tried as an adult and that should not have been factored

into the PSR. Further, there are no issues concerning drugs being bad, but here

defendant raised himself on the streets, and he was tried as an adult when he was

16. Tr. 226-27. The defense maintains that defendant is being accused of guilt by

association because of his neighborhood and the nature of life there. But there is a

mix of people, all kinds of people from the neighborhood, people doing all kinds


                                          27
       Case: 23-2557     Document: 53          Filed: 09/25/2024   Pages: 139


of things, sometimes true, sometimes not. But the government is focusing on

things for which he was not charged and if he did all those things why wasn’t he

charged with them? Tr. 227-28.

      It’s very difficult to refute things because they say it, and defense counsel

knows how generally the courts are – those allegations are just accepted

wholeheartedly. Defense counsel talks about “Mack” as someone Jones gave drugs

to apparently and his spot was robbed or whatever, and defendant is somehow

supposed to have some interest in that but accepting that kind of thing is

inconsistent with the Constitution. Tr. 230-31. Defense counsel then talks about

his sentencing memo and all the letters that the court has received concerning

defendant who is doing the best he can under circumstances to get himself going;

he has learning issues and per the PSR he has difficulty reading and understanding

things but defendant has made great strides from where he came. Tr. 231-32.

      Concerning defendant’s potential sentence, there is a mandatory five-year

sentence and that’s what defense counsel recommends. Given what he’s charged

with, and what he has admitted to and what he’s done, that’s a significant

sentence. It will give Jones times to go to school and it sends a message to others

that if they do things like that it takes a good chunk out of your life meaning a five

year sentence which is long enough, but not too long. Tr. 232. Marsha Fountain

received a 20 month sentence and in the government’s sentencing memo she was

doing a lot in terms of drugs, including fentanyl, knowing how to mix it. She was

not a novice or anything like that so looking at it in terms of sentencing disparity


                                          28
       Case: 23-2557     Document: 53          Filed: 09/25/2024    Pages: 139


“to give Jones some sentence that’s far, far in excess of her sentence, would be

unwarranted.” Tr. 233. At this point the court can see that defendant has a decent

job and he was working that job before he was remanded to custody and that letter

was attached so the court could see he was doing something positive including

getting other people jobs. After he pled guilty he was taken to the Kankakee

County Jail which is hardly the same as a federal institution. They have no

programs of any kind, and he’s been in custody there since his guilty plea. But

he’s doing everything he can and is involved in religious matters, and trying to

help other people to get on the right path. Tr. 233.

      When he was released in this case he was on house arrest and could only go

to work for a while, and go to church and that was about for two years and he

didn’t violate anything, he didn’t do anything to stay past his time where he would

go to work and go to church. He was basically incarcerated at his grandmothers’

house who didn’t want him there; and then all the Covid issues came about so

basically he’s been serving time since he was arrested [in this case] and now he’s

serving harder time that it would at the MCC. He’s already started on his road to

rehabilitation which is the reason that a five year sentence is sufficient and a

deterrent to others. If people are selling drugs who want to use (lose) their lives in

five or seven year chunks they won’t have much lifetime to be free. Here Jones has

learned his lesson and he’s not a person who will be back. Tr. 234. Defense

counsel is urging that it be recommended that he serve his sentence somewhere

where he can basically learn to read and write and he can do that now with help


                                          29
       Case: 23-2557     Document: 53         Filed: 09/25/2024   Pages: 139


but there is a long way to go. The defense disagrees with the government’s

recommended 180 month sentence but there is a lot of things here that don’t make

sense and were not charged. The appropriate sentence here would be closer to five

years which would also remove any notion of disparity even though it would be

double what Ms. Fountain received. Tr. 235-36.

      The sentencing court directs the government to address disparity and the

government talks about defendant’s earlier attempt murder when he was 16.

According to the government he shot two people with a gun and the details of that

conviction are in the PSR at p. 12. Tr. 236-37. And in response to another question

from the court regarding [a] gun, the government agrees that there is a tape

recording where Jones would sell a gun to someone undercover but it was never

consummated. Tr. 237. The government further contends that comparing Jones to

Ms. Fountain is like comparing apples to elephants. There should be a huge

disparity between them because there is a huge disparity in their conduct. Jones

was the leader of this conspiracy and he understands why defense counsel is

arguing about disparity but even in his plea agreement Jones agrees she was doing

things at his direction and was one of his workers. Tr. 237-38.

      Regarding acts of violence the government is not seeking the court to find

Jones guilty of ordering the murder of Antonio Watkins (a/k/a Main) but here is

what we’re doing because this is a guideline case, 151-188 months. At any rate,

per the government, defendant’s conduct is what distinguishes him from others in

the same guideline range. Thus, the court can consider acts of violence involving


                                         30
       Case: 23-2557     Document: 53          Filed: 09/25/2024   Pages: 139


defendant’s drug trafficking and that was part of the evidence presented by the

government which distinguishes Jones from others in the same guideline range.

Tr. 238-41.

      The sentencing court is aware that defendant has a prior possession of drug

conviction and defense counsel agrees, but he has no convictions for any acts of

violence. Defendant has taken complete responsibility for what he’s done and has

never denied he was involved in drug activities. But given his lack of structure

growing up and the strides made in getting reasonable employment the

government’s sentencing recommendation is not warranted in this case. Tr. 242-

43.

      Defendant is told he has the right to address the court and, after speaking to

his lawyer for a moment addresses the court and apologizes to the court, his family

and his son. Jones tells the court that he failed his son and it’s very embarrassing

because he made sure his son finished high school and if he was hard on him, it

was because there was no one when he was young to be hard on “me or I might

could have made it.” He’ll never do it again. Tr. 243.

      Commencing at Tr. 244 the court discusses the Austin neighborhood in

Chicago and how dangerous drugs have made that community and in fact, heroin

takes people away from being parents like defendant’s own mother. Defendant

agrees. Tr. 244. The court goes on to discuss defendant’s pattern of misconduct

growing up from drug offenses to armed robbery, disorderly conduct, attempt

murder, probation violations and violating the rules. When he was released from


                                          31
       Case: 23-2557     Document: 53           Filed: 09/25/2024   Pages: 139


Illinois prison in 2001 he violated his parole and went back into custody and then

he was convicted of selling “rocks” on the street and he got two years in custody

for that. The court, in advance of imposing sentence, tells defendant that he is not

being held responsible for attempt murder, or the murder of Watkins, or the

beating of Cash, but he’s really not accepted all the responsibility he should, and

he cannot be compared to Ms. Fountain regarding sentencing disparity. Tr. 247.

The court holds that Jones is minimizing his role and not admitting that there was

any gang involvement, notwithstanding the testimony of Messrs. Dockett and

Spencer. Tr. 247-48. The court’s sentencing findings are from Tr. 243-49. The

court imposed the top of the advisory guideline range sentence of 188-incarcerated

months with four years of supervised release. Tr. 257-58. The sentencing court’s

factfindings appear at App. 63-73, infra. Those factual findings are from ROP.

7/20/23 at Tr. 202-04, 215-16 and 244-49.

                          This appeal ensues.



                         SUMMARY OF ARGUMENT

      The sentencing court erred by including Dante Dockett’s six (6) murders

and attempt murders which took place in Kankakee and Chicago between 2015

and 2017. Dockett’s drug dealings occurred during the same timeframe and his

suppliers included “Big Don,” Jones and unnamed others. The government

successfully urged the sentencing court to incorporate Dockett’s multiple acts of

violence and drug dealing as part of defendant’s “relevant conduct.” However, the


                                         32
         Case: 23-2557    Document: 53        Filed: 09/25/2024   Pages: 139


charges against defendant in indictment 20 CR 309 encompassed drug and money

laundering–related offenses occurring from about August 2018 to September

2019.

        Similarly, the sentencing court embraced the government’s relevant conduct

arguments regarding Jamar Spencer who conceitedly–had drug dealings with

defendant. But, at the same time, Spencer had his own drug suppliers and

trafficking crew which was apparently active until his arrest during Father’s Day

weekend, 2020, in connection with Indictment 20 CR 311. That indictment

charged Spencer and others with possessing a firearm as a convicted felon.

        In the ensemble, the relevant conduct offense levels added approximately

10-years or 120-months to defendant’s 188-month sentence.



                                   ARGUMENT

        I.    Whether the District Court Erred by Including as Uncharged

Relevant Conduct Drug Amounts and Violent Acts from a Time Period

Distinct from that Appearing in Defendant’s Drug Trafficking/Money

Laundering Indictment?

        A.    STANDARD OF REVIEW:

        In U.S. v. Young, 863 F.3d 685, 688 (7th Cir. 2017), the court, embraced

Gall v. U.S., 552 U.S. 38, 51 (2007), while discerning the reviewing standards

where defendant is challenging his sentence based, inter alia, relevant conduct as

having a significant impact on defendant’s sentence (“We review the substantive


                                         33
       Case: 23-2557     Document: 53          Filed: 09/25/2024   Pages: 139


reasonableness of a sentence under an abuse-of-discretion standard, but we “must

first ensure that the district court committed no significant procedural error, such

as ... selecting a sentence based on clearly erroneous facts....” * * *. We have thus

said that “whether the district court followed the proper procedures in imposing

sentence is a question of law that we review de novo.” * * *.). (Some quotation

marks in original). See also U.S. v. Mendoza, 510 F.3d 749, 754 (7th Cir. 2007).

The sentencing court’s calculation of the quantity of drugs involved in an offense

is reviewed for clear error. U.S. v. Bacallao, 149 F.3d 717, 719 (7th Cir. 1998).

      B.     SENTENCING PRINCIPLES:

      1.     The Due Process Clause of the Fifth Amendment incorporates the

proposition that the defendant has the right to be sentenced based on accurate

information and compelling testimony. In U.S. v. Rollerson, 7 F.4th 565, 569 (7th

Cir. 2021), the court explained defendant’s sentencing due process protections:

(“A criminal defendant has a due process right to be sentenced based on accurate

information.... [W]here the district court sentences a defendant based on the

drug-quantity guidelines, it must find the government's information sufficiently

reliable to determine drug quantity by a preponderance of the evidence.” * * *.

Rollerson claims that the uncharged and acquitted drug amounts should not count

toward his guideline range because the prosecution failed to prove them with

reliable information by a preponderance of the evidence.”) (Internal citations

omitted).




                                          34
        Case: 23-2557     Document: 53         Filed: 09/25/2024    Pages: 139


       2.     Relevant conduct is a fearsome tool of the government in drug cases.

In U.S. v. Duarte, 950 F.2d 1255, 1263 (7th Cir. 1991), the court explained how

relevant conduct operates in the drug sentencing universe (“relevant conduct” or

“aggregation rule” “grants the government a fearsome tool in drug cases. It

permits prosecutors to ‘indict defendants on relatively minor offenses and then

seek enhanced sentences later by asserting that the defendant has committed other

more serious crimes for which, for whatever reason, the defendant was not

prosecuted and has not been convicted.’ ” 950 F.2d 1255, 1263 (7th Cir.1991).

However, the relevant conduct rule has limits. The rule allows sentencing courts to

consider quantities of drugs not specified in the counts of conviction, provided

“the unconvicted activities bore the necessary relation to the convicted offense.”

Id. * * *).

       In U.S. v. Ortiz, 431 F.3d 1035, 1040 (7th Cir. 2005), the court explained

relevant conduct and its components:

              In assessing whether offenses are part of the same course
              of conduct, we look to whether there is “a strong
              relationship between the uncharged conduct and the
              convicted offense, focusing on whether the government
              has demonstrated a significant ‘similarity, regularity, and
              temporal proximity.’ ” * * *. Offenses are part of the
              same course of conduct if they are “part of a single
              episode, spree, or ongoing series of offenses.” U.S.S.G. §
              1B1.3(a)(2), App. Note 9. Moreover, “section
              1B1.3(a)(2) must not be read to encompass any offense
              that is similar in kind to the offense of conviction but
              that does not bear the required relationship to that
              offense.” * * *. We have held that the mere fact that the
              defendant may have engaged in other drug transactions
              “is not sufficient to justify treating those transactions as
              ‘relevant conduct’ for sentencing purposes.” * * *.

                                          35
       Case: 23-2557     Document: 53          Filed: 09/25/2024   Pages: 139


(Internal citations omitted, quotation marks in original).

      C.     Argument and Authorities Supporting Relief.

      The government will acknowledge that the only issue raised by Larry Jones

during his guilty plea and sentencing proceedings concerned the impact of the

uncharged drug quantities on his advisory guideline range (i.e. relevant conduct).

The record reflects that the defense maintained the indictment drug quantities,

along with acceptance of responsibility, brought him to a level 24. ROP 1/19/23 at

Tr. 11-12; ROP 7/20/23 at Tr. 201. The government’s position was that the drug

quantities, including the uncharged conduct, rose to a level 34 and with acceptance

of responsibility (which they unsuccessfully challenged) the advisory guideline

range was 31 with a top guideline sentence of 188-months.

      The sentencing court imposed the top of the guideline sentence–188-

months.

      !      Jamar Spencer testified that between October 2015 and 2020 he did

drug deals with Jones and other suppliers. Spencer could not recall how much

marijuana Jones supplied during that time frame. ROP 7/19/23 @ Tr. 47. But his

plea agreement includes over 12 kilos, along with heroin (about 5 kilos) and about

100 grams of fentanyl-laced heroin and about 85 grams of crack [cocaine]. Tr. 48-

49.

      But Spencer had other drug suppliers including “Beatle Man,” “Yogi,” and

“Curt.” Tr. 85-86. And Spencer couldn’t remember the dates he got drugs from the

different suppliers; he thought he was getting it from “Yogi” in 2017 and from


                                          36
        Case: 23-2557     Document: 53         Filed: 09/25/2024    Pages: 139


“Curt” in 2019. Spencer would call and they would deliver the drugs.

        Moreover, Spencer had his own drug trafficking crew during 2017 and

2019; eventually naming some of his drug sellers—“Doorman,” “Ice,” “Boo-

Man,” and “Peanut.” Spencer agreed he had many people selling drugs for him,

but didn’t think he had as many as 20 or 25 sellers because they would come and

go. He agreed he was not charged with having an entire drug organization; only

conspiring with Marsha and Jones–but not the rest of the drug sellers and suppliers

he named. Id. at Tr. 87-90.

        !     Concerning Dante Dockett and his RICO conspiracy guilty plea in 19

CR 641, he acknowledged committing six murders and countless attempt murders.

        Shortly after he was released from an Illinois sentence during the late

summer or fall of 2015, he did a favor for Donald Holmes Sr. (a/k/a “Big Don”). It

was not a simple–have a talk with someone favor. It was–do me a favor–I want

you to go to Kankakee and kill someone who may have stolen some drugs from

my home or one of my drug suppliers. So Dockett and two of his acolytes drove to

Kankakee and committed not one, not two, but three murders at the behest of “Big

Don.” And, Big Don was one of Dockett’s heroin suppliers (along with Jones).

Importantly, the drugs that Dockett received from Jones had to be supplied almost

a year before August 2018 because Dockett was arrested during the late fall of

2017.

        But the “Big Don” saga becomes transfixing because in 18 CR 356, Big

Don was charged in a multi-count, multi-defendant drug conspiracy. And he had a


                                          37
          Case: 23-2557   Document: 53        Filed: 09/25/2024    Pages: 139


plea agreement. After Big Don pled guilty to his “superseding” information, the

government’s publically available sentencing memo urged [that] Big Don receive

a reduced sentence of 10 years because of his health circumstances. Indictment 18

CR 356 at R. 250 dated 9/5/2023 (approximately five weeks after Larry Jones

received a 17-year sentence in the case at hand). But that’s not the end of the story.

      Notwithstanding the government’s publically filed 10-year sentencing

memo, it filed another “sealed” memo on 9/5/2023 at R. 251. And a few days later,

“Big Don,” this very controlling drug trafficker who gets people murdered as a

favor–was sentenced to “one day of time considered served,” concurrent as to

superseding information Counts One and Two.

      So we are left to ponder: How is it that Dante Dockett, the six-time

conceded murderer, excluding his attempt murders, and all his drug trafficking and

his lengthy criminal history, can get a total 360-month sentence and “Big Don” is

sentenced to “one day” time considered served?5

      But there is more. Mr. Dockett had a pending indictment before his 19 CR

641 RICO conspiracy before Judge Durkin. Mr. Dockett also had a pending case

in this district under 18 U.S.C. § 710 which was dismissed based on the

government’s motion. 18 CR 710 at R. 68.

      Defendant maintains that the government’s reliance on dual informants and

their plea agreements create a dangerous paradigm. Adding insult to injury, for the


      5
        Was it coincidental that Big Don avoided a lengthy custodial sentence
because he furnished information concerning Larry Jones ... who was sentenced
about a month before “Big Don”?
                                         38
         Case: 23-2557     Document: 53         Filed: 09/25/2024    Pages: 139


district court to embrace the dual-informant paradigm, flies in the face of this

Court’s jury instruction #3.05. Approved jury instruction 3.05 directs the fact trier

to keep in mind “that you must consider that testimony [informant testimony] with

caution and great care.” Neither Spencer nor Dockett produced anything other than

their conjoined alleged recollections concerning drug quantities attributed to

Jones–where both had drug quantity suppliers–other than Jones. And for the

government to argue that both were being truthful because of their respective plea

agreements advances those self-serving agreements to something akin to the Holy

Grail.

         Defendant advances that were this Court to affirm the sentence imposed

based on unreliable informant testimony, it would be creating a dubious and

dangerous precedent. It would invite the government to parade plea

agreed/compensated drug informants, with horrific criminal records to corroborate

one another concerning drug quantities that may not have been distributed one or

more years earlier. Regrettably, those are the facts are bar!

         !     Jones maintains that the district court prejudicially erred when it

embraced the government’s U.S.S.G. level 32 drug quantity estimates. Most were

based on events that preceded the indictment by anywhere from several months to

two years. As example, Spencer testified to the drugs he claimed (no records or

ledgers–his recollection was refreshed by looking at his plea agreement) Jones

supplied during 2016, 2017 and 2019. But the operative dates according to the

indictment were that Jones was distributing drugs (conspired with Spencer and


                                           39
       Case: 23-2557      Document: 53         Filed: 09/25/2024    Pages: 139


Fountain) from about August 2018 to about September 2019. Hence, precedent

reveals that temporal proximity is clearly absent.

      In U.S. v. Brasher, 105 F.4th 1002 (7th Cir. 2024), the court rejected

Brasher’s plain-error arguments regarding drug quantities and relevant conduct.

The Brasher facts were that Brasher was involved in supplying large meth

quantities to individuals in Illinois and elsewhere during 2018 and 2020. His meth

was coming from California and he saw to it that monies would be forwarded to

California. In the fullness of time a couple of southern Illinois meth customers

were caught and they not only supplied the government with information, but they

turned over quantities of drugs and U.S. currency.

      Brasher, represented by counsel, pled guilty. Concerning his PSR offense

level of 33, and his criminal history of III, that gave rise to a sentencing guideline

range of 168-210 months.

      In advance of sentencing, regarding the drug quality (not quantity), he asked

that the district court treat the meth as a “mixture and substance containing meth”

because it carries a lighter sentencing. 105 F.4th at 1005. In a nut shell, Brasher

raised no relevant conduct challenge in advance of sentencing and, therefore, the

district court failed to address the issue. Ibid. Brasher was sentenced to 200

months and, on appeal, by way of plain error, he sought sentence review based on

the difference between his 2018 and 2020 meth-conduct. Brasher, 105 F.4th at

1006-07.




                                          40
       Case: 23-2557      Document: 53         Filed: 09/25/2024    Pages: 139


      The Brasher Court noted that the offense of conviction occurred in late

October 2021 but his interaction in southern Illinois commenced in December

2019 and lasted until the summer of 2020. The plain error/relevant conduct issue

included noting:

              “[W]ithout temporal proximity, the government needs a
              stronger showing regarding the other course of conduct
              factors, such as regularity or similarity of acts.” United
              States v. Ortiz, 431 F.3d 1035, 1041 (7th Cir. 2005).

105 F.4th at 1007 (quotation marks in original).

      The Brasher Court agreed that “temporal proximity” was lacking, and

discussed 7th Circuit precedent which includes [that] an eight-month gap was

“enough to cast doubt on the relevance of the earlier conduct,” and the same holds

true for ten months. Sister circuit cases are also cited in Brasher involving five and

six month gaps between charged offense and prior misconduct involving drugs. Id.

at 1007, also citing U.S. v. McGowan, 478 F.3d at 802, U.S. v. Ortiz, 431 F.3d at

1041. Brasher, 105 F.4th at 1007, citing sister circuit cases including U.S. v.

Mullins, 971 F.2d 1138, 1144 (4th Cir. 1992); U.S. v. Hahn, 960 F.2d 903, 911 (9th

Cir. 1992).

      Thus, the lack of temporal proximity sets a higher bar for uncharged

conduct sentencing inclusions. Notwithstanding that settled precedent the Brasher

Court held that there was no plain error and went on to affirm Brasher’s sentence.

      Judge Jackson-Akiwumi wrote a separate concurring opinion expressing her

dissatisfaction with the manner in which district courts readily permit uncharged

conduct (e.g. relevant conduct) to be used with significant frequency because,

                                          41
        Case: 23-2557     Document: 53         Filed: 09/25/2024    Pages: 139


inter alia, “[S]entencing based on relevant conduct is a constitutionally dubious

proposition on its own, but our circuit’s weakened standard only exacerbates the

risk of a constitutional violation. It’s time we correct course.” Brasher, 105 F.4th

at 1009-1010 (our quotation marks).

        Her concurring opinion points out the difficulties with the guideline manual

comments including § 1B1.3 and 1B1.3(a)(1)(A) and §§ 1B1.3(a)(2), (3). Id. at

1010.

        Judge Jackson-Akiwumi’s concurring opinion cites Justice Scalia’s

comments concerning how sentencing a defendant for uncharged conduct could

lead to “absurd results,” and now Justice Kavanaugh, D.C. Circuit, recognized the

regime [relevant conduct] as a “dubious infringement of the rights to due process

and to a jury trial,” citing U.S. v. Bell, 808 F.3d 926, 928 (D.C. Cir. 2015).

        See also U.S. v. Draheim/Lewis, 958 F.3d 651, 659 (7th Cir. 2020) (To be

clear, relevant conduct does not “encompass any offense that is similar in kind to

the offense of conviction but ... does not bear the required relationship to that

offense.” Ortiz, 431 F.3d at 1040 (quoting United States v. Patel, 131 F.3d 1195,

1204 (7th Cir. 1997)). We have emphasized that the “mere fact that the defendant

has engaged in other drug transactions is not sufficient to justify treating those

transactions as ‘relevant conduct’ for sentencing purposes.” United States v.

Purham, 754 F.3d 411, 415 (7th Cir. 2014) (quoting United States v. Crockett, 82

F.3d 722, 730 (7th Cir. 1996)).).




                                          42
         Case: 23-2557   Document: 53         Filed: 09/25/2024    Pages: 139


      !       Jones contends that the intersecting equation between temporal

proximity and the erroneous encompassing of offenses that are similar in kind to

the offense of conviction fails to support the sentencing court’s elevation of

defendant’s base offense level from 24 to 31. As example, the sentencing court

credited Jamar Spencer’s testimony concerning drug quantities from Jones during

2016, 2017 and 2019 and Dante Dockett testified that Jones and “Big Don”

supplied him with drugs at some point between late 2015 and 2017.

      But for temporal proximity purposes our court’s precedent explains that

gaps of five, eight and ten months fail to support the required relevant conduct

temporal proximity. Jones’ offenses of conviction were between about August

2018 and September 2019. For temporal proximity analytical purposes that

Spencer’s 2016 interactions with Jones clearly failed to bridge the temporal

proximity gap; same with 2017 (and Spencer testified that he had additional drug

quantity sources other than Jones during the same timeframes). ROP 7/19/23 at

Tr. 85-89. And the sentencing court’s statements that Jones and Dockett

corroborated one another although Dockett had no drug dealings with Jones after

an undisclosed time in 2017 (again he was also receiving quantities of drugs from

“Big Don” from about some time in late 2015 to at some undisclosed point in

2017).

      Moreover, circuit precedent clearly holds that where the defendant is

engaged in the same type of drug dealing during the putative relevant conduct

timeframe–that fails to support, along with the lack of temporal proximity, the


                                         43
       Case: 23-2557     Document: 53          Filed: 09/25/2024   Pages: 139


level of drug quantity trafficking required to support the sentencing court’s

elevated [relevant conduct] BOL from 24 to 31 (meaning the top of the level 31

guideline range was the 188-months sentence Jones received). See also U.S. v.

Rollerson, 7 F.4th 565, 572 (7th Cir. 2021) (“[T]he fact that a defendant engaged in

uncharged or acquitted drug transactions is not sufficient to justify treating those

transactions as ‘relevant conduct’ for sentencing purposes.”) (citing Ortiz, 431

F.3d at 1041 and Crockett, 82 F.3d at 730). And in Ortiz, the court, examining the

impact of U.S.S.G. § 1B1.3(a)(2) App. Note 9, the court explained [that]: “section

1B1.3(a)(2) must not be read to encompass any offense that is similar in kind to

the offense of conviction but that does not bear the required relationship to that

offense.” Ortiz, 431 F.3d at 1040-41 (quotation marks in original).

      Defendant maintains that the sentencing court clearly and prejudicially erred

when attributing the drug quantities that Messrs. Spencer and Dockett contended

had been supplied by Jones–because their testimony cannot pass the Due

Process/reliability evidentiary hurtles which remain the hallmark of that which is

required for sentencing affirmation. See U.S. v. England, 555 F.3d 616, 622 (7th

Cir. 2009) (“[W]e grant sentencing courts discretion to draw conclusions about the

testimony given and evidence introduced at sentencing. * * *. Yet, this discretion

is neither boundless nor is the information upon which a sentencing court may rely

beyond due process limitations. To the contrary, we recognize that due process

requires that sentencing determinations be based on reliable evidence, not

speculation or unfounded allegations. * * *; see also United States v. Berry, 553


                                          44
       Case: 23-2557      Document: 53         Filed: 09/25/2024   Pages: 139


F.3d 273, 284 (3d Cir.2009) (“A defendant cannot be deprived of liberty based

upon mere speculation.”). Indeed, the Supreme Court has long recognized that

“[n]o individual or body of men has a discretionary or arbitrary power to commit

any person to prison.” Hurtado v. California, 110 U.S. 516, 4 S.Ct. 111, 28 L.Ed.

232 (1884). If the district court relied on unreliable or inaccurate information in

making its sentencing decision, we return the case to the district court for a new

sentencing hearing. * * *.) (Quotation marks added, some supporting authorities

omitted).


                                  CONCLUSION

      Larry Jones, defendant-appellant, respectfully moves that, accordance with

his foregoing arguments, this Court enters its order or orders vacating his 188-

month custodial sentence and remand his sentencing for further proceedings

including, the possibility of having a jury determine the relevant conduct

sentencing issue in the case at hand.

                                                     Respectfully submitted,


                                                     /s/ Allan A. Ackerman
ALLAN A. ACKERMAN
Attorney at Law
Counsel of Record
19 S. LaSalle Street, Suite 502
Chicago, Illinois 60603
Telephone: 312- 332-2891
Facsimile: 312-750-1595
Email: profaaa@aol.com

Counsel for Larry Jones
Defendant-Appellant

                                          45
        Case: 23-2557    Document: 53        Filed: 09/25/2024   Pages: 139



       CERTIFICATE OF COMPLIANCE WITH FRAP RULE 32(a)(7)(C)

       The undersigned certifies that this brief complies with the volume

limitations of Federal Rule of Appellate Procedure 32(a)(7)(C) and Circuit Rule

32 in that it contains 11,801 words as shown by Word Perfect 12 used in preparing

this brief.




                                                   /s/ Allan A. Ackerman
                                                   Counsel for Larry Jones
                                                   Defendant-Appellant
Dated: September 25, 2024
       Case: 23-2557      Document: 53         Filed: 09/25/2024    Pages: 139


                                    NO. 23-2557

                                  IN THE
                     UNITED STATES COURT OF APPEALS
                         FOR THE SEVENTH CIRCUIT


UNITED STATES OF AMERICA,
Plaintiff-Appellee,

vs.

LARRY JONES,
Defendant-Appellant.

                Appeal from the United States District Court for the
                  Northern District of Illinois, Eastern Division.
                              No. 1:20-CR-00309-1

                 Honorable. Virginia M. Kendall, Judge Presiding.

              NOTICE OF FILING AND CERTIFICATE OF SERVICE

TO:   Mr. Christopher G. Conway, Clerk of the Court, United States Court of Appeals,
      219 S. Dearborn St., Chicago, IL 60604

      Mr. Jimmy L. Arce, Assistant U.S. Attorney
      219 S. Dearborn St., Ste 500, Chicago, IL 60604
      Jimmy.Arce@usdoj.gov

       Please take notice that on September 25, 2024, using the Seventh Circuit CM/ECF
System, we electronically filed Larry Jones’ Opening Brief and Required Appendix in the
above-captioned appeal. Undersigned counsel of record, certifies that he electronically
served the foregoing Opening Brief and required Appendix on the Office of the United
State’s Attorney in Chicago on September 25, 2024 via the Seventh Circuit CM/ECF
System.
                                         s/ Allan A. Ackerman
                                         Allan A. Ackerman,
Allan A. Ackerman, Esq.                  Appellate Attorney for Larry Jones
Attorney at Law
19 S. LaSalle Street, Suite 502
Chicago, Illinois 60603
Telephone: (312) 332-2891
Facsimile: (312) 750-1595
Email: profaaa@aol.com
       Case: 23-2557    Document: 53        Filed: 09/25/2024   Pages: 139



                        CERTIFICATE OF SERVICE

      The undersigned hereby certifies that in accordance with the Seventh

Circuit CM/ECF System, undersigned electronically forwarded the foregoing

Opening Appellant’s Brief and required Appendix to the Office of the United

State’s Attorney in Chicago and the Clerk of the U.S. Court of Appeal for the

Seventh Circuit the attached documents:

            1.     Larry Jones’ Opening Brief with Required Appendix for
                   the Defendant-Appellant in No. 23-2557.




Dated: September 25, 2024                   By:   /s/Allan A. Ackerman
                                                  ALLAN A. ACKERMAN
       Case: 23-2557         Document: 53            Filed: 09/25/2024        Pages: 139



                                          NO. 23-2557

                                        IN THE
                           UNITED STATES COURT OF APPEALS
                               FOR THE SEVENTH CIRCUIT


UNITED STATES OF AMERICA,
Plaintiff-Appellee,

vs.

LARRY JONES,
Defendant-Appellant.


                       Appeal from the United States District Court for the
                         Northern District of Illinois, Eastern Division.
                                     No. 1:20-CR-00309-1

                        Honorable. Virginia M. Kendall, Judge Presiding.


            REQUIRED SHORT APPENDIX OF DEFENDANT-APPELLANT,
                              LARRY JONES



                                      ALLAN A. ACKERMAN
                                      Attorney at Law
                                      Counsel of Record
                                      19 S. LaSalle Street, Suite 502
                                      Chicago, Illinois 60603
                                      Telephone: 312- 332-2891
                                      Facsimile: 312-750-1595
                                      Email: profaaa@aol.com

                                      Counsel for Larry Jones
                                      Defendant-Appellant
     Case: 23-2557     Document: 53          Filed: 09/25/2024    Pages: 139




       CERTIFICATE OF COMPLIANCE WITH FRAP RULE 32(a)(7)(C)

       The unders igned certifies that this brief complies with the volume

limitations of Federal Rule of Appellate Procedure 32(a)(7)(C) and Circuit Rule

32 in that it contains 11 ,801 words as shown by Word Perfect 12 used in preparing

this brief.




                                                    Isl Allan A. Ackerman
                                                    Counsel for Larry Jones
                                                    Defendant-Appellant
Dated: September 25, 2024
       Case: 23-2557      Document: 53       Filed: 09/25/2024   Pages: 139



         CERTIFICATE OF COMPLIANCE WITH CIRCUIT RULE 30

      The undersigned, counsel for Defendant-Appellant, hereby states that all of

the materials required by Circuit Rule 30(a) and 30(b) are included in the

Appendix to this brief.




                                                   /s/ Allan A. Ackerman
                                                   Counsel for Larry Jones
                                                   Defendant-Appellant
Dated: September 25, 2024




                                         i
        Case: 23-2557         Document: 53               Filed: 09/25/2024          Pages: 139



                                             INDEX TO

                APPENDICES TO APPELLANT’S OPENING BRIEF


App. 1-12      Indictment 20 CR 309 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . R. 1

App. 13        Minute Order, Defendant’s Guilty Plea. . . . . . . . . . . . . . . . . . . R. 173

App. 14-33 Defendant’s Plea Agreement . . . . . . . . . . . . . . . . . . . . . . . . . . . R. 174

App. 34-46 Defendant’s Sentencing Memo . . . . . . . . . . . . . . . . . . . . . . . . . R. 184

App. 47-59 Government Sentencing Memo . . . . . . . . . . . . . . . . . . . . . . . . . R. 196

App. 60-62 Defendant’s Objections to Government Sentencing Memo . . . R. 198

App. 63-65 ROP. 7/20/23 at Tr. 202-204; partial findings by sentencing court.

App. 66-67 ROP. 7/20/23 at Tr. 215-216; sentencing court partial findings.

App. 68-73 ROP. 7/20/23 at Tr. 244-249; sentencing court partial findings.

App. 74        Minute Order concerning sentencing completion . . . . . . . . . . . R. 205

App. 75-82 Judgement and Commitment Order for Larry Jones . . . . . . . . . R. 206
        Case: 1:20-cr-00309
        Case: 23-2557     Document: 53 1 Filed: Filed:
                            Document#:                 09/25/2024
                                                06/24/20~            Pages:
                                                            g( j C .2R  ge\D139
                                                                             #:1 3                0,9 ft
FILED                                                                         RECE1v1:o
                            UNITED STATES DISTRICT COURT.
     JUN 24 2020   Ii/      NORTHERN DISTRICT OF ILLINOIS
                                                          Ma . JUL 2 4 2020
- THOMAS G. BRUTON               EASTERN DIVISION .         Qtstrate J
                                                                        United c-._Udge Beth W.
CLERK~ ~ i lR~qTf,?~~TOF AMERICA                  )'                          ""'tea Diat,t • Jan,z
                                                                                           ct Court
                                                  )    No.
           v.                                     )
                                                  )    Violations: Title 18, United States
     LARRY JONES,                                 )    Code, Section 1956(a)(3)(A); and
         a/kla "Lil Larry,"                       )    Title 21, United States Code,
   . MARSHA FOUNTAIN, and                         )    Sections 841(a)(l) and 846
     JAMAR SPENCER,                               )
         a/k/a "Red," "Freckles"                  )    Under Seal

                                                                         JUDGE KENDALL
                                                                         "'
                                         COUNT ONE

           The SPECIAL JANUARY 2019 GRAND JURY charg~~GISTRATE JUDGE ~~El

           1.    Beginning on or about August 6, 2018, and continuing until on or abo-qt

    September 3, 2019, at Chicago, in the Northern District of Illinois, Eastern Division,

    and elsewhere,

                            LARRY JONES, a/k/a ,iLil Larry,"
                              MARSHA FOUNTAIN, an.d
                         JAMAR SPENCER, a/k/a. "Red," "Freckles,"

   defendants herein, did conspire with each other, and with others known and unknown

   to the Grand Jury, to knowingly and. intentionally possess with intent to distribute

   and distribute a controlled substance, namely, a quantity of a mixture and substance

   containing a detectable amount of heroin, a Schedule I Controlled Substance, in

   violation of Title 21, United States Code, Section 841(a)(l );

         In violation of Title 21, United States Code, Section 846.



                                              1



                                           App. 1
   Case:1:20-c
         23-2557       Document#:
               r-00309Document:            Filed:/20
                                531 Filed: 06/24     Page 2 of 12Pages:
                                                  09/25/2024             #:2
                                                                  PagelD139
   Case:




                                                                                     more
      2.     With respec t to LARRY JONE S, the offense involv ed 100 grams or
                                                                            , a Schedule I
of a mixtu re and substa nce conta ining a detect able amou nt of heroin

Contr olled Subst ance.
                                                                                         ,
       3.    Before LARRY JONE S comm itted the offense char g~d in this count
                                                                     ,         namely, a
LARRY JONE S had a final conviction for a seriou s . violen t felony
                                                                       County, Illinois)
conviction in Case Numb er 97 CR 1538201 (Circu it Court of Cook
                                                                           he serve d more
for attem pted murde r, in violation of 720 ILCS 5/9-l( a)(l), for which

than 12 month s of impri sonm ent.

      4.     Before JAMAR SPEN CER comm itted the offense charg ed in this count,
                                                                             , name ly, a
JAMAR SPEN CER had a final conviction for a seriou s drug felony
                                                                      County, Illinois),
conviction in Case Numb er 06 CR 17504 01 (Circuit Cow:t of Cook
                                                                      ion of 720 ILCS
for manu factur e or delivery of a controlled substa nce, in violat
                                                                           month s and for
570/401, for which he serve d a term of impri sonm ent of more than 12
                                                                         d to that offense
which he was releas ed from servin g any term of impri sonm ent relate

withi n 15 years of the comm encem ent of the instan t offense.




                                           2


                                      App. 2
   Case:1:20-c
         23-2557
               r-00309Document: 531 Filed: Filed:
                       Document#:                  0 Page 3 of 12Pages:
                                           06/24/209/25/2024             #:3
                                                                  PagelD139
   Case:




                                     COUN T TWO

      The SPECI AL JAl"\TU~Y 2019 GRAND JURY fw:the1· charge s:
                                                                                           s,
       On or about Augus t 6, 2018, at Chicago, in the North ern Distric t of Illinoi

      Easter n Divisio:r;i, and elsewhere,

                        LARRY JONES , a/k/a "Lil Larry, " and
                             MARSHA FOUNTAIN,
                                                                                         nce,
defend ants herein , did knowingly and intenti onally distrib ute a contro lled substa
                                                                               amoun t of
namely , a quanti ty of a mixtur e and substa nce contai ning a detect able

heroin, a Schedule I Controlled Substa nce;
                                                                                          18,
      In violati on of Title 21, United States Code, Sectio n 841(a) (l), and Title

United States Code, Sectio n 2.




                                             3



                                       App. 3
    Case:
    Case:1:20-cr-00309
          23-2557      Document#:
                      Document: 531 Filed: 06/24/20  Page 4 of 12Pages:
                                           Filed: 09/25/2024      PagelD139
                                                                         #:4




                                 . COUNT THREE

       The. SPECIAL JANUARY 2019 GRAND JURY further charges:

       On or about August 6, 2018, at Chi9ago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                          LARRY JONES, afk/a "Lil Larry,"

defendant herein, with intent to promote the carrying on of specified unlawful

activity, did knowingly conduct and attempt to conduct a financial transaction

affecting interstate and foreign comID;erce, involving property represented by a

confidential source to be proceeds of specific unlawful activity, namely, the felonious

buying and selling and otherwise dealing in a controlled substance;

      In violation of Title 18! United S"tates Code, Section 1956(a)(3)(A).




                                         4


                                      App. 4
                                           06/24/20  Page 5 of 12Pages:  #:5
                                                                  PagelD139
   Case:1:20-c
   Case: 23-2557                531 Filed: Filed:
                       Document#:
               r-00309Document:                   09/25/2024




                                    COUNT FOUR

      The SPECIAL JANUARY 2019 GRAND .TTJRY fui-ther charg es:
                                                                                 of Illinois,
      On or about Augu st 15, 2018, at Chicago, in the North ern Distri ct

Easte rn Division, and elsewhere,

                          LARRY JONE ~, afkla "Lil Larry ,"
                                                                            lled substa nce,
defen dant herein , did knowingly and intent ionally distri bute a contro
                                                                        able amou nt of
namely, a quant ity of a mixtu re and substa nce conta ining a detect

heroin, a Schedule I Controlled Subst ance;
                                                                                  Title •18,
      In violation of Title 21, Unite d States Code, Sectio n 841(a)(l), and

Unite d States Code, Section 2.




                                          5



                                      App. 5
   Case:1:20-c r-00309Document:
         23-2557                #: 1 Filed: Filed:
                       Docum~nt 53                 20 Page 6 of 12Pages:
                                            06/24/09/25/2024              #:6
                                                                   PagelD139
   Case:




                                     COUNT FIVE

      The SPECIAL JANUARY 2019 GRAND JURY furthe r charge s:
                                                                                          of
      On or about Septem ber 19, 2018, at Chicago, in the North ern Distric t

Illinois, Easter n Division, and elsewhere,

                          LARRY JONES , a/k/a ''Lil Larry,"
                                                                                        nce,
defend ant herein, did.kn owingly and intenti onally distrib ute a contro lled substa
                                                                                        t of
namely, a quanti ty of a mixtur e and substa nce contai ning a detect able amoun

heroin, a Schedule I Controlled Substa nce;

      In violation of Title 21, United States Code, Section 841(a)(l).




                                          6


                                       App. 6
    Case:
    Case:1:20-cr-00309
          23-2557      Document#:
                      Document: 531 Filed: Filed:
                                           06/24/20  Page 7 of 12Pages:
                                                  09/25/2024      PagelD139
                                                                         #:7




                                     COUNT SIX

       11he SPECIAL JANUARY 2019 GRAND JURY further chai·ges:

       1.     On or about October 24, 2018,· at Chicago, in the Northern District of

 Illinois, Eastexn Division, and elsewhere,

                       LARRY J ONES, a/k/a "Lil Larry," and
                     JAMAR SPENCER, a/k/a "Red," "Freckles,"

defendants herein, did knowingly and intentionally distribute a controlled substance,

namely, a · quantity of a mixture and substance containing a detectable amount of

heroin, a Schedule I Controlled Substance;

       In violation of Title 21, United States Code, Section 841(a)(l), and Title 18, •

United States Code, Section 2.

       2.    Before JAMAR SPENCER committed the offense charged in this count,

JAMAR SPENCER had a final conviction for a serious cfrug felony, namely, a

conviction in Case Number 06 CR 1750401 (Circuit Court of .Cook County, Illinois),

for manufacture or delivery of a controlled substance, in violation of 720 IL'CS

570/401, for which he served a term of imprisonment of more than 12 months and for

which he was released from serving any term of impr~sonment related to that offen se

within 15 yeru.·s of the commencement of the instant offense.




                                         7



                                       App. 7
    Case:1:20-cr-
    Case: 23-2557       Document#:
                  00309Document:            06/24/2
                                 531 Filed: Filed:  0 Page 8 of 12Pages:
                                                   09/25/2024             #:8
                                                                   PagelD139




                                   COUNT SEVEN

      The SPECIA L JANUARY 2019 GRAND JURY further charges :

      On or about Dece1:11ber 18, 2018, at Chicago, in the Northe rn Distric t ofillinois,.

Eastern Division, and elsewhere,

                          LARRY JONES , a/k/a "Lil Larry,"

defenda nt herein, did knowingly and intentio nally distribu te a contrnl led substan ce,
                                                                                              .
namely , a quantit y of a mixture and substan ce contain ing a detecta ble amoun t of

heroin, a Schedu le I Controlled Substan ce;

      In violatio n of Title 21, United States Code, Section 841(a)( l).




                                          8


                                       App. 8
    Case:1:20-cr-0
    Case:             Docume nt#:
          23-25570309Document:            06/24/20
                               531 Filed: Filed:    Page 9 of 12Pages:
                                                 09/25/2024             #:9
                                                                 PagelD139




                                    COUNT EIGHT

       The SPECIAL JANUARY 2019 GRAND JURY further charges:

       1.     On or about Februar y 20, 2019, at Chicago, in the Norther n District of

Illinois, Eastern Division, and elsewhere,

                           LARRY JONES, a/kla "Lil Lan·y,"

defenda nt herein, did knowing ly and intention ally distribut e a controlle d· substanc e,

namely, a quantity of a mixture and substanc e containi ng a detectab le amount of

heroin, a Schedule I Controlled Substanc e;

      In violation of Title 21, United States Code, Section 841(a)(l ).

      2.     Before LARRY JONES committ ed the offense charged in this count,

LARRY JONES had a final conviction for a serious violent felony, namely, a

conviction in Case Number 97 CR 1538201 (Circuit Court of Cook County, Illinois)

for attempte d murder, in violation of 720 ILCS 5/9-l(a)( l), for which he served more

than 12 months of imprison ment.




                                           9


                                       App. 9
   case:
    Case:1:20-cr-00309
           23-2557     Document#:531 Filed: 06/24/20
                       Document:                      Page 10 of 12Pages:
                                             Filed: 09/25/2024      PagelD139
                                                                           #:10




                                     COUNT NINE

       The SPECIAL JANUARY 201.9 GRAND JURY-further charges:

       1.     On or about September 3, 2019, at Chicago, in the Northern District of

 Illinois, Eastern Division, and elsewhere,

                        LARRY JONES, a/k/a "Lil Larry," and
                             MARSHA FOUNTAIN,

defendants herein, did knowingly and intentionally distribute a c9ntrolled substance,

namely, a quantity of a mixture and substance containing a detectable amount of

heroin, a Schedule I Contl'Olled Substance;

       In violation of Title 21, United States Code~ Section 841(a)(l ), and Title 18,

United States Code, Section 2.

     • 2.    Before LARRY JONES committed the offense charged in this count,

LARRY JONES had a final conviction for a serious violent fe~ony, n amely, a

conviction in Case Number 97 CR'1538201 (Circuit Court of Cook County, Illinois)

for attempted murder, in violation of 720 ILCS 5/9-l(a)(l), for which he served more

than 12 months of imprisonment.




                                         10


                                      App. 10
    Case:
     Case:1:20-cr-00309
           23-2557      Document#:531 Filed: 06/24/20
                        Document:                      Page 11 of 12Pages:
                                              Filed: 09/25/2024      PagelD139
                                                                            #:11




                             FORFEITURE ALLEGATION

        The SPECIAL JANUARY 2019 GRAND JURY further alleges:

        1.    Upon conviction of an offense in violation of Title 21, United States Code,

 Sections 84l(a)(l) and 846, as set forth in this Indictment, defendants shall forfeit to

 the United States of America any property which constitutes and is derived from

 proceeds obtained, directly and indirectly, as a result of the offense; and any property

 used, and intended to be used, in any manner and part, to commit and facilitate

 commission of the offense, as provided in Title 21, United States Code, Section. 853(a).

       2.     Upon conviction of an offense in violation of Title 18, United States Code,

Section 1956, as set forth in this Indictment, defendant LARRY JONES shall forfeit

to the United _S tates of America any property involved in such offense, and any

property traceable to such property, as provided in Title 18, United States Gode,

Section 982(a)(l).

      3.     If any of the property described above, as a result of any act or omission

by defendant: canno_t be located upon the exercise of due diligence; has been

transferred or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty, the




                                         11


                                       App. 11
   Case:
    Case:1:20-cr-00309
          23-2557      Document #:
                       Document: 531 ·Filed: 06/24/20  Page 12 of 12Pages:
                                              Filed: 09/25/2024      PagelD139
                                                                            #:12




. United · States of America shall be entitled to forfeiture of substitute property, as

provided in Title 21, United-States Code, Section 853(p).


                                               A TRUE BILL:




                                               FOREPERSON



UNITED STATES ATTORNEY




                                        12


                                     App. 12
     Case:
      Case:1:20-cr-00309
             23-2557     Document#: 173 Filed:Filed:
                         Document: 53          01/19/23  Page 1 of 1 Pages:
                                                     09/25/2024      PagelD139
                                                                            #:735




                       IN THE U ITED STATES DISTRICT COURT
                                     FOR THE
                          NORTHERN DISTRICT OF ILLI 0 1S
                                 EASTERN DIVISION

United States of America


Plaintiff(s),
                                                       Case No. 20 CR 309-1
V.                                                     Judge Virginia M. Kendall

Larry Jones,

Defendant(s).

                                             ORDER

ORDER as to Lany Jones: Change of plea hearing held. Defendant enters plea of guilty to
Counts I and 3 of the Indictment. The Court accepts a plea of guilty and enters Judgment. Enter
Plea Agreement. Cause referred to the Probation Office for a presentence investigation.
Sentencing set for 4121/2023 at 12:30 p.m. Sentencing position papers due on or before
4/7/2023. The Court directs the disclosure of the Probation Department's sentencing
recommendation to both Defendant and the Government For the reasons as stated in open Court,
Defendant's oral motion to remain out of custody is denied. Defendant is ordered detained and
remanded into federa l custody. Pursuant to 18 U.S.C. § 3664(d)(l), if restitution is being sought
in this case, 60 days prior to the sentencing date, the Government shall provide the Probation
Office and the courtroom deputy an electronic standardized spreadsheet (available on the Court's
website) with a list of victims and their full current contact information. This list shall include
any amounts subject to restitution. If the Government is not able to provide the full victim list 60
days prior to sentencing, they shall file a motion to request an extension of time to compile the
information, to the extent pem1itted by 18 U.S.C. § 3664(d)(5).
(0:45)




Date: I/1912023                                      Isl Virginia M. Kendall
                                                     United States District Judge




                                            App. 13
Case: 1:20-cr-00
  Case:  23-2557 309 Document
                      Document:             01/19/23
                                 174 Filed: Filed:
                              #: 53                09/25/2024             #:736
                                                                   PagelD139
                                                      Page 1 of 20Pages:

                                                                   FILE    D
                                                                     1/19/2023
                                                                  cLE~~.~ i~M8t<c iuRT
                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA
                                                  No. 20 CR 309-1
       V.
                                                  Judge Virginia M. Kendall
LARRY JONES


                               PLEA AGREEM ENT

      l..    This Plea Agreemen t between the United States Attorney for the

Northern District of Illinois, JOHN R. LAUSCH, JR., and defendant LARRY JONES,

and his attorney, PHILLIP TURNER, is made pursuant to Rule 11 of the Federal

Rules of Criminal Procedure and is governed in part by Rule ll(c)(l)(A), as more fully

set forth below. '!'he parties to this Agreemen t have agreed upon the following:

                               Charges in This Case

      2.     The indictmen t in this case charges defendant with conspiracy to

possess with intent to distribute a controlled substance, namely, 100 grams or more

of heroin, in violation of Title 21, United States Code, Section 846 (Count l); money

laundering , in violation of Title 18, United States Code, Section 1956(a)(3)(A) (Count

3); and distributin g a controlled substance, namely, a quantity of heroin, in violation

of Title 21, United States Code, Section 84l(a)(l) (Counts 2 and 4-9).

      3.     Defendant has read the charges against him contained m the

indictment, and those charges have been fully explained to him by his attorney.




                                      App. 14
   Case:  23-2557
       1:20-c               ent#: 174
                       Document:
              r-00309 Docum                         3 Page 2 of 20Pages:
                                            01/19/209/25/2024
                                  53 Filed: Filed:                        #:737
                                                                   PagelD139
 Case:




      4.     Defend ant fully unders tands the nature and elemen ts ofthe crimes with

which he has been charge d.

                 Charg e t o Which D efenda nt Is Plead ing Guilty

      5.     By this Plea Agreem ent, defend ant agrees to.ente1· a volunt ary plea of
                                                                                   ant with
guilty to the following count of the indictm ent: Count 1, which charge s defend
                                                                                         nce,
conspiracy to posses s with intent to distrib ute and distrib ute a contr olled substa
                                                                               detecta ble
namely , 100 grams 01· more of a mixtur e and substa nce contai ning a
                                                                                    United
amoun t of heroin, a Schedule I Controlled Substa nce, in violati on of Title 21,
                                                                                          gly
States Code, Section 846; and Count 3, which charge s defend ant with knowin
                                                                                interst ate
conducting and attemp ting to conduc t a financi al transa ction affecti ng
                                                                                 procee ds
commerce, involving proper ty repres ented by a confid ential source to be the
                                                                                otherwise
of specific unlawf ul activity, namely , the felonious buying and selling and
                                                                                    g on of
dealing in a contro lled substa nce with the intent to promo te the carryin
                                                                                    Section
specified unlawf ul activity, in violation of Title 18, United States Code,

1956(a)(3)(A).

                                     Factu al Bas is

       6.     Defend ant will plead guilty becaus e he is in fact guilty of the charge s
                                                                                    admits
contain ed in Counts 1 and 3 of the indictm ent. In pleadi ng guilty, defend ant
                                                                                     doubt
the following facts and that those facts establi sh his guilt beyond a reason able

 and consLitute releva nt conduct under Guideline l B 1.3:



                                             2




                                        App. 15
   Case:  23-2557
       1:20-c               ent #: 174
                       Document:
              r-00309 Docum                          3 Page 3 of 20Pages:
                                             01/19/209/25/2024
                                   53 Filed: Filed:                        #:738
                                                                    PagelD139
 Case:




Count One

      Beginn ing on or about Augus t 6, 2018, and continu ing u ntil on or about
                                                                                  Division,
Septem ber 3, 2019, at Chicago, m the Northe rn Distric t of Illinois, Easter n
                                                                                     Jama1·
and elsewhere, defend ant LARRY JONES conspi red with co-defendants
                                                                                         gly
Spence r and Marsh a Founta in, and mth others known and unkno wn, to knowin
                                                                                  contr olled
and intenti onally posses s with intent to distrib ute and distrib ute a
                                                                                       ing a
substa nce, namely , 100 grams or more of a mixtur e and substa nce contain
                                                                                     of Title
detectable amoun t of heroin, a Schedule I Controlled Substa nce, in violati on
                                                                                       Code,
21, United States Code, Section 84l (a)(l), in violation of Title 21, United States

Section 846.

       Specifically, betwee n approx imately Augus t 2018 and Septem ber 2019,
                                                                                  quanti ties
JONES worked with Mar sha Founta in, Jamar Spencer, and others to sell
                                                                                   Founta in
of heroin in and aroun d Chicago, Illinois . During this time, JONE S directe d
                                                                                  to JONE S
to <lo the following: stor e wholesale quanti ties of heroin; transp ort heroin
                                                                                      heroin
and his associates; collect narcotics proceeds from Spence r and other s who sold
                                                                                      street
supplied by JONES ; and provide J ONES with inform ation she receive d from
                                                                                      ed.
level sellers and custom ers about the quality of the heroin that J ONES suppli
                                                                                         and
       Fo1· example, on or about Augus t 6, 2018, JONES placed a call to Founta in
                                                                                    sell to a
instruc ted her to b1·ing him approx imately 26 grams of heroin for JONE S to
                                                                                       ("CS-
custom er who, unbekn ownst to JONES and Founta in, was a confid ential source
                                                                                       S and
 1") cooperating with law enforcement. Later that day, Founta in met with JONE
                                            3




                                       App. 16
                                             01/19/23
                                  174 Filed: Filed:
                            ent#: 53                                       #:739
                                                                    PagelD139
                                                       Page 4 of 20Pages:
   Case:
 Case: 1:20-c r-00309 Docum
          23-2557      Document:                    09/25/2024




                                                                          Chicago. Durin g
the CS in a vehicle parke d on the 400 block of South Cicero Avenu e in
                                                                           enfor cemen t in
that meeting, JONE S cautio ned Fount ain about the presen ce of law
                                                                           to the meeti ng.
the al'ea and asked Fount ain if she broug ht "25 or 50" grams of heroin
                                                               ·stood to mean 25
Fount ain respon ded that she broug ht "25," which JONE S unde1
                                                             bag contai ning
gl'ams of heroin. Fount ain then hande d a knotte d plasti c
                                                                           uted the heroin
appro ximat ely 25 grams of heroin to JONE S, and JONE S then distrib
                                                                      of the $3,75 0 paid
to CS-1 in exch ange for $3,750. JONE S acknowledges that $1,875
                                                                              that JONE S
by CS-1 to JONE S was repay ment for appro ximat ely 25 grams of heroin

"fronted" to CS-1 on or about July 23, 2018.
                                                                               direct ly to
       JONE S also somet imes direct ed Spenc er to clistribute heroin
                                                                             ed Spenc er to
JONE S's custom ers. For example, on Octob er 24, 2018, JONE S direct
                                                                             CS-1. Dm·ing
Lravel to the 3800 block of West Lake Street in Chicago to meet with
                                                                              and received
Lhat meeting, Spenc er gave CS-1 appro ximat ely 24.8 grams of heroin
                                                                           er then gave to
appro ximat ely $1,880 in narcotics proceeds from CS-1, which Spenc

JONE S.
                                                                                   Octob er
       Finally, JONE S acknowledg es that, in additi on to the Augus t 6 and
                                                                             ing quant ities
24, 2018, transa ctions described above, JONE S distdb uted the follow
                                                                            appro ximat ely
of heroin to CS-1: on or about Augu st 15, 2018, JONE S distrib uted
                                                                             S distri buted
 24.8 grams of heroin to CS-1; on or about Septe mber 19, 2018, JONE
                                                                          18, 2018, J ONES
 appro ximat ely 25 grams of h eroin to CS-1; on or about December
                                                                              Febru ary 20,
 distrib uted appro ximat ely 24.9 grams of heroin to CS-1; on or about
                                            4




                                       App. 17
   Case:
 Case: 1:20-cr- 00309 Docume
          23-2557      Document:              01/19/2
                                   174 Filed: Filed:
                             nt #: 53                09/25/2024             #:740
                                                                     PagelD139
                                                      3 Page 5 of 20Pages:




2019, JONES distribu ted approxj mately 25 grams of heroin to CS-1; and on or about

Septem ber 3, 2019, JONES disti:ibuted approxi mately 24.5 grams of heroin to CS-1.

JONES acknowledges that he received $9,385 in connect ion wjth those transac tions

listed above.

      JONES further acknowledges that, for the pU1·pose of comput ing his sentenc e

under the Sentenc ing Guidelines, the following conducL that he stipulat es constitu tes

relevan t conduct under Guideline § lB 1.3. Specifically, JONES acknow ledges that

he met Spencer in the early 2000s and that, in addition to heroin, JONES also sold

quantifi es of marijua na, cocaine base, and fentany l to Spence r during the COUl'Se of

their relation ship.

Count Tlu:ee.

       On or about August 6, 2018, at Chicago, in the Northe1·n Distl'ict of Illinois,

Eastern Division, and elsewhere, JONES , with intent to promot e the cru·rying on of

specified unlawfu l activity, did knowingly conduct and attemp t to conduc t a financia l

transac tion affectin g intersta te and foreign commerce, involvin g propert y

represe nted by the CS to be proceeds of specific unlawfu l activity, namely , the

felonious buying and selling and otherwi se dealing in a contl'Olled substan ce, m

violation of Title 18, United States Code, Section 1956(a)(3)(A).

       Specifically, on August 6, 2018, during the narcotic s transac tion betwee n the

 CS and JONES describ ed above, JONES received approxi mately $3,750 in paymen t

 from the CS.      JONES acknowledges that approxi mately $1,875 of that total

                                            5




                                       App. 18
              r-00309 Docum ent#: 53         01/19/209/25/2024
                                  174 Filed: Filed:                        #:741
                                                                    PagelD139
                                                     3 Page 6 of 20Pages:
   Case:
 Case:    23-2557
       1:20-c          Document:




                                                                                S to the
represe nted payme nt to JONES for narcoti cs previo usly supplie d by JONE

CS on or about July 23, 2018.        JONES furthe r acknowledges that he accept ed
                                                                                     nship
payme nt for the purpos e of promo ting and mainta ining his drug dealin g relatio

with the CS.

                             Maxim um Statutory Pe n alt ies

       7.      Defend ant unders tands that the charge to which he is pleadi ng guilty

carries the following statuto ry penalti es:

               a.    Count One carries a           maxim um senten ce of 40 years'
                                                                       years'
impris onmen t, and a statuto ry manda tory minim um senten ce of five
                                                                              defend ant
impris onmen t. Pursua nt to Title 18, United States Code, Sectio n 3561,
                                                                                    carries
may not be senten ced to a term of probat ion for this offense. This offense also
                                                                                       also
a maxi.mum fine of $5,000,000. Defend ant nll'the r tmders tands that the judge
                                                                                   numbe r
must impose a term of superv ised release of at least four year s, and up to any

of years, includi ng life.

               b.     Count Three carries a maxim um sentence of 20 years'
                                                                                twice the
imprisonment. Count Thl'ee also cal'l'ies a maxim um fine of $500,000, or
                                                                                     ver is
value of the monet ary instrum ent or funds involved in the offense, whiche
                                                                                the judge
greate r. Defend ant furthe r unders tands that with respec t to Count Three,

also may impose a term of supervised release of not more than three year s.




                                               6




                                        App. 19
   Case:
 Case: 1:20-cr- 00309 Docume
          23-2557      Document:              01/19/2
                                   174 Filed: Filed:
                             nt #: 53                09/25/2024             #:742
                                                                     PagelD139
                                                      3 Page 7 of 20Pages:




             c.     PUl'suant to Title 18, United States Code, Section 3013, defenda nt

will be assesse d $100 on the charge to which he has pled guilty, in addition to any

other penalty imposed.

             d.     Therefo1·e, under the counts to which defenda nt is pleadin g guilty,

the total maximu m sentenc e is 60 years' impriso nment. In addition , defenda nt is

subject to a total maximu m fine of $5,500,000, or twice the value of the moneta ry

instrum ent or funds involved in the offense, whiche ver is g1·eater, a period of

supervi sed release, and special assessm ents totaling $200.

                       Sen ten cing Guide lines Calc ulation s

      8.     Defen~ ant underst ands that in determi ning a sentenc e, the Court is

obligated to calculat e the applicable Sentenc ing Guideli nes range, and to conside r

that range, possible departW'es under the Sentenc ing Guideli nes, and other

sentenc ing factors under 18 U.S.C. § 3553(a), which include: (i) the nature and

circums tances of the offense and the history and charact eristics of the defenda nt;

(ii) the need for the sentenc e imposed to reflect the serious ness of the offense, promot
                                                                                             e

respect for the law, and provide just punishm ent for the offense, afford adequa te

deterren ce to crimina l conduct , protect the public from further crimes of the

defenda nt, and provide the defenda nt with needed educati onal or vocatio nal training ,

medical care, or other correctional treatme nt in the most effective manner ; (iii) the

kinds of sentenc es available; (iv) the need to avoid unwarr anted sentenc e disparit ies



                                             7




                                       App. 20
   Case:
 Case: 1:20-cr- 00309 Docum
          23-2557      Document:             01/19/2
                                  174 Filed: Filed:
                            ent#: 53                09/25/2024             #:743
                                                                    PagelD139
                                                     3 Page 8 of 20Pages:




among defenda nts with similar records who have been found guilty of similar

conduct; and (v) the need to provide restitut ion to any victim of the offense.

      9.     For purpose s of calculat ing the Sentenc ing Guideli nes, the parties agree

on the following points:

             a.     Applic able Guidelines. The Sentenc ing Guideli nes to be

conside red in this case are those in effect at the time of sentenc ing. The following

stateme nts regardi ng the calculat ion of the Sentenc ing Guideli nes a1·e based on the

Guideli nes Manua l current ly in effect, namely the Novem ber 2021 Guideli nes

Manual .

             b.         Offen se Level Calcula tions.

                   1.         Count One and Relevan t Conduc t

                              1.    It is the governm ent's position that the amoun t of

controlled substan ces involve d in the offense of conviction and relevan t conduc t for

which defenda nt is accountable, or which was reasona bly foreseea ble to the

defenda nt, and relevan t conduct is approxi mately 85 grams of cocaine base (the

equival ent of 303.54 kilogram s of Conver ted Drug Weight , pursua nt to Guideli ne

§ 2Dl.1, applica tion note 8(D)); 160 to 200 grams offenta nyl (the equival ent of 400
                                                                                         to

500 kilogra ms of Conver ted Drug Weight, pursua nt to Guideli ne§ 2Dl.1, applica tion

note 8(D)); 5.57 to 6.04 kilogram s of heroin (the equival ent of 5,570 to 6,040 kilogra ms

 of Conver ted Drug Weight, pursuan t to Guideli ne § 2D 1.1, applica tion note 8(D)); and

 12.71 kilogram s of marijua na (the equival ent of 12. 71 kilogra ms of Conver ted Drug
                                             8




                                         App. 21
   Case:      r-00309 Docum
          23-2557
       1:20-c               ent#: 53
                       Document:                     3 Page 9 of 20Pages:
                                             01/19/209/25/2024
                                  174 Filed: Filed:                        #:744
                                                                    PagelD139
 Case:




                                                                       nt to
Weight, pursua nt to Guideline § 2Dl.l, applica tion note 8(D). Pursua
                                                                                  level for
Application Note 8(B) to Guidel ines§ 2Dl.l, when determ ining the offense
                                                                                     ted to
an offense involving differe nt controlled substa nces, each drug is to be conver
                                                                                 ity Table
its conver ted drug weight, combined, and then refel'l'ed to the Drug Quant
                                                                                     n that
in§ 2Dl.1 to obtain the combined offense level. It is the govern ment's positio
                                                                                     , and
the combined Conve rted Drug Weight for the cocaine base, fentany l, heroin
                                                                                      5 to
mariju ana for which defend ant is accountable equals approx imatel y 6,286.2
                                                                                 Guidel ine
6,856.25 kilogra ms of Conve rted Drug Weight, which, pursua nt to
                                                                                 is greate r
§§ 2Dl.l(a )(5) and (c)(4), results in a base offense level of 32, becaus e it
                                                                                     t. The
than 3,000 kilograms, but less than 10,000 kilogra ms of Conve rted Drug Weigh

defend ant disagre es with the government's position and reserv es the right
                                                                                  to argue

for a differe nt total drug quanti ty calculation.

                            2.     Pursua nt to Guidel ine§ 3Bl.l(c ), the offense level is
                                                                                     er, or
increas ed by 2 levels, becaus e defend ant was an organi zer, leader, manag

superv isor in the conspiracy.

                            3.     Accordingly, it is the govern ment's positio n that the

total offense level for Count One is 34.

                   11.      Count Three

                             l.    The govern ment's positio n is that, pursua nt to
                                                                      defend ant
Guideline §§ 2S1.l(a )(l), the base offense level is 34, becaus e the



                                              9




                                        App. 22
   Case:
Case:           0309 Docume
          23-2557
      1:20-cr-0       Document:  534 Filed: 01/19/23
                            nt#: 17         Filed: 09/25/2024              #:7 45
                                                                   Page ID139
                                                     Page 10 of 20Pages:




committe d the underlyi ng offense and the offense level for that offense can be

determin ed.
                            2.     Pursuan t to Guideline § 2S1.l(b)(2)(B), th e offense

level is increase d by 2 levels because the defendan t was convicte d under Title 18,

United States Code, Section 1956(a)(3)(A).

                            3.     Therefore, the governm ent's position is that the total

offense level for Count Three is 36.

                  ill.      Grouping

                            l.     Pursuant to§ 3Dl.2(c), Count One and Count Three

a1·e grouped together because one of the counts embodies conduct that is treated as a

specific offense characte ristic in, or other adjustme nt to, the guideline applicab le to

another of the counts.

                            2.     Therefore, the governm ent's position is that the

defendan t's total offense level is 36.

                  iv.       If by the time of sentenci ng the defendan t h as clearly

demonst rated a recognition and affirmati ve acceptan ce of personal responsi bility for

his criminal conduct within the meaning of Guideline § 3El.l(a), defendan t should

receive a two-level reduction in the offense level. At the present time, the governm ent

reserves its position on this adjustme nt until the time of ~entenci ng.

                    v.      Defenda nt timely notified the governm ent of his intention

to enter a plea of guilty, thereby permittin g the government to avoid preparin g for
                                             10




                                          App. 23
   Case:  23-2557     Document:
             r-00309 Docum       53 Filed: 01/19/2
                           ent#: 174               3 Page 11 of 20Pages:
                                           Filed: 09/25/2024              #:746
                                                                   PagelD139
Case: 1:20-c




                                                                                      meani ng
trial and permit ting the Court to allocat e its resour ces efficiently, within the
                                                                                       hearin g,
of Guidel ine § 3El.l(b ). Accordingly, at the time of defend ant's senten cing
                                                                                              ines
the govern ment will move for an additio nal 1-level reduct ion if lhe Court determ
                                                                                        ance of
that defend ant has clearly demon strated a recogn ition and affirm ative accept
                                                                                  Guidel ine
person al responsibiliLy for his crimin al conduc t within the meani ng of

§ 3El.l(a ).

               c.       Crimi n a l Histor y Category. With regard to determ ining
                                                                                       the facts
defend ant's crimin al _h istory points and crimin al history category, based on
                                                                                      al history
now known to the govern ment and stipula ted below, defend ant's crimin

points equal O and defend ant's crimin al history catego ry is I:

                       1.    On or about April 6, 1998, defend ant was convic ted of
                                                                                 No. 97 CR
attemp ted mm·de r in the Circuit Court of Cook County, Illinois (Case
                                                                                              ed to
1538201), and receive d a senten ce of 9 years' impris onmen t, which was amend
                                                                   Guidel ine
8 years' impris onmen t on or about Augus t 17, 2000. Pursu ant to
                                                                                       ce.
§ 4Al.2(e)(3), defend ant receives zero c1·imina l history points for this senten

                       u.     On or about Februa ry 18, 2003, defend ant was convicted of
                                                                                       , Illinois
posses sion of a contro lled substa nce in the Circui t Court of Cook County
                                                                                        onmen t.
(Case No. 02 CR 2338801), and receive d a senten ce of 2 years' impris
                                                                                             points
 Pursua nt to Guidel ine § 4Al.2(e)(3), defend ant receives zero crimin al history

 for this senten ce.



                                              11




                                         App. 24
   Case:
Case:          00309 Docume
          23-2557
      1:20-cr-        Document:   53 Filed: 01/19/2
                            nt #: 174       Filed: 09/25/2024       Page ID
                                                    3 Page 12 of 20Pages:   #:747
                                                                          139




             d.     An ticipat ed   Adviso ry     Senten cing     Guidel ines Range.

Thel'efore, based on the facts now known to the governm ent, it is the governm ent's

position that if the Court determi nes that defenda nt has not clearly demons trated a

recognition and affirma tive acceptance of persona l r esponsi bility for his crimina l

conduct with the meanin g of Guideline § 3El.l, the anticip ated offense level is 36

which, when combined with the anticipa ted crimina l history categor y ofl, results in

an anticipa ted advisory sentenc ing guidelin es range of 188 to 235 months '

impriso nment, in addition to any supervi sed release and fine the Court may impose.

While Defend ant rcse1·ves the right. to argue for a differen t Guideli nes calcula tion at

the time of sentencing, defenda nt acknowledges that he is subject to a statutol'y

minimu m sentenc e of five years' impriso nment.

             e.     Defend ant and his attorne y and the governm ent acknowledge

that the above guidelin es calculat ions are prelimi nary in nature, and are non-bin ding

pl'edictions upon which neither party is entitled to rely. Defend ant underst ands that

further review of the facts or applicable legal principl es may lead the governm ent to

conclude that differen t or addition al guidelin es provisio ns apply in this case.

Defend ant underst ands that the Probati on Office will conduc t its own investig ation

and that the Court ultimat ely determi nes the facts and law relevan t to sentenc ing,

and that the Court's determi nations govern the final guidelin e calculat ion.

Accordingly, the validity of this Agreem ent is not conting ent upon the probat.ion

officer's or the Court's concurrence with the above calculat ions, and defenda nt shall
                                            12




                                        App. 25
   Case:
      1:20-cr- 00309 Docume
          23-2557     Document:   534 Filed: 01/19/2
                            nt #: 17         Filed: 09/25/2024       Page ID
                                                     3 Page 13 of 20Pages:   #:7
                                                                           139        48
Case:




not have a right to withdra w his plea on the basis of the Court's rejectio n of these

calculat ions.

                 f.    Both parties express ly acknowledge that this Agreem ent is not

governe d by Fed. R. Crim. P. ll(c)(l)(B), and that errors in applyin g or interpre ting

any of the sentenc ing guidelin es may be correcte d by either party prior to sentenc ing.

The parties may correct these errors either by stipulat ion or by a stateme nt to the

Probali on Office or the Court, setting forth the disagre ement 1·egarding the applica ble

provisions of the guidelin es. The validity of this Agreem ent will not be affected by

such conecti ons, and defenda nt shall not have a right to withdra w his plea, nor the

governm ent the right to vacate this Agreem ent, on the basis of such correcti ons.

                          Agreem ents Relatin g t o Sen tencin g

        10.      Each party is free to recomm end whatev er sentenc e it deems

appropr iate.

        11.      It is underst ood by the parties that the sentenc ing judge is neither a

party to nor bound by this Agreem ent and may impose a sentenc e up to the maximu m

penaltie s as set forth above. Defend ant furthe1· acknow ledges that if the Court does

not accept the sentenc ing recomm endatio n of the parties, defenda nt will have no right

to withdra w bis guilty plea.

        12.       Defend ant agrees to pay the special assessm ent of $100 at the time of

 sentenc ing with a cashier 's check or money order payable to the Clerk of the U.S.

 District Court.
                                             13




                                         App. 26
   Case:  23-2557     Document:
              -00309 Docum       53 Filed: 01/19/2
                           ent#: 174       Filed: 09/25/2024       PagelD
                                                   3 Page 14 of 20Pages:  #:749
                                                                         139
Case: 1:20-cr




      13.       The parties further agree, pursua nt to Title 181 United States Code,
                                                                                      , as a
Section 3583(d), that the senten ce to be imposed by the Court shall include
                                                                                     case, a
condition of any term of superv ised release or probat ion impose d in this
                                                                                       5 as
require ment that defend ant 1·epay the United States approx imatel y $15,01
                                                                                      gation
compe nsation for govern ment funds that defend ant received during the investi

of the case.

         14.    Defend ant agrees that the United States may enforce collection of any
                                                                                      Code,
fine or restitu tion imposed in this case pursua nt to Title 18, United States
                                                                                set by the
Sections 3572, 3613, and 3664(m), notwit hstand ing any payme nt schedu le

Court.

         15.     Before senten ce is imposed, the govern ment will move to dismis s the
                                                                                     United
notice of prior conviction relatin g to defend ant filed pursua nt to Title 21,

States Code, Section 861.

         16.     After senten ce has been impose d on the counts to which defend ant
                                                                                remain ing
pleads guilty as agreed herein, the govern ment will move to dismis s the

counts of the indictm ent as to defendant, includi ng the forfeitur e allegat ion.

               Ackno wledg ments a n d Waive rs Regar ding Plea of Guilty

                                  Nature of Agree ment

         17.     This Agreem ent is entirely volunt ary and repres ents the entire
                                                                                       anL's
 agreem ent betwee n the United States Attorn ey and defend ant regard ing defend

 crimin al liabilit y in case 20 CR 309-1.
                                             14




                                         App. 27
   Case:  23-2557     Document:
             r-00309 Docum        53 Filed: 01/19/2
                           ent #: 174               3 Page 15 of 20Pages:
                                            Filed: 09/25/2024              #:750
                                                                    PagelD139
Case: 1:20-c




      18.    This Agreem ent concerns crimin al liabilit y only. Except as expres sly set
                                                                                         , or
forth in this Agreem ent, nothin g herein shall constit ute a limitat ion, waiver
                                                                                     judicia l
release by the United States or any of its agencies of any admin istrativ e or
                                                                                  any other
civil claim, deman d, or cause of action it may have agains t defend ant or
                                                                                       States
person or entity. The obligations of this Agreem ent are limited to the United
                                                                                  any other
Attorn ey's Office for the Northe rn Dist1·ict of Illinois and cannot bind
                                                                                       except
federal, state, or local prosecuting, admin istrativ e, or regula tory author ities,

as expres sly set forth in this Agreement.

                                     Waive r of Righ ts

       19.    Defend ant unders tands that by pleadin g guilty he sun enders certain

rights, includi ng t he following:

              a.     Trial rights. Defend ant has the right to persis t in a plea of not
                                                                                     a public
guilty to the charge s agains t him, and if he does, he would have the 1·ight to

and speedy trial.

                    1.       'I'he trial could be either a jury trial or a t1·ial by the judge
                                                                                   the judge
sitting withou t a jury. However, in order that the ti·ial be conduc ted by
                                                                                         that
sitting withou t a jm·y, defend ant, the gover nment , and the judge all must agree

the trial be conduc ted by the judge withou t a jury.

                    u.       If the trial is a jury trial, the jUl'y would be composed of
                                                                                    attorne y
 twelve citizen s from the district, selecte d at r andom. Defen dant and his
                                                                                       remove
 would partici pate in choosing the jury by reques ting that t he Court
                                              15




                                         App. 28
   Case:
Case:          00309 Docum
          23-2557
      1:20-cr-        Document:  53 Filed: 01/19/2
                           ent#: 174       Filed: 09/25/2024              #:751
                                                                   PagelD139
                                                   3 Page 16 of 20Pages:




prospective jurors fo1· cause where actual bias or other disqual ificatio n is shown, or

by removing prospec tive jurors without cause by exercising peremp tory challen ges.

                 111.      If the trial is a jury trial, the jury would be instruc ted that,

defenda nt is presum ed innocent, that t.he governm ent has the burden of proving

defenda nt guilty beyond a reasona ble doubt, and that the juxy could not convict him

unless, after heai·ing all the evidence, it was persuad ed of his guilt beyond a

reasona ble doubt and that it was to conside r each count of the indictm ent sepa1·at ely.

The jury would have to agree unanim ously as to each count before it could 1·eturn a

verdict of guilty or not guilty as to that count.

                  1v.      If the trial is held by the judge withou t a jlll'y, the judge

would find the facts and determi ne, after hearing all the evidence, and conside ring

each count separat ely, whethe r or not the judge was persuad ed that the governm ent

had establis hed defenda nt's guilt beyond a reasona ble doubt.

                   v.       At a trial, whethe r by a jury or a judge, the governm ent

would be require d to present its witness es and other evidence against defenda nt.

Defend ant would be able to confront those governm ent witness es and his attorne y

would be able to cross-ex amine them.

                  Vl.       At a trial, defenda nt could present witness es and other

evidence in his own behalf. If the witness es for defenda nt would not appear

voluntarily, he could requfre their attenda nce through the subpoe na power of the

Court. A defenda nt is not require d to present any evidence.
                                            16




                                        App. 29
   Case:  23-2557
      1:20-c          Document:
             r-00309 Docum       53 Filed: 01/19/2
                           ent#: 174       Filed: 09/25/2024      PagelD
                                                  3 Page 17 of 20Pages:  #:752
                                                                        139
Case:




                     vu.         At a trial, defend ant would have a privile ge agains t self-
                                                                                     could be
incrim ination so that he could decline to testify, and no inferen ce of guilt
                                                                                        in his
drawn from his refusa l to testify. If defendant. desired to do so, he could testify

own behalf.

                b.         Wa iver of appellat e r igh ts. Defen dant fU1·ther unders tands he

is waivin g all appella te issues that might have been availab le if he had
                                                                                exercis ed his

                                                                                     senten ce
right to trial, and may only appeal the validit y of this plea of guilty and the
                                                                                     calend ar
imposed. Defend ant unders tands that any appeal must be filed within 14

days of the entry of the judgm ent of conviction.

       20.      Defend ant unders tands that by pleadin g guilty he is waivin g all the
                                                                                    ned those
rights set forth in the prior paragr aphs. Defend ant's attorne y has explai

rights to him, and the consequences of his waiver of those rights.

        P resente n ce Invest iga tion R eport/ Pos t-Sen tence S upe r vision

       21.      Defend ant unders tands that the United States Attorn ey's Office in its
                                                                                       and at
submis sion to the Probat ion Office as part of the Pre-Se ntence Report
                                                                                        of the
senten cing shall fully appris e the Distric t Court and the Probat ion Office
                                                                                        t him,
nature , scope, and extent of defend ant's conduc t regard ing the charge s agains
                                                                                         ation
and related matter s. The govern ment will make known all matter s in aggrav
                                                                                          ant's
 and mitiga tion releva nt to senten cing, includ ing the nature and extent of defend

 cooperation.



                                                  17




                                             App. 30
  Case:
Case:          00309 Docum
         23-2557
      1:20-cr-        Document:  53 Filed: 01/19/2
                           ent#: 174       Filed: 09/25/2024       PagelD
                                                   3 Page 18 of 20Pages:  #:753
                                                                         139




      22.    Defend ant agrees to truthful ly and completely execute a Financi al

Statem ent (with support ing docume ntation) prior to sentenc ing, to be provide d to and

shared among the Court, the Probati on Office, and Lhe United States Attorne y's

Office 1·egarding all details of his financia l circums tances, includin g his recent income

tax retru·ns as specified by the probatio n officer. Defend ant underst ands that

providin g false or incomplete information, or r efusing to provide this informa tion,

may be used as a basis for denial of a reductio n for accepta nce of respons ibility

pursua nt to Guideli ne § 3E 1.1 and enhanc ement of his sentenc e for obstruc tion of

justice under Guideli ne § 3Cl.l, and may be prosecu ted as a violatio n of Title 18,

United States Code, Section 1001 or as a contem pt of the Court.

       23.    For the purpose of monitor ing defenda nt's complia nce with his

obligations to pay a fine during any term of supervi sed release or probati on to which

defenda nt is sentenc ed, defenda nt ftu'ther consent s to the disclosu re by the IRS to

the Probati on Office and the United States Attorne y's Office of defenda nt's individ ual

income tax returns (togethe r with extensio ns, conespo ndence, and other tax

informa tion) filed subsequ ent to defenda nt's sen tencing , to and includi ng the final

year of any period of supervi sed release or probati on to which defenda nt is sentenc ed.

Defend ant also agrees that a certified copy of this Agreem ent shall be sufficient

evidence of defenda nt's request to the IRS to disclose the returns and return

informa tion, as provided for in Title 26, United States Code, Section 6103(b).



                                             18




                                        App. 31
      1:20-cr-0
  Case:
Case:    23-25570309 Docume
                      Document:  534 Filed: 01/19/23
                            nt#: 17                  Page 19 of 20
                                            Filed: 09/25/2024      Page ID
                                                                 Pages:    #:754
                                                                         139




                                   Oth er Terms

      24.    Defenda nt agrees to cooperate with the United States Attorney 's Office

in collecting any unpaid fine fo r which defendan t is liable, including providin g

financial statemen ts and supportin g 1·ecords as requeste d by the United States

Atwrney 's Office.

      25.    Defenda nt understa nds that, if convicted, a defendan t who is not a

United States citizen may be removed from the United States, denied citizensh ip, and

denied admissio n to the United States in the future.

                                    Con clus ion

       26.   Defenda nt understands that this Agreeme nt will be filed with the Com·t,

will become a matter of public record, and may be disclosed to any person.

       27.   Defenda nt understa nds that his compliance with each part of this

Ag1.'eement extends througho ut the period of his sentence, and failw:e to abide by any

term of the Agt·eement is a violation of the Agreeme nt. Defenda nt further

understa nds that in the event he violates this Agreeme nt, the governm ent, at its

option, may move to vacate the Agreement, renderin g it null and void, and thereafte1·

prosecut e defendan t not subject to any of the limits set forth in this Agreeme nt, or

may move to resenten ce defendan t or require defendan t's specific performa nce of this

Agreeme nt. Defenda nt understa nds and agrees that in the event that the Court

permits defendan t to withdraw from this Agreeme nt, or defendan t breaches any of

its terms and the governm ent elects to void the Agreeme nt and prosecute defendan t,
                                          19




                                      App. 32
Case: 1:20-cr-00309
  Case:  23-2557 Document#:
                    Document: 174
                              53 Filed: 01/19/23 Page 20 of 20
                                        Filed: 09/25/2024      PagelD
                                                             Pages:   #:755
                                                                    139




any prosecutions that are not time-barred by the applicable statute of limitations on

the date of the signing of this Agreement may be commenced against defendant in

accordance with this paragraph, nohvithstanding the expiration of the statute of

limitations between the signing of this Agreement and the commencement of such

prosecutions.

       28.    Should the judge refuse to accept defendant's plea of guilty, this

Agreement shall become null and void and neither party will be bound to it.

       29.    Defendant and his attorney acknowledge that no threats, promises, or

representations have been made, nor agreements reached, other than those set forth

in this Agreement, to cause defendant to plead guilty.

       30.    Defendant acknowledges that he has read this Agreement and carefully

reviewed each provision with his attorney. Defendant further acknowledges that he

understands and voluntarily accepts each and every term and condition of this

Agreement.

AGREED THIS DATE: _                    __,__/---',_./'--f.,__.--_t:(-'-'--'--~

                    Digitally signed by ERIKA
  ERIKA             CSICSILA
                    Date: 2022.12.15
  CSICSILA          12:29:0l -05'00'

 Erika L. Csicsila on behalf of                                                  LARR~JONES
 JOHN R. LAUSCH, JR.                                                             Defendant
 United States Attornev.           . db
                     r Dfg1ta11 y s1gne y JIMM
                                              Y

JIMMY ARCE~:~~2023.ous1s:44:19
 JIMMY L. ARCE          -06'00·                                                  PHILLIPURNER
 Assis.t ant U.S. Attorney                                                       Attorney for Defendant


                                                                       20




                                                               App. 33
Case:
 Case:1:20-cr-00309
         23-2557 Document#:    184 Filed:Filed:
                    Document: 53         04/07/23  Page 1 of 13Pages:
                                                09/25/2024      PagelD139
                                                                       #:966




         IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


UNITED STATES OF AMERICA,             )
                                      )
                   Plaintiff,         )
          V.                          )     NO. 20 CR 309
LARRY JONES,                          )
                                      )     Judge Virginia M. Kendall
                   Defendant.         )



   DEFENDANT LARRY JONES' SENTENCING MEMORANDUM


   Larry Jones, by his attorney, Phillip A. Turner, respectfully submits the

following as his sentencing memorandum in this matter so that an

appropriate sentence considering Title 18 United States Code, Section

3553(a) is imposed.

  Larry Jones has pled guilty to conspiracy to possess with intent to

distribute heroin and money laundering. In this case, Larry Jones is subject

to five-year mandatory minimum sentence.       Larry Jones was taken into

federal custody after he pied guilty on Janua1y 19, 2023. He is in custody at

the Jerome Combs Detention Center for Kankakee County.

  As this Court is aware, in United States v. Booker, 543 U.S. 220 (2005),

the United States Supreme Court held that the mandatory application of the




                                 App. 34
Case: 1:20-cr-00309
  Case:  23-2557 Document
                    Document:#: 53
                                 184 Filed: Filed:
                                            04/07/23  Page 2 of 13Pages:
                                                   09/25/2024      PagelD #:967
                                                                         139



United States Sentencing Guidelines was unconstitutional and that the

guidelines were advisory.     The guidelines are only part of the analysis

pursuant to Title 18 United States Code, Section 3553(a) which directs a

sentencing court to impose a sentence which is "sufficient, but not greater

than necessary."   In addition, the Seventh Circuit Court of Appeals has

remarked that the departure methodology is obsolete in light of Booker.

See, United States v. Laufle, 433 F.3d 981 , 986 (7 th Cir. 2006).         The

Seventh Circuit has expanded upon the analysis which is to be undertaken in

applying the Section 3553 factors. In United States v. Warner, 792 F.3d

847 (7 111 Cir. 2015), the Seventh Circuit of Appeals reviewed the propriety of

a sentence of probation for an extremely wealthy man who had by

sophisticated and fraudulent means evaded $5.6 million in United States

taxes by hiding approximately $107 million in taxable income in secret

Swiss bank accounts. The existence of the Swiss bank accounts and the

funds contained in those accounts were hidden from the United States

Department of Treasury, Internal Revenue Service. In addition to hiding the

money, defendant Warner instructed his Swiss bankers not to send him any

correspondence and to destroy all the account records. When the United

States government concluded an agreement with one of the Swiss banks

which would have revealed defendant Warner's secret Swiss account, he



                                      2

                                  App. 35
Case: 1:20-cr-00309
  Case:  23-2557 Document  #:53
                    Document: 184 Filed: Filed:
                                         04/07/23  Page 3 of 13Pages:
                                                09/25/2024      PagelD139
                                                                       #:968




transferred the funds to another Swiss bank and used a Liechtenstein shell

entity to hide his ownership of the funds.      Warner perpetrated this tax

evasion scheme for approximately 12 years.         When the United States

Department of Justice began to investigate and prosecute this type of

offshore tax evasion, a grand jury subpoena was served on Warner for the

records of his offshore banking records. Warner resisted and fought the

grand jury subpoena; however, he was ultimately ordered by the courts to

comply. In re Special Feb. 2011-1 Grand Jury Subpoena Dates Sept. 12,

2011, 691 F.3d 903, 909 (7th Cir. 2012), cert. denied, 133 S. Ct. 2338

(2013). Obviously, defendant Warner was very wealthy and had a privileged

life with no explanation for his criminal conduct other than insatiable greed.

Despite Warner's long te1m sophisticated, premeditated and egregious

conduct, the government filed only a one-count felony infonnation charging

Warner with willful tax evasion in violation of 26 U.S.C. Section 7201.

Defendant Warner had no prior convictions, and the resulting guidelines

calculations yielded an adviso1y guideline range of 46 to 57 months

imprisonment.    At sentencing, the district court was appraised of the

charitable causes to which defendant Warner had given money which of

course, was easy for Warner to do. The district court sentenced defendant

Warner to two years' probation with community service and a fine of



                                      3

                                  App. 36
Case: 1:20-cr-00309
  Case:  23-2557 Document#:   184 Filed: Filed:
                    Document: 53         04/07/23  Page 4 of 13Pages:
                                                09/25/2024      PagelD139
                                                                       #:969




$100,000.00.    The govenm1ent appealed to the Seventh Circuit Court of

Appeals arguing that the sentence was too lenient, and that defendant

Warner should have been incarcerated.       The Seventh Circuit Court of

Appeals rejected the government's arguments and affirmed the sentence of

probation. In the course of affirming the sentence of probation, the Seventh

Circuit Court of Appeals engaged in an analysis of the significance of the

sentencing guidelines and the sentencing factors set forth in Title 18 United

States Code Section 3553. The Seventh Circuit initially noted that the

crimes to which the defendant pleaded guilty did not expressly require the

district court to send the defendant to prison. The Court of Appeals went on

to state that in reviewing the Section 3553 factors "[a]fter United States v.

Booker, however, the guidelines are merely advisory. 543 U.S. 220, 245

(2005)." The appellate court citing Rita v. United States, 551 U.S. 338,

351 (2007) and Gall v. United States, 552 U.S. 3_38, 35 1 (2007) indicated

that the guidelines are to be considered, but not to be given much weight.

"The open-endedness of the section 3553(a) factors leaves ample room for

the court's discretion." Thus, the district comt's imposition of a sentence of

probation in the case of defendant Warner when all factors pointed to a

sentence of incarceration was a proper exercise of the district court's

discretion.    In addition, Gall v. United States, 552 U.S. 38, 48 (2007)



                                      4

                                 App. 37
Case: 1:20-cr-00309
  Case:  23-2557 Document  #: 53
                    Document: 184 Filed: Filed:
                                         04/07/23  Page 5 of 13Pages:
                                                09/25/2024      PagelD139
                                                                       #:970




recognized that probation represents a substantial restriction on an

individual's liberty. The Supreme Court recounted that a probationer cannot

move, change jobs, associate freely and generally has restricted freedom.

  It is respectfully requested that the advisory guidelines be applied to Larry

Jones with same thoughtfulness as they were applied to defendant Warner.

Lan-y Jones acknowledges that he has been involved in selling illegal drugs.

He acknowledged in the plea agreement that he; Jamar Spencer, and Marsha

Fountain had other narcotics activity besides what is charged in this

indictment. It is not to the extent that Jarmar Spencer is alleging. Counsel

has requested from the government any books and records to conoborate

Jamar Spencer's assertions. There are no records. In summary, this is a

matter where three individuals, Lan-y Jones, Jamar Spencer, and Marsha

Fountain agreed together, and worked together, to sell drugs. All three

defendants were of equal stature in the matter doing what they needed to do

to try to make money from the sale of heroin. Larry Jones knew a person he

could call to get heroin. Marsha Fountain and Jamar Spencer knew how to

mix drugs and had methods of distribution. Attached is the government's

sentencing memorandum regarding defendant Marsha Fountain for

comparison purposes. They did not make much money. Lan-y Jones is not




                                       5

                                  App. 38
Case: 1:20-cr-00309
  Case:  23-2557 Document#:   184 Filed: Filed:
                    Document: 53         04/07/23  Page 6 of 13Pages:
                                                09/25/2024      PagelD139
                                                                       #:971




trying to depreciate the seriousness of his offense or conduct, but he wants

the court to know the truth.

   Counsel has spent many hours speaking with Lany Jones so that counsel

could convey to the comt what Lany Jones wants said to the court even

though he is unable to articulate the thoughts for himself.

   Larry Jones acknowledges that he has a very serious prior record. As the

court can discern from reviewing his history that he had no structure in his

life as a child. His parents were involved in drugs and abandoned him when

he was a child.       The only constant adult in his life was his great

grandmother.    He grew up in an environment of drugs, violence, and

poverty. The attempt murder case which Larry Jones had when he was 16

years old is an example of the early stages of his life. The case arose from an

after-school confrontation between Lany Jones and his friends and another

group of boys. Larry Jones and a boy in the rival group were fighting and

struggling over a gun. The gun discharged in the snuggle hitting the boy

with who he was fighting and another boy. Another example is the brawl in

which Larry Jones was involved which resulted in blindness in his left eye.

This brawl occun-ed in 2003 when he was 23 years old. Again, Larry Jones

was fighting with some other young men. One of the individuals came from

behind him and hit him on the left side of his face near his left eye. Larry



                                       6

                                  App. 39
Case: l:20-cr-00309 Document #: 184 Filed: 04/07/23 Page 7 of 13 PagelD #:972
  Case: 23-2557     Document: 53          Filed: 09/25/2024   Pages: 139



Jones suffered nerve damage which caused him to become blind in his left

eye.

   Lan-y Jones has great difficulty reading and writing. Counsel has helped

him read and understand the documents in this case.       His son's mother

helped him compose the letter which will be submitted to this court. He has

not completed high school. He left school after the ninth grade. His reading

and comprehension skills are not at a ninth-grade level.        He was not

promoted to the ninth grade because he had achieved the appropriate

proficiency. Counsel has tried to obtain Larry Jones earlier school records

which counsel hoped would contain an Individual Assessment Plan,

commonly called an "IAP." Counsel was unable to obtain the elementa1-y

school records. While on home confinement, Larry Jones had a meaningful

and legitimate job. He was proud of his work and himself. His son worked

with him. It allowed him to give his son a positive example and spend time

together doing something positive. However, while working, Larry Jones's

lack of education hindered him in many ways.          He had difficulty in

communicating with people not from his community and with mathematical

concepts. He has realized that he has many shortcomings. He is now very

eager to finish high school and leam what he should have learned earlier.

He would like to learn a trade so that he can support himself and be a



                                      7

                                  App. 40
Case: 1:20-cr-00309
  Case:  23-2557 Document#:   184 Filed: Filed:
                    Document: 53         04/07/23  Page 8 of 13Pages:
                                                09/25/2024      PagelD139
                                                                       #:973




positive member of society. He understands that he has done wrong things in

the past and he takes responsibility for what he has done. He desires to go

forward and become a better person. Larry Jones agrees that he must be

accountable for what he has done and that he must be punished. He intends

to use his time in prison in a productive manner    I am attaching a copy of

the letter from his last employer which was previously submitted to the

court.    This case has had a great impact on Larry Jones. He has achieved

some meaningful maturity. As the court is aware, since his arrest for this

matter on June 25, 2020, he has been on home detention. When he had his

job, he was allowed to go to work and to go to church on Sunday. His

grandmother allowed him to stay at her house although she did not want him

in her house.     He did not have any violations while on the home

confinement. He thought about his life. He thought about what he has done

and all that he has not done. He thought about the impact of his conduct on

his family and his community.

OBJECTIONS TO PRESENTENCE REPORT

  Defendant objects to the reference in paragraph 10, to the Black P. Stone

street gang and the statement by Special Agent Paul Daou that Larry Jones is

a '"high ranking and respected member"' of the Black P. Stone street gang.

Lany Jones knows people in his neighborhood who are allegedly members



                                      8

                                 App. 41
Case: 1:20-cr-00309
  Case:  23-2557 Document#:   184 Filed: Filed:
                    Document: 53         04/07/23  Page 9 of 13Pages:
                                                09/25/2024      PagelD139
                                                                       #:974




of the Black P. Stone gang. Larry Jones has never undergone the initiation

procedure to become a member of that gang. Counsel for Larry Jones has

requested from the government all documents which support this assertion

of membership along with the assertion that Lany Jones is "high ranking"

and a "respected" member. Counsel has not received anything from the

government. Larry Jones requests that all references to Black P. Stones be

removed from the pre-sentence rep01i. The entire second sentence in

paragraph 10 should be removed. This so1t of allegation in the report will be

viewed in a very negative light by the United States Bureau of Prisons

(BOP) and could cause Lany Jones to serve his sentence in a much more

restrictive BOP facility and result in Lany Jones being ineligible for various

programs in the BOP. This comment and the resulting punitive actions by

the BOP constitute a violation of due process.

   Defendant objects to paragraph 11. Larry Jones agrees that he and the

other individuals distributed 174 grams of heroin and that he had other

transactions with the co-defendants. There are no records. Defendant

Spencer had other sources of heroin as well as other drugs such as ecstasy,

fentanyl, cocaine and marijuana. Lany Jones is not trying to depreciate the

seriousness of his offense. The amounts of diugs as relative conduct are

overstated. In addition, defendants Spencer and Fountain brought some



                                      9

                                  App. 42
Case: 1:20-cr-00309
  Case:  23-2557 Document#:
                    Document: 184
                              53 Filed: 04/07/23 Page 10 of 13
                                        Filed: 09/25/2024      PagelD
                                                             Pages:   #:975
                                                                    139



amounts fentanyl. They were knowledgeable as to how to mix the fentanyl

with heroin. Lan-y Jones had a source of heroin and obtained the heroin for

the transactions in the indictment.

   Defendant objects to the reference to his proffer in 17. The government

agreed that the proffer information would not be used in aggravation. Agent

 Daou is violating the proffer agreement by characterizing Lan-y Jones's

proffer in a negative manner to aggravate Larry Jones's sentence. Lan-y

 Jones had no intention of telling anyone that he engaged in a proffer since

 the government informed him that his proffer was inadequate. This

 reference to his proffer may jeopardize Larry Jones's life and the lives of

 family members while providing no benefit to Larry Jones. Lan-y Jones

 respectfully requests removal of paragraph 17 from the report.

 OFFENSE LEVEL COMPUTATION

    As indicated earlier, Larry Jones is not denying that he had other

 narcotics transactions. The amounts attributed are overstated. There are no

 records. Larry Jones would suggest that the court use the amount of the

 drugs in the indictment which according to the government is 178 grams of

 heroin. In addition, pursuant to paragraphs e and f on pages 12-13 of the plea

 agreement, Lan-y Jones would suggest that all the defendants were equally

 capable. No one was in charge, the boss or a leader. This was a situation of



                                         10

                                      App. 43
Case: 1:20-cr-00309
  Case:  23-2557 Document#:
                    Document: 184
                              53 Filed: 04/07/23 Page 11 of 13
                                        Filed: 09/25/2024      PagelD
                                                             Pages:   #:976
                                                                    139



three people working together to sell heroin. This designation of " leader" or

"supervisor" will make Lany Jones ineligible for BOP programs he needs

for rehabilitation.

    It is respectfully requested that this Court impose the following sentence

 in this matter in light of the Section 3553 factors and the totality of the

 circumstances of this case:

    A term of imprisonment of 5 years followed by 4 years of supervised

 release. This is more than twice the prison term of co-defendant Marsha

 Fountain who received a prison term of 20 months followed by 1 year of

 supervised release. This term will allow for significant punishment,

 detenence for Larry Jones as well as general deterrence. It will provide

 Larry Jones with the structure and opportunity to pursue his educational

 goals. He must leam to read and write. Larry Jones has been on home

 incarceration since June 25, 2020 without any violations.        A five-year

 imprisonment sentence gives him credit for the home incarceration. In

 addition, since his guilty plea on January 19, 2023, Larry Jones has been in

 custody at the Jerome Combs Detention Center of Kankakee County. There

 are no educational programs available to him there and very limited

 recreation. Generally, there are no outdoor activities.     Also, we would

 respectfully request that the comt recommend that Lany Jones be allowed to



                                      II

                                  App. 44
Case: 1:20-cr-00309
  Case:  23-2557 Document # : 184
                    Document: 53 Filed: 04/07/23 Page 12 of 13
                                        Filed: 09/25/2024      PagelD
                                                             Pages:   #:977
                                                                    139



participate m the BOP Residential Drug Abuse Program to address his

alcohol and drug use issues.    Finally, it is respectfully requested that the

court recommend that the BOP designate Larry Jones to a facility where he

can have access to educational programs and training in a trade.



                               Respectfully submitted,
                               Phillip A. Turner
                               Phillip A. Turner
                               Attorney for defendant
                               20 North Clark Street
                               Suite 3300
                               Chicago, Illinois 60602
                               312-899-0009
                               pturner98@sbcglobal.net




                                     12

                                  App. 45
Case: 1:20-cr-00309
  Case:  23-2557 Document # : 184
                    Document: 53 Filed: 04/07/23  Page 13 of 13
                                        Filed: 09/25/2024       PagelD
                                                              Pages:   # :978
                                                                     139




                       CERTIFICATE OF SERVICE

  The undersigned attorney hereby ce1iifies that in accordance with
Fed.R.Civ.P.5, LR 5.5 and the General Order on Electronic Case Filing
(ECF), the following document:

          LARRY JONES'S SENTENCING MEMORANDUM


was served pursuant to the district court's ECF system as to ECF filers.



                                Respectfully submitted,

                                Phillip A. Turner
                                Phillip A. Turner
                                Attorney for defendant
                                20 North Clark Street
                                Suite 3300
                                Chicago, Illinois 60602
                                312-899-0009
                                ptumer98@sbcglobal.net




                                      13

                                  App. 46
     Case: 1:20-cr-00
        Case:  XX-XXXXXXX Document
                           Document:  53 Filed: 07/13/23
                                   #: 196       Filed: 09/25/2024            #:1034
                                                                      PagelD139
                                                         Page 1 of 13 Pages:



                            UNITED STATES OF AMERICA
                          NORTHE RN DISTRICT OF ILLINOIS
                                EASTERN DMSIO

UNITED STATES OF AMERICA
                                                    No. 20 CR 309-1
          V.


LARRY JO ES                                         Hon. Virginia M. Kendall
     also known as "Lil Larry"

                  GOVERNMENT'S SENTEN CING MEMORA NDUM

         Since at least 2016, LARRY JONES, a member of the Black P Stone Nation

street gang, flooded the streets of Chicago with dangerous and illicit drugs, including

cocaine, cocaine base, heroin, and fentanyl. JO ES not only personally distribute d

these deadly drugs to his customers , he employed and worked with others-in cluding

co-defendants Jamar Spencer and Marsha Fountain -to cut, package, and sell drugs

on his behalf. And as explained in greater detail below, J O ES's drug trafficking

enterprise had violent and sometimes fatal consequen ces. For these reasons, the

governme nt respectful ly requests that the Court impose a within-Gu idelines

sentence of 188 months' imprisonm ent followed by four years of supervise d release,

which is sufficient but not greater than necessary to comply with the purposes set

forth in 18 U.S.C. § 3553(a).

I.       BACKGROUND

         On June 24, 2020, defendant was charged by indictmen t with eight counts of

conspiracy to distribute and distributio n of heroin (Counts One, Two, and Four

through        ine) and one count of money launderin g (Count Three). Dkt. 1. Defendan t




                                         App. 47
  Case: 1:20-cr-00
     Case:  XX-XXXXXXX Document
                        Document:  53 Filed: 07/13/23
                                #: 196       Filed: 09/25/2024            #:1035
                                                                   PagelD139
                                                      Page 2 of 13 Pages:




was arrested on June 25, 2020, and arraigned on the same day. Dkt. 13. Defendan t

was released on bond on or about July 2, 2020. Dkt. 21.

      On J anuary 19, 2023, defendant pled guilty to Count One, which charged him

with conspiracy to distribute heroin, in violation of 21 U.S.C. § 846, and Count Three,

which charged him with money laundering , in violation of 18 U.S.C. § 1956(a)(3)(A).

Dkts. 173, 174.

II.   OFFENS E AND RELEVANT CONDUCT
      Beginning on or about August 6, 2018, and continuin g until on or about

Septembe r 3, 2019, defendant conspired with co-defend ants Jamar Spencer and

Marsha Fountain, and others, to knowingly and intentiona lly possess with intent to

distribute and distribute heroin. Specifically, between approxim ately August 2018

and Septembe r 2019, defendant worked with Fountain, Spencer, and others to sell

quantities of heroin in and around Chicago. During this time, defendant directed

Fountain to, among other things, store wholesale quantities of heroin, transport

heroin to defendant and his associates , collect narcotics proceeds from Spencer and

others who sold heroin s upplied by defendant, and provide defendant with

informatio n she received from street level sellers and customers about the quality of

the heroin that defendant supplied.

       For example, on or about August 6, 2018, defendant placed a call to Fountain

and asked her to bring him approxima tely 25 grams of heroin for defendant to sell to

a customer who, unbeknow nst to defendant and Fountain, was a confidenti al source

("CS") cooperatin g with law enforceme nt. Later that day, Fountain met with

defendant and the CS in a vehicle parked on the 400 block of South Cicero Avenue in
                                           2

                                      App. 48
    Case: 1:20-cr-00
       Case:  XX-XXXXXXX Document
                          Document:   53 Filed: 07/13/23
                                  #: 196         Filed: 09/25/2024            #:1036
                                                                       PagelD 139
                                                          Page 3 of 13 Pages:




Chicago. During that meeting, defendant cautioned Fountain about the presence of

law enforceme nt in the area and asked Fountain if she brought ..25 or 50" grams of

heroin to the meeting. Fountain responded that she brought "25," which defendant

understoo d to mean 25 grams of heroin. Fountain then handed a knotted plastic bag

containing approxima tely 25 grams of heroin to defendant , and defendant then gave

the heroin to the CS in exchange for $3,750. As discussed further below, $1,875 of

the $3,750 paid by the CS to defendant was repaymen t for approxim ately 25 grams

of heroin that defendant "fronted" to the CS on or about July 23, 2018.

        During this same time period, defendant also sold quantities of heroin to

Spencer that Spencer then sold to street-level customers . At defendant 's sentencin g

hearing, we expect Spencer to testify that, between approxima tely October 2018 and

April 2019, defendant sold 25-gram quantities to Spencer. 1 The 25-gram quantities

of heroin that defendant sold to Spencer came in pre-packa ged "bundles" containing

approxima tely 14 or 15 "packs," with each pack containing a personal use quantity of

heroin (approximately .1 grams). After defendant sold these bundles to Spencer,

Spencer distribute d that heroin at two drug spots controlled by defendant in the



1
  The governmen t expects to call two witnesses- co-defenda nt Jamar Spencer and Dante
Dockett-to testify at JONES's sentencing hearing. The governmen t has provided Giglio and
3500 material for both witnesses, including reports of investigati on for both witnesses,
Dockett's grand jury transcript, and Dockett's trial testimony transcript from United States
u. Lee, et al. 19 CR 641 (N.D. Ill.). On July 13, 2023, counsel for JONES filed a disclosure
informing the Court that the governmen t "declined to produce" pretrial sentence reports
(PSR) for both Spencer and Dockett. Dkt. 195. First, JONES is not entitled Spencer and
Dockett's PSRs because they do not contain Brady material. Second, and more importantl y,
the governmen t is prohibited from disclosing the PSRs to JQ_ ES. See L.R. 32.l(j) ("The
report shall not be disclosed to any person or agency without the written permission of the
sentencing judge.) (emphasis added).

                                             3

                                        App. 49
  Case: 1:20-cr-0
     Case:        0309 Docume
            23-2557     Document:   53 Filed: 07/13/23
                              nt #: 196        Filed: 09/25/2024            #:1037
                                                                     PagelD 139
                                                        Page 4 of 13 Pages:




Austin neighbor hood of Chicago: (1) the area near North Latrobe Avenue and West

Chicago Avenue; and (2) the area on West Huron Street between North Pine and

 orth Lotus Avenue. At times, defenda nt also directed Spencer to meet with one of

defendan t's other associat es (Individu al A) to deliver heroin to or collect narcotics

proceeds from Individu al A on defenda nt's behalf.

      In addition to selling hel'oin to Spencer , defenda nt also sometim es directed

Spencer to distribut e heroin directly to defendan t's custome rs.    For example , on

October 24, 2018, defenda nt directed Spencer to travel to the 3800 block of West Lake

Street in Chicago to meet with the CS. During that meeting, Spencer gave the CS

approxim ately 24.8 grams of heroin and received approxim ately $1,880 in narcotic s

proceeds from the CS, which Spencer then gave to defendan t.

      In addition to the August 6 and October 24, 2018, transact ions describe d above,

defendan t sold approxim ately 124.3 grams of heroin to the CS over the span of five

transact ions that occurred between August 2018 and Septemb er 2019. Specifically,

on or about August 15, 2018, defendan t distribut ed approxim ately 24.8 grams of

heroin to the CS; on or about Septemb er 19, 2018, defenda nt distribu ted

approxim ately 25 grams of heroin to the CS; on or about Decemb er 18, 2018,

defendan t distribut ed approxim ately 24.9 grams of heroin to the CS; on or about

February 20, 2019, defenda nt distribut ed approxim ately 25 grams of heroin to the

CS; and on or about Septemb er 3, 2019, defenda nt distribu ted approxim ately 24.5

grams of heroin to the CS.      Defenda nt received $9,385 in connecti on with those

transacti ons.


                                           4


                                       App. 50
  Case: 1:20-cr-00
     Case:  XX-XXXXXXX Document
                        Document:  53 Filed: 07/13/23
                                #: 196        Filed: 09/25/2024            #:1038
                                                                    PagelD 139
                                                       Page 5 of 13 Pages:




       In addition to the transactio ns charged in the indictmen t, we expect that

Spencer will testify about his history with defendant and narcotics transactio ns with

defendant that started in approxima tely 2016. We expect Spencer will testify that,

in total, defendant possessed with intent to distribute and distribute d at least 85

grams of cocaine base; at least 160 grams of fentanyl-l aced heroin; more than 5

kilograms of heroin; and approxima tely 12 kilograms of marijuana .

       Aside from the staggering amount of narcotics possessed and sold by defendant

over the course of the conspiracy, defendant also laundered money as part of his drug

trafficking enterprise .   Specifically, on August 6, 2018, during the narcotics

transactio n between the CS and defendant described above, defendant received

approxima tely $3,750 in payment from the CS. Approxim ately $1,875 of that total

represente d payment to defendant for narcotics previously supplied by defendant to

the CS on or about July 23, 2018. Defendan t accepted payment for the purpose of

promoting and maintaini ng his drug dealing relationsh ip with the CS.

111.   GUIDELI NES CALCULATIONS

       The governme nt agrees with Probation 's calculatio n of the applicable

Guidelines: total offense level of 31, criminal history category IV, which results in an

advisory Guideline s range of 151 to 188 months' imprisonm ent.

       Offense Level

       The governme nt agrees with Probation that the base offense level is 32,

pursuant to Guideline s § 2Dl.l(a)(5) , because the offense of conviction and relevant

conduct involved more than 3,000 kilograms , but less than 10,000 kilograms , of

converted drug weight. Probation also correctly applied a two-level enhancem ent to
                                           ()




                                      App. 51
       Case:
    Case:           0309 Docume
              23-2557
          1:20-cr-0       Document:  53 Filed: 07/13/23
                                nt#: 196        Filed: 09/25/2024             #:1039
                                                                      Page ID 139
                                                         Page 6 of 13 Pages:




account for defendan t's leadersh ip role in the drug enterpri se, resulting in a total

offense level of 34_2 Moreover, defendan t has clearly accepted responsi bility for the

offense of conviction. Defenda nt has also admitted that, prior to the offense of

conviction, he engaged in other narcotics trafficki ng offenses with co-defen dant

Spencer. However, defenda nt has maintain ed that Spence r-and by extensio n, the

governm ent-has overstat ed the quantity of narcotics trafficke d by defenda nt and

Spencer during the relevant time period.           Neverth eless, if the Court finds that

defendan t has accepted responsi bility, he is entitled to a three-lev el reductio n,

resulting in a total offense level of 31.

        Crimina l History

        With respect to defendan t's criminal history, the plea agreeme nt anticipa ted

that defenda nt would be assessed O criminal history points, resultin g in a criminal

history category of I, based, in large part, on the age of defenda nt's prior convictions.

However, with the benefit of the PSR and addition al records located by the Probatio n

Officer, the governm ent agrees that defendan t's criminal history points actually

equal seven, resulting in a criminal history category of IV.

        Specifically, the plea agreeme nt did not include the following convictions:

defendan t's 1997 attempte d murder conviction in the Circuit Court of Cook County

possession of a controlle d substanc e offense in the Circuit Court of Cook County (PSR

ri 40); and defendan t's 2002 possession of a controlled substanc e conviction in the


2Because Counts One and Three are grouped together for guideline calculatio n purposes , the
two-level enhancem ent applied by the governm ent in the plea agreemen t, which brought the
offense level to 36, should be disregarded. PSR il 20.

                                               6

                                            App. 52
  Case: 1:20-cr-00
     Case:  XX-XXXXXXX Document
                        Document:   53 Filed: 07/13/23
                                #: 196         Filed: 09/25/2024            #:1040
                                                                     PagelD 139
                                                        Page 7 of 13 Pages:




Circuit Court of Cook County (PSR ,i 43). As set forth in the PSR, defendant receives

seven criminal history points for these convictions.

      Accordingly, it is the governme nt's position that based on a total offense level

of 31 (assuming acceptanc e credit is granted) and criminal history category of IV, the

applicable Guideline s range is 151 to 188 months' imprisonm ent.

IV.   THE § 3553 FACTORS SUPPORT WITHI r-GUIDEL INES SENTEN CE
      OF 188 MONTHS' IMPRISONMENT

      Criminal    sentencin g    has   four       purposes   -   retributio n,   deterrence .

incapacita tion, and rehabilitat ion. United States v. Milbourn, 600 F .3d 808, 812 (7th

Cir. 2010). Section 3553(a) requires the court to impose a sentence that is "sufficient,

but not greater than necessary, " to comply with the purposes of sentencing . In order

to determine the particular sentence to impose, the Court must consider the familiar

statutory factors listed in § 3553(a)(l) -(7). One of those factors is the advisor y range

set by the Sentencin g Guidelines , and another is th e Commissi on's policy statement s.

See§ 3553(a)(4), (a)(5). Although the Sentencin g Guideline s are advisory only, "[a]s

a matter of administr ation and to secure nationwid e consistenc y, the Guideline s

should be the starting point and the initial benchmar k." Gall v. United States, 522

U.S. 38, 128 S. Ct. 586, 596 (2007). For two reasons, this Court should give serious

considerat ion to the advisory Guideline s range.

       First, the Sentencin g Guideline s a re the sole factor in § 3553(a) that provides

any objective sentencin g range that can practicabl y promote the overall goal of

minimizin g unwarran ted sentencing disparities , which is itself a statutorily -

mandated factor , § 3553(a)(6). See United States u. M,yhytiuk, 415 F.3d 606, 608 (7th

                                              7

                                       App. 53
  Case: 1:20-cr-00
     Case:  XX-XXXXXXX Document
                        Document:  53 Filed: 07/13/23
                                #: 196       Filed: 09/25/2024            #:1041
                                                                   PagelD139
                                                      Page 8 of 13 Pages:




Cir. 2005) ("The Guideline s remain an essential tool in creating a fair and uniform

sentencing regime across the country."); see also Booher u. United States, 543 U.S.

220, 250 (2005) (''Congress' basic statutory goal - a system that diminishe s

sentencing disparity") ; id. at 253 ("Congress' basic goal in passing the Sentencin g Act

was to move the sentencing system in the direction of increased uniformity''); id. at

267 (rejecting other remedial alternativ es because they were inconsiste nt with the

"basic objective of promoting uniformity in sentencing"). The Supreme Court created

the advisory system to "continue to move sentencing in Congress' preferred direction,

helping to avoid excessive sentencing disparities while maintaini ng flexibility

sufficient to individual sentences where necessary ." Booker, 543 U .S. at 264-65. The

only way to prevent widesprea d unwarran ted disparitie s is to give serious weight to

the Guidelines.

       Second, the Guideline s deserve meaningfu l considera tion because they are "the

product of careful study based on extensive empirical evidence derived from the

review of thousands of individual sentencin g decisions." Gall, 128 S. Ct. at 594. It is

true that there is no "presumpt ion" that a Guideline s sentence is the "correct"

sentence, Rita u. United States, 551 U.S. 338, 351 (2007), and that there is ''broad"

sentencing discretion post-Booker. United States u. Demaree, 459 F.3d 791, 794-95

(7th Cir. 2006). However, the Commissi on is "a respected public body with access to

the best knowledge and practices of penology; its judgment s should not lightly be

disregarde d." United States u. Wachowiak, 496 F .3d 744, 753 (7th Cir. 2007) (internal

quotation and citation omitted). Furthermo re, the Commissi on is charged by statute


                                            8

                                       App. 54
  Case: 1:20-cr-00309
     Case:  23-2557 Document#:
                      Document: 196
                                53 Filed: 07/13/23 Page 9 of 13 Pages:
                                          Filed: 09/25/2024     PagelD 139
                                                                       # :1042




to periodically review and revise the Guidelines as the Commission collects comments

and data from numerous sources in the criminal justice system. See 28 U.S.C. §

994(0). These ongoing efforts to refine the Guidelines are another reason seriously to

consider the advisory range.

      He1·e, a careful consideration of the § 3553(a) factors weigh in favor of a 188-

month sentence, the high end of the applicable Guidelines range.

A.    The Seriousn ess of th e Offense and the History and Ch aracteristics of
      th e Defend an t

      The nature and circumstances of defendant's offense conduct is incredibly

serious. The Court is well aware of the dangers of narcotics on individual users, their

families and their communities. In short, drug use and addiction are causing the

deterioration of whole neighborhoods in Chicago, and the narcotics distribution

business brings consequences beyond the narcotics themselves, including the

increase in violence and homicides in many of the district's communities.           As

explained in more detail below, defendant's drug trafficking activities contributed to

the violence on the west side of Chicago.

      As noted in the PSR, defendant is a member of the Black P Stone Nation street

gang. PSR      10. Although defendant disagrees with that designation, testimon y

from co-defendant Spencer (a fellow Black P Stone) and Dante Dockett will dispel any

doubt from the Court.     We expect that Dockett will testify that he has known

defendant for almost his entire life and knew defendant to be a drug dealer and

member of the Black P Stones. Dockett will also testify that, although defendant was




                                            9

                                      App. 55
    Case: 1:20-cr-00309
       Case:  23-2557 Document#:
                        Document:196
                                  53 Filed: 07/13/23  Page 10 of 13Pages:
                                             Filed: 09/25/2024      PagelD139
                                                                           #:1043




a Black P Stone and Dockett a Traveling Vice Lord, Dockett occasionally purchased

quantities of heroin and crack cocaine from defendant starting sometime in 2016.

         The government expects that Dockett will testify about an instance in which

defendant confided in Dockett in or around December 2016, he suspected that two

young members of the Traveling Vice Lords-later identified as Derrick Jones and

Stephen Tucker-robbed a stash house where defendant kept some of his contraband.

Because Dockett was an elder member of the same gang as Jones and Tucker, he

attempted to help defendant retrieve some of his property. However, J ones and

Tucker refused to speak with Dockett and return defendant's property. As a result,

Dockett murdered them both. See United State v. Lee, et al., 19 CR 641 (N.D. Ill.),

Dkt. 475 (Dockett Plea) at 9-10.3 A senseless and callous act of violence carried out

by Dockett and made possible by defendant's drug trafficking activities.

         In addition to the murders of Jones and Tucker in December 2016, the

government also expects that Dockett will testify about a murder stemming from

defendant's drug trafficking activities that occurred in February 2017. Specifically,

we expect Dockett will testify that in February 2017, defendant called Dockett and

asked Dockett to participate in a drug transaction-either by delivering cfrugs or

picking up drug money-with another of defendant's drug trafficking associates,

Individual TB.       When I ndividual TB and Dockett arrived at their destination,

Individual TB exited the car with a loaded weapon and fired several shots. A short

time later, Dockett drove to where Individual TB was located and saw Individual TB


3   JONES is referenced in the plea agreement as ''Individual LJ."

                                              10

                                          App. 56
 Case: 1:20-cr-00309
    Case:  23-2557 Document#:
                     Document:196
                               53 Filed: 07/13/23  Page 11 of 13Pages:
                                          Filed: 09/25/2024      PagelD139
                                                                        #:1044




fighting with an individual later identified as Antoine Watkins. Individual TB and

Dockett then worked together to murder Watkins. See United State v. Lee, et al., 19

CR 641 (N.D. Ill.), Dkt . 475 (Dockett Plea) at 13-16. We expect that Dockett will

testify that Individual TB called defendant shortly after the encounter with Watkins

and explained the situation. Defendant then directed Dockett to follow Individual

TB to make sure Individual TB was able to make it home without being stopped by

police.

          The sprawling nature of defendant's drug trafficking enterprise here is

evidenced by the multiple t ransactions charged in this case (to which defendant

admitted), by the expected testimony of co-defendant Spencer, a nd are corroborated

by testimony already provided by Dockett. And the seriousness of defendant's drug

trafficking crimes cannot be overstated. Although not charged with any violent acts

in this particular case, defendant's proximity to-and tacit approval of-violence is

disturbing and must be accounted for in his sentence. At least three people are dead,

and their deaths can be traced directly to defendant's drug trafficking. A within-

Guidelines sentence of 188 months' imprisonment is appropriate, but not greater

t han necessary, to adequately account for the seriousness of t he offense and the

seriousness of defendant's criminality.

B.        Th e Need to Protect the P ublic and for Gen eral Deterren ce

          At 42 years old, defendant has not aged out of criminality. Defendant needs to

be incapacitated for a significant period oftime to protect the community from further

harm. Defendant's prior sentences and his proximity to violence has done nothing to


                                            11


                                         App. 57
 Case: 1:20-cr-00309
    Case:  23-2557 Document#:
                     Document:196
                              53 Filed: 07/13/23 Page 12 of 13Pages:
                                        Filed: 09/25/2024      PagelD139
                                                                      #:1045




deter defendant from engaging in his criminal lifestyle. Defendant's history and

conduct in this case show that he is unlikely to be adequately deterred from future

criminal conduct by a below-Guidelines sentence-let alone a five-year sentence-

from this Court. Rather, a significant sentence, one at the high end of the Guidelines,

will be sufficient but not greater than necessary in order to protect the public from

defendant's disdain for, and inability to abide by, the rule of law. In addition, a 188-

month sentence will promote respect for the law by sending a clear message that

those who seek to distribute deadly narcotics and be complicit in violent behavior in

furtherance of those drug trafficking crimes will be held to account for their conduct.

V.    CONDITIONS OF SUPERVISED RELEASE
      Supervised release is extremely important in this case. The government agrees

with all of the mandatory and discretionary and special conditions of supervised

release recommended by Probation. All of these conditions should be imposed on the

basis that they will facilitate supervision by the probation officer, promote

defendant's respect for the law, and deter him from committing future crimes. Lastly,

the conditions will support defendant's rehabilitation and reintegration into the

community, ensure that he is engaged in lawful pursuits upon release from prison, in

light of defendant's history and characteristics.




                                          12

                                       App. 58
 Case: 1:20-cr-00309
    Case:  23-2557 Document#:
                     Document:196
                              53 Filed: 07/13/23 Page 13 of 13Pages:
                                        Filed: 09/25/2024      PagelD139
                                                                      #:1046




VI.   CONCLUSION
      Based on the foregoing, the governmen t respectfully r equests that this Court

sentence defendant to 188 months' imprisonment and 4 years of supervised release.

                                      Respectfully submitted,

                                      MORRIS PASQUAL
                                      Acting United States Attorney

                               By:    s/ Jimmy L. Arce
                                      JIMMY L. ARCE
                                      JOHN D. MITCHELL
                                      Assistant United States Attorneys
                                      219 South Dearborn Street
                                      Chicago, IL 60604
                                      (312) 353-8449
Dated: July 13, 2023




                                        13

                                     App. 59
  Case:
Case:    23-2557
      1:20-cr-0 0309 Documen
                      Document:              07/17/23
                                  198 Filed: Filed:
                             t #: 53                   Page 1 of 3 PagelD
                                                    09/25/2024            #:1048
                                                                   Pages: 139




           IN THE UNITED STATES DISTRI CT COURT
 FOR THE NORTH ERN DISTRICT OF ILLINOIS, EASTER N DIVISION

UNITED STATES OF AMERI CA )
                          )
     V.                   )                 20 CR 309-1
                          )                Judge Virginia M. Kendall
LARRY JONES,              )

    OBJECTION TO THE FILING AND COSIDERATION OF THE
        GOVERNMENT'S SENTENCI G MEMORANDUM

   Defendant LaITy Jones, by his attorney Phillip A. Turner, respectfully

submits the fol lowing as his objection to the filing and consideration of the

governm ent's sentencing memorandum, which was filed on July 13, 2023, at

9:54 pm:

 I. Defendant Jones pleaded guilty on January 19, 2023, and this Court

ordered that the government and defendant file their respectiv e sentenci ng

 memoranda on April 7, 2023.

2. Pursuant to this Court's order, defenda nt Jones filed his sentencing

 memorandum on April 7, 2023. Docket # 184.             The governm ent filed

 nothing.

 3. On July 13, 2023, three months after the court ordered filing date, the

 government filed its sentencing memorandum. The governm ent did not file

 a motion for leave to file its sentencing memora ndum stating good cause as

 to why the government believes that the government has good cause to file



                                   App. 60
Case: 1:20-cr-
  Case:        00309 Docum
         23-2557     Document:              07/17/2
                                 198 Filed: Filed:
                           ent#: 53                 3 Page 2 of 3 PagelD
                                                   09/25/2024            #:1049
                                                                  Pages: 139



its sentencing memorandum three months late. The govern ment filed its

memorandum six days prior to the sentencing hearing schedu led for July 19,

2023. The govern ment's sentencing memor andum makes allegations of

uncharged conduc t regarding drug transactions and defendant's involvement

in a murder. Defendant does not want to wait to make thjs objecti on at the

sentencing hearing in order to conserv e the court's time.

   Wherefore, defendant Jones objects to the filing and consideration of the

government's sentencing memorandum.

                                 Respectfully submitted,
                                 /s/ Phillip A. Turner
                                 Phillip A. Turner
                                 Attorney for defendant
                                 20 North Clark Street
                                 Suite 3300
                                 Chicago, Illinois 60602
                                 312-899-0009
                                 pturner98@sbcglobal.net




                                       2



                                   App. 61
Case: 1:20-cr-00309 Document#: 198 Filed: 07/17/23 Page 3 of 3 PagelD #:1050
  Case: 23-2557     Document: 53          Filed: 09/25/2024   Pages: 139




                      CERTIFICATE OF SERVICE

   The undersigned attorney hereby certifies that the following document:


   OBJECTION TO THE FILING AND COSIDERATION OF THE
       GOVERNMENT'S SENTENCING MEMORANDUM



was served in accordance with Fed.R.Crim.P. 49, and L.R.5.5, and the

General Order on Electronic case Filing (ECF) pw-suant to the dist1ict

court's system as ECF filers.



                                Respectfully submitted,


                                Isl Phillip A. Turner
                                Phillip A. Turner
                                Attorney for defendant
                                20 orth Clark Street
                                Suite 3300
                                Chicago, Illinois 60602
                                312-899-0009
                                pturner98@sbcglobal.net



                                      3



                                  App. 62
                                                                         202
     Case: 23-2557   Document: 53       Filed: 09/25/2024   Pages: 139



 1     for a living.    Doing it in such a fashion is appropriate.        And
 2     as your Honor saw in the draft plea agreement, though he didn't
 3     have to, Jamar Spencer put all of this drug weight on himself
 4     because he fully cooperated with the government and he ful ly
 5     acknowledged his conduct.       Instead of taking responsibility
 6     just for the seven or so transactions t hat are outlined in the
 7     four corners of the indictment, he's walking through all of
 8     these drug transactions.       And so Jamar Spencer wasn't all over
 9     the place .   He was lucid.     He testified, in the government's
10     position, credibly about these regular transactions, both in
11     terms of quantities and in types of drugs that he transacted
12     wit h Dante Dockett -- or with Larry Jones , which was
13     corroborated by Dante Dockett having conducted similar
14     narcotics transacti ons.
15               So I just wanted to note that in terms of Jamar
16     Spencer's testimony and whether these are guesstimates .          This
17     is a normal , acceptable way to sort of calcul ate drug
18     quantities in these types of cases, so I just wanted to note
19     that.
20               THE COURT:   Okay.    So, normally , it is a situation
21     where this dispute might come forward without any type of
22     evidence to support it , and then I have a much more difficult
23     situation; but here I had the testimony of two individuals,
24     Mr . Spencer and Mr , Dockett , who testified regarding their own
25     criminal activity and the criminal activity that they engaged




                                  App. 63
     Case: 23-2557     Document: 53      Filed: 09/25/2024   Pages: 139    203



 1     in with the defendant.
 2                  I did not find that Mr. Spencer's testimony was in any
 3     way clouded by his drug or alcohol use.          He was lucid in his
 4     recollections.      He never really on cross-examination admitted
 5     to having any problem with recalling these events or telling
 6     the government about the different sales that he had done or
 7     the different sources of his sales.         His testimony alone I
 8     think gives you the 32 with the heroin.          So you -- so certainly
 9     his interaction with the defendant would bring you to that
10     level 32 .
11                  But then he's also corroborated by Mr. Dockett as
12     well.   Certainly , when we look at Mr. Dockett , it's quite
13     disturbing to hear of an individual who has murdered six people
14     in his lifetime.      And you have to wonder about his motivation,
15     but his motivation was also given to you in the form of his own
16     admission to his own activity , which was candid and
17     straightforward.      And I did not think on cross -examination that
18     there was any concerns about his recall.
19                  And so with the corroboration of those two individuals
20    who I found to be credible and not really touched on cross by
21     the cross-examination , I do think the drug quantity was
22    appropriate.       In fact , I think it's under - represented.      I think
23    it ' s under-represented by what was said based upon the ongoing
24     interaction that these men had with the defendant .          Probably,
25    if we dug into it more , it would even go higher.           But certainly



                                  App. 64
                                                                               204
     Case: 23-2557     Document: 53        Filed: 09/25/2024    Pages: 139



 1     it is supported by the testimony and by the plea agreement and
 2    even by the defendant's own admission that there were other
 3     amounts.      So we don't know what those other amounts were, but
 4    we found out yesterday and today from these two men.
 5                So 32 will be the base offense level.
 6                And now we'll turn to this issue -- is there an
 7    objection on role in the offense?
 8                MR. ARCY:     I believe so.
 9                THE COURT:     Right.
10                MR . ARCY:    In the calculation that we received from
11    defense counsel yesterday , I don ' t think it included the
12    two-level enhancement for role in the offense.
13                THE COURT:     Okay.    So you want to argue against that.
14    Go right ahead now, Mr. Turner .
15                MR. TURNER:     Yes , Judge.
16                I think, as I said in my sentencing memo , that's where
17    I had an objection to the role , that all of these people were
18    working together.        There was no hierarchy.         And as I said
19    before , I attached the government's sentencing memo for
20    Ms. Fountain and -- where the government said that she brought
21    drugs , she brought mix, she knew how to mix it, and all these
22    things.     This wasn't some drug trafficking organization where ,
23    you know, someone was at the head and -- Larry Jones was at the
24    head.     They were all working together .        I mean, it was -- I
25    guess if you want to characterize it in some way, it was a




                                   App. 65
     Case: 23-2557    Document: 53      Filed: 09/25/2024     Pages: 139      215



 1     they said -- or not that -- as much.        And I think there's a lot
 2     of gray there because, as I indicated before, lots of - -
 3     several people had drugs here.      Marsha Fountain was bringing
 4     drugs and things like that.      And I think it's very easy for
 5     these things to get put on various people or -- when , really ,
 6     that's not their -- their responsibility.
 7               But certainly Larry Jones took responsibility.             He
 8     pled guilty.     The Court pointed to admissions that he made in
 9     making the finding about leadership role and supervision.               And
10     he made those admissions.
11               So if it counts one way, I don't see how it can ' t
12     count in the other way or always count against him.            So he
13    admitted his conduct.      He admitted the conduct with which he
14    was charged.      And that ' s a basic tenet , I think, of our law ,
15     that people are charged with something and they can either
16    admit it or they're entitled under our Constitution to go to
17    trial and contest it.      He didn't do that.         He admitted that
18    what he was charged with he did.        Now , things that aren't even
19    charged , I don't think we should be discussing those because
20    that's not part of acceptance of responsibility.             And in
21    Mr. Jones' case , though , as I said, he admitted the charged
22    conduct , and he admitted that , yes , I had other drug dealings
23    with them.      It wasn't the first time.     There's all kinds of
24    things.
25              So I think he ' s entitled to acceptance of



                                 App. 66
     Case: 23-2557      Document: 53     Filed: 09/25/2024    Pages: 139     216



 1     responsibility because he has accepted responsibility .             And ,
 2     certainly , as I think I indicated yesterday or one of the other
 3     days , I mean , he - - he never was indicating he was going to
 4     trial or anything like that , so the government was never
 5     required to prepare anything .
 6                  So I think under the circumstances here , this case ,
 7     and even with the advisory guidelines , advisory as they are ,
 8     he's entitled to acceptance of responsibility , all three of the
 9     points .
10                  THE COURT:   Well , it ' s a rather close call in my book
11     based upon the minimization that he has done regarding his role
12     in the gang as well as his activity both dealing drugs and in
13    violence.       So I think it's a closer call, yet there's a
14    constitutional right for the defendant to make the gover nment
15    put its proof on , and they di~ that today.            I think it would be
16    improper for me to suggest that he's required to admit to the
17    relevant conduct that they put on the stand today , although I
18    do think he ' s close in his minimization of that conduct.             I'm
19    going to give him the acceptance of responsibility points for
20    pleading guilty to what was charged , and, of course , preventing
21    you from having to put it on at trial , so it saved the
22    gover nment resou r ces there , and we ' ll discuss his over a r ching ,
23    shall we say , mental state with the activity in the 3553
24    facto r s .
25                  So , therefore , looking at the sentencing guideline



                                   App. 67
     Case: 23-2557     Document: 53          Filed: 09/25/2024    Pages: 139

                                                                               244




 1      here.     Stay here for the sentence.        Okay.
 2                  All right.     So we start out with the sentencing , as I
 3      mentioned , with an advisory guideline range of 151 to 188
 4      months.
 5                  And then I turn to the 3553 factors.           And we begin
 6      first with the seriousness of the offense.
 7                  Well, I can't -- I can't underestimate the seriousness
 8     of the drug problem that is occurring on the west side of the
 9     city.      Austin is a lways struggling, struggling to try to help
10     its children, to try to keep a safe community , but the streets
11     are filled with the drug dealers that are talking about their
12     blocks and their share and their drugs, and it brings violence
13     to the community.         It causes people to stay inside their
14     houses.      It causes children not to be safe.           And the drugs that
15     are being placed, especially the heroin is the most highly
16     addictive drug , and that drug , it takes people away from being
17     parents, like your own mother.          Right?
18                 THE DEFENDANT:     Yes.
19                 THE COURT:     They can't be -- they can't be parents.
20     They don't know how to do anything but get that drug and get
21     that next hit.     It robs chi 1dren of their parents.           It robs
22     employers of employees.        It robs leadership for our children
23     who need guidance.        And , sadly, the Austin community where you
24     were doing your drug dealing, that community suffers from
25     violence and drug dealing at a greater degree than other areas


                                     App. 68
     Case: 23-2557      Document: 53       Filed: 09/25/2024   Pages: 139

                                                                            245




 1      of our city.      And it's sad because i t just tries so hard to
 2      remove itself from that , but it cannot because of the
 3      seriousness of these drugs that are constantly being pumped
 4      into the community.      So it's an extremely serious offense.
 5                   History and characteri sti cs of you.     You sure had a
 6      bum r ap , not having leadership in the form of your parents , and
 7      that shows.      It shows through a juvenile record that I ' m not
 8      even taking into account at all , but then it comes forward as
 9      you start to age and get into teenage years and into your
10      adulthood.
11                 The problem here is just a repeated pattern of
12     conduct:      Drug offense, a disorderly conduct , armed robbery
13     when you were younger , attempted murder with these shootings .
14      It's filled with probation violations , disciplinary violations ,
15     supervised release violations , even violations while you're
16     incarcerated , disciplinary incidents and violations of the
17     rules.     And I wonder if , at the age of 16 , if the state system
18     would have done a better job , too , because here you pled guilty
19     and you were found guilty of that attempted murder , and you got
20     an eight-year sentence.         You got nine yea r s originally in 1998 ,
21     and then i t was amended to eight years , and you were released
22     in 2001 , so three years , four years , after the sentence was
23     given.     You're released, put on supervised release , violate ,
24     and go back into custody.
25                 So then the next one that you get is the possession of


                                   App. 69
     Case: 23-2557      Document: 53           Filed: 09/25/2024   Pages: 139

                                                                                246




 1      a controlled substance when you're a young man, selling rocks
 2      on the street, and you're found guilty.              You get two years of
 3      custody on February 18th of 2003 , and you're released on
 4      supervised release three months later in May and discharged
 5      that day from supervised release.             So I'm not sure how that
 6      happened, but obviously            were you in custody at the time?
 7                   THE DEFENDANT:     I actually did nine months for that
 8      case.
 9                   THE COURT:   The name of the case?
10                   THE DEFENDANT:     No, I said I did nine months for that
11      case.
12                   THE COURT:   Nine months.
13               THE DEFENDANT:         Yeah.
14               THE COURT:       Nine months for selling, right?
15               THE DEFENDANT:         Yes.
16               THE COURT:       Right.       So all in all, you've done four
17     years and nine months for the convictions, right?
18               THE DEFENDANT:         That 's correct.
19               THE COURT:       So to your argument of if they had five
20     years here or five years there or five years here, well, he's
21     getting sentences that are warning signs of what could be to
22     come before he reaches this.             So I see that you need specific
23     deterrence.       I see that there's a pattern of behavior of
24     violating court orders and orders when you're on release.
25               And then the thing that worries me the most is the


                                      App. 70
     Case: 23-2557    Document: 53     Filed: 09/25/2024   Pages: 139

                                                                         247




 1      minimization of your role in the broader picture of these
 2     offenses.     No one is holding you responsible for attempted
 3     murder.     No one is holding you -- or the murder of Meem [sic.],
 4     of Watkins.     No one is holding you responsible for beating
 5     Cash.     But what really is indicative of someone who is going to
 6      turn away from a criminal path is someone who accepts his role
 7      in all of these offenses in such a way that he says, " I'm
 8     closing this door and moving forward."       Those are serious,
 9     serious violations of the law that were done to benefit you,
10     according to testimony, done to enable you to continue on with
11     your work.
12                 You can't compare yourself to Ms. Fountain.
13     Ms. Fountain was a low- level worker.     She wasn't a gang member.
14     She wasn't someone who was directing others on the street.         She
15     didn't have blocks that were her blocks.       She was being
16     directed.     So there's no comparison in the situation for
17     avoiding unwarranted sentencing disparities.
18                 So what I see here is an individual who not only has
19     engaged in this drug trafficking organization, but is
20     minimizing his role, not admitting that there was any gang
21     involvement, yet two people saw you sitting at the table or at
22     the meetings for the gang.    Someone knows that you were a
23     General in the gang.    Others have seen you participating as a
24     gang member.    And to just minimize that and say, "That's not
25     accurate," to minimize that, "I don't do any violence," when I


                                 App. 71
     Case: 23-2557   Document: 53      Filed: 09/25/2024   Pages: 139

                                                                        248




 1      have two individuals testifying under oath that there were
 2      these violent acts that were at your direction, minimizing that
 3      you don't have any violence involved in your crime when there's
 4      even an undercover potential transfer of a weapon that you were
 5      going to provide for the undercover.     That minimization shows
 6      that you need specific deterrence and that you may commit
 7      crimes in the future because you haven't quite accepted the
 8      full level of the conduct that you've engaged in as a young
 9     man.
10                Now, when I look to the issue of general deterrence
11     and promoting respect for the rule of law, that's looking out
12     into the community.    That's where the community says, "I need
13     this sentence to reflect the seriousness of what he has done."
14     And those in the community deserve individuals to be locked up
15     that are committing this kind of crime on their streets.         They
16     deserve sentences that ensure that that behavior is sanctioned.
17     And without it, without that, they feel fear.       Without that,
18     they feel despair.    They feel that there's no way to continue
19     on.    The rule of law has to say:   We understand that when
20     someone is engaged in this level of dealing, when they're
21     dealing with the guys that testified here, when they're in the
22     gangs that was testified regarding here, when they're doing
23     violent acts like this, we must give a sentence that says you
24     will stop and we recognize it's serious because you're hurting
25     our community, our community, the rule of law community.


                                App. 72
     Case: 23-2557   Document: 53        Filed: 09/25/2024   Pages: 139

                                                                            249




 1               And so what has -- what has most importance here is
 2      sending a message that the rule of law will be protected when
 3     we look at the act i vity that is laid out here.
 4               So it is my sentence that you will serve 188 months'
 5     incarceration , followed by five years of supervised release on
 6     Count     excuse me, four years of supervised release on
 7     Count 1, three years of supervised release on Count 3.             That
 8     will run concurrently.       No fine.    No restitution.    You owe $200
 9     for the two special assessments.
10               And now I need to go through some of those conditions
11     of supervised release that you have that will -- that you'll
12     need to follow when you are released.
13               So when you're released, you have these conditions ,
14     and I'm going to go through them now.
15               Hold on just a second.        Give me a second.   I moved
16     them aside.
17               Here they are.
18               You shall not commit another state or federal or local
19     crime.
20               You shall not unlawfully possess a controlled
21     substance.
22               And you shall cooperate in the collection of a DNA
23     sample if you're required by the law.
24               You shall refrain from any unlawful use of a
25     controlled substance.      And submit to one drug test within 15


                                  App. 73
 Case: 1:20-cr-00309 Document#: 205 Filed: 07/20/23 Page 1 of 1 PagelD #:1138
     Case: 23-2557     Document: 53           Filed: 09/25/2024      Pages: 139
                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois - CM/ECF NextGen 1.7.1.1
                               Eastern Division


UNITED STATES OF AMERICA
                                        Plaintiff,
V.                                                      Case No.: 1:20-cr-00309
                                                        Honorable Virginia M. Kendall
Lany Jones, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 20, 2023:


       MINUTE entry before the Honorable V irginia M. Kendall as to Larry Jones.
Sentencing hearing held and concluded on 7/20/2023. Mailed notice (lk,)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit ow-
web site at www. ilnd.uscourts.gov.




                                      App. 74
                Case: 1:20-cr-00309
                  Case:  23-2557 Document#:   206 Filed: Filed:
                                    Document: 53         07/25/23  Page 1 of 8 PagelD
                                                                09/25/2024            #: 1139
                                                                               Pages: 139



                               UNITED STATES DISTRICT COURT
                                                         Northern District of Illinois

                                                                       )      JUDGMENT IN A CRIMINAL CASE
              UNITED STATES OF AMERICA                                 )
                                v.                                     )
                                                                       )      Case Number:           l :20-CR-00309( l)
                        LARRY JO ES                                    )
                                                                       )      USM Number:            55044-424
                                                                       )
                                                                       )
                                                                       )      Phillip Arnold Turner
                                                                       )      Defendant's Anomey


THE DEFENDANT:
l8l pleaded guilty to count{s) I and 3 of the Indictment.
0 pleaded nolo contendere to count(s)         which was accepted by the court.
0 was found guilty on count(s)        after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
 Title & Section I 'ature of Offense                                                               Offense Ended              Count
 21 :846=Cd.F Conspiracy To Distribute Controlled Substance                                        09/03/2019                 I
 18: 1956-3300.F Money Laundering - Interstate Commerce                                            09/03/2019                 3




The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing Refonn
Act of 1984.
0 The defendant has been found not guilty on count(s)
l8l Count(s) remaining are dismissed on the motion of the United States.
lt is ordered that the defendant must notify the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs. and special assess111ents imposed by this judgment are fully paid. If ordered to pay
restitution. the defendant must notify the court and United States Attorney of material changes in economic circumstances.

                                                                                 July 20, 2023




                                                                                             . Kendall, United States District Judge

                                                                                  Name and Title of Judge

                                                                                    7/25/2023
                                                                                  Date




                                                                  App. 75
                  Case: 1:20-cr-00
                    Case:  23-2557 309 Documen
                                        Document:             07/25/23
                                                   206 Filed: Filed:
                                               t#: 53                09/25/2024     Pages: #:1140
                                                                        Page 2 of 8 PagelD 139
ILND 2-l5B (Rev. 03/12,2020) Judgmenl mo Criminal Case                                                                        Judgment - Page 2 of 8
Sheet 2 - lmprisonmen1
          DA T: LARRY JONES
           UM BER: I :20-CR-00309( I)
                                                           IlVIPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
                                                                                                                                 the
One hundred eighty eight ( 188) months as to count I of the Indictment; one hundred eitghty eight ( 188) months as to count 3 of
Indictment. Terms to nm concurrent for a total of one hundred eighty eight ( 188) months.

                                                                                                                                                 and
~         The coun makes the following recommendations to the Bureau of Prisons: that the defendant participate in the Residential Drug
                                                                                                                                          programs
     Alcohol Treaunent Program (RDAP) while incarcerated: that the defendant be incarcerated at a facility with ample educational
     that is located close 10 Chicago, Illinois.
~         The defendant is remanded to the custody of the United States Marshal.

0         The defendant shall surrender to the United States Marshal for this district:

          □         at        on

     0         as notified by the United States Marshal.

      D        The defendant shall sunender for service of sentence at the institution designated by the Bureau of Prisons:

          0         before 2:00 pm on

          0         as notified by the United States Marshal.

          0         as notified by the Probation or Pretrial Services Office.




                                                                   RETURN

                                                                                                       ----
 I have executed this judgment as follows: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




                                                                                                                                    copy of this
 Defendant delivered on _ _ _ _ _ 10 _ _ _ _ _ _ _ _ _ __ at_ _ _ _ _ _ _ _ _ _ _ _ _, with a certified
judgment.



                                                                                     UNITED STATES MARSHAL


                                                                                By
                                                                                     DEPUTY UNITED ST ATES MARSHAL




                                                                    App. 76
                  Case: 1:20-cr-00309
                    Case:  23-2557 Document#:   206 Filed: Filed:
                                      Document: 53         07/25/23  Page 3 of 8 PagelD
                                                                  09/25/2024            #:1141
                                                                                 Pages: 139
ILND 245B (Rev. 03/1212020) Judgment in a Criminal Case
Sheet 3 Supervised Release                                                                                                  Judgment - Page 3 ors

DEFENDANT: LARRY JO ES
CASE NUMBER: l :20-CR-00309( 1)

         MANDATORY CO 'DITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3583(d)

Upon release from imprisonment, you shall be on supervised release for a tenn of:
Four (4) years term as to count I of the Indictment; three (3) years as to count 3 of the Indictment. Terms are to run concurrent for a total of
four (4) years.

           The court imposes those conditions identified by checkmarks below:


During the period of supervised release:
 f81 (l) you shall not commit another Federal, State, or local crime.
  f8I   (2) you shall not unlawfully possess a controlled substance.
        (3) you shall auend a public, private, or private nonprofit offender rehabilitation program that has been approved by the court, if
  □
            an approved program is readily available within a SO-mile radius of your legal residence. [Use for a first conviction of a
            domestic violence crime, as defined in§ 356J(b).]
        (4) you shall register and comply with all requi rements of the Sex Offender Registration and Notification Act (42 U.S.C. §
  □
            16913).
  f8I   (5) you shall cooperate in the collection of a D A sample if the collection of such a sample is required by law.
  f8I   (6) you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within 15 days of release on
            supervised release and at least two periodic tests thereafter, up to 104 periodic tests for use of a controlled substance during
            each year of supervised release. [This mandatory condition may be ameliorated or suspended by the court for any defendant
            if reliable sentencing infonnation indicates a low risk of future substance abuse by the defendant.]

  DISCRETIO ARV CO DITIO S OF SUPERVISED RELEASE PURSUA T TO 18 U.S.C § 3563(b) AND
                                 18 U.S.C § 3583(d)
Discr etiona ry Conditions - The court orders that you abide by the following conditions during the term of supervised release because such
conditions are reasonably related to the factors set fo1th in§ 3553(a)(l) and (a)(2)(B). (C), and (D); such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in § 3553 (a)(2) (B). (C), and (D); and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identilied by checkmarks below:

During the period of supervised release:
 D (I) you shall provide financial support to any dependents if you are financially able to do so.
 D (2) you shall make restitution to a victim of the offense under§ 3556 (but not subject to the limitation of§ 3663(a) or
            § 3663A(c)(l)(A)).
 D (3) you shall give to the victims of the offense notice pursuant to the provisions of § 3555, as follows:
 181 (4) you shall seek, and work conscientiously at, lawful employment or, if you are not gainfully employed, you shall pursue
            conscientiously a course of study or vocational training that will equip you for employment.
 D (5) you shall refrain from engaging in the following occupation, business. or profession bearing a reasonably direct relationship
            to the conduct constituting the offense, or engage in the following specified occupation, business, or profession only to a
            stated degree or under stated circumstances; (if checked yes, please indicate restriction(s))
 18) (6) you shall not knowingly meet or communicate with any person whom you know to be engaged, or planning
            to be engaged, in criminal activity and shall not:
              D visit the following type of places:
              18) knowingly meet or communicate with the following persons: Jama r Spencer and Marsha Fountain.
 181 (7) you shall refrain from D any or 18) excessive use of alcohol (de lined as 181 having a blood alcohol concentration
           greater than 0.08; or D         ), and from any use of a narcotic drug or other controlled substance, as defined in§ 102
           of the Controlled Substances Act (ll U.S.C. § 802), without a prescription by a licensed medical practitioner.
 18)  (8) you shall not possess a firearm. destructive device, or other dangerous weapon.
 181 (9)      181 you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                    include urine testing up to a maximum of I 04 tests per year.
              181 you shall participate, at the direction of a probation officer, in a mental health treatment program, and shall take
                   any medications prescribed by the mental health treatment provider.
               D you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specify:

                                                                  App. 77
                   Case: 1:20-cr-00309
                     Case:  23-2557 Document#:   206 Filed: Filed:
                                       Document: 53         07/25/23  Page 4 of 8 PagelD
                                                                   09/25/2024     Pages: #:1142
                                                                                         139
ILND 2458 (Rev. 03/ 12/2020) Judgment in a Criminal C3se
Sheet 3 - Supervised Release                                                                                                    Judgment - Pa2e 4 of 8

DEFENDA T: LARRY JO ES
CASE NUMBER: 1:20-CR-00309( 1)
                              .)
 □      (I0)     (intermittent confinement): you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                  intervals of time, totaling        [no more than the lesser of one year or the term of imprisonment authorized for the
                  offense), during the first year of the term of supervised release (provided, however, that a condition set forth in
                  §3563(b)(l 0) shall be imposed only for a violation ofa condition of supervised release in accordance with§ 3583(e)(2)
                  and only when facilities are available) for the following period
 □      (11)     (community confinement): you shall reside at, or participate in the program of a community corrections facility
                  (including a facility maintained or under contract to the Bureau of Prisons) for all or part of the term of supervised
                  release, for a period of        months.
  □     (12)     you shall work in community service for             hours as directed by a probation officer.
  □     (13)     you shall reside in the following place or area:        , or refrain from residing in a specified place or area:
  181   ( 14)     you shall not knowingly leave from the federal judicial district where you are being supervised, unless
                granted permission to leave by the court or a probation officer. The geographic area of the Northern District of
                Illinois currently consists of the Illinois counties of Cook, DuPage, Grundy, Kane, Kendall, Lake, LaSalle, Will,
                Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and Winnebago.
  181   ( IS)   you shall report to the probation office in the federal judicial district to which you are released within 72 hours of your
                release from imprisonment. You shall thereafter report to a probation officer at reasonable times as directed by the court
                or a probation officer.
  181   ( 16)    181     you shall permit a probation officer to visit you 181 at any reasonable time or D as specified:
                          181 at home               O at work                    D at school                181 at a community service location
                        181 other reasonable location specified by a probation officer
                    181 you shall permit confiscation of any contraband observed in plain view of the probation officer.
  181   ( 17) you shall notify a probation officer within 72 hours, after becoming aware of any change in residence, employer, or
               workplace and, absent constitutional or other legal privilege, answer inquiries by a probation officer. You shall answer
               truthfully any inquiries by a probation officer, subject to any constitutional or other legal privilege.
  181   (18) you shall notify a probation officer within 72 hours if after being arrested, charged with a crime, or questioned by a law
               enforcement officer.
  O     ( 19) (home confinement)
                D       (a)(i) (home incarceration) for a period of_ months, you are restricted to your residence at all times except for
                        medical necessities and court appearances or other activities specifically approved by the court.
                D       (a)(ii) (bome detention) for a period of_ months, you are restricted to your residence at all times except for
                        employment; education; religious services; medical, substance abuse, or mental health treatment; attorney visits;
                        court appearances; court-ordered obligations; or other activities pre-approved by the probation officer.
                D       (a)(iii) (curfew) for a period of_ months, you are restricted to your residence every day.
                □       from the times directed by the probation officer: or D from_ to_.
                D       (b) your compliance with this condition, as well as other court-imposed conditions of supervision, shall be monitored
                        by a form of location monitoring technology selected at the discretion of the probation officer, and you shall abide
                        by all technology requirements.
                D       (c) you shall pay all or part of the cost of the location monitoring, at the daily contractual rate, if you are financially
                        able to do so.
  D     (20) you shall comply with tbe tenns of any court order or order of an administrative process pursuant to the law of a State, the
                 District of Columbia, or any other possession or territory of the United States, requiring payments by you for the support
                 and maintenance of a child or of a child and the parent with whom the child is living.
  D     (21) (deponation): you shall be surrendered to a duly authorized official of the Homeland Security Department for a
                 determination on the issue of deportability by the appropriate authority in accordance with the laws under the Immigration
                 and Nationality Act and the established implementing regulations. If ordered deported, you shall not remain in or enter the
                 United States without obtaining, in advance, the express written consent of the United States Attorney General or the
                 United States Secretary of the Department of Homeland Security.
  181   (22) you shall satisfy such other special conditions as ordered below.
  181   (23) You shall submit your person, property, house, residence, vehicle. papers [computers (as defined in I 8 U.S.C. I 030(e)(J)),
                other electronic communications or data storage devices or media,] or office, to a search conducted by a United States
                Probation Officer(s). Failure to submit to a search may be grounds for revocation of release. You shall warn any other
                occupants that the premises may be subject to searches pursuant to this condition. An officer(s) may conduct a search
                pursuant to this condition only when reasonable suspicion exists that you have violated a condition of your supervision and
                that the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a
                reasonable manner.
  0     (24)      Other:

                                                                     App. 78
                    Case: 1:20-cr-00309
                      Case:  23-2557 Document#:   206 Filed: Filed:
                                        Document: 53         07/25/23  Page 5 of 8 PagelD
                                                                    09/25/2024     Pages: #:1143
                                                                                          139
ILND 2458 (R.:v. 03/ 1112020) Judgm.:nt in a Criminal Case
Sheet 3 - Supervised Release                                                                                                   Judgment- Paee 5 of 8

DEFENDA T: LARRY JO ES
CASE NUMBER: I :20-CR-00309( I)
SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C. 3563(b)(22) and 3583(d)
The court imposes those conditions identified by checkmarks below:

During the term of supervised release:
 □ (1)        if you have not obtained a high school diploma or equivalent, you shall participate in a General Educational
              Development (GED) preparation course and seek to obtain a GED within the first year of supervision.
 □ (2)        you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
              days of placement on supervision.
 181 (3)      if unemployed after the first 60 days of supervision, the probation office shall notify the Court to determine course of
              action.
 D (4)        you shall not maintain employment where you have access to other individual's personal information, including, but not
              limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
 181 (5)      you shall not incur new credit charges or open additional lines of credit without the approval of a probation officer
              unless you are in compliance with the financial obligations imposed by this judgment.
              you shall provide a probation officer with access to any requested financial infomrntion requested by the probation
              officer to monitor compliance with conditions of supervised release.
  181   (7)       within 72 hours of any significant change in your economic circumstances that might affect your ability to pay
                  restitution, fines, or special assessments, you must notify the probation officer of the change.
  D     (8)       you shall file accurate income tax returns and pay all taxes, interest, and penalties as required by law.
  D     (9)      you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
                 probation officer. You shall comply with all recommended treatment which may include psychological and physiological
                 testing. You shall maintain use of all prescribed medications.
                 □       You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                         United States Probation Office. You shall consent to the installation of computer monitoring software on all
                         identified computers to which you have access and to which the probation officer has legitimate access by right or
                         consent. The software may restrict and/or record any and all activity on the computer, including the capture of
                         keystrokes, application infom1ation. Internet use history, t:mail 1;orrespondence, and chat conversations. A notice
                         will be placed on the computer at the time of installation to warn others of the existence of the monitoring
                         software. You shall not remove, tamper with, reverse engineer, or in any way circumvent the software.
                 □       The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                         to satisfaction of other financial obligations imposed by this judgment.
                 □       You shall not possess or use at any location (including your place of employment), any computer, external storage
                         device, or any device with access to the Internet or any on line computer service without the prior approval of a
                         probation officer. This includes any Internet service provider, bulletin board system. or any other public or private
                         network or email system
                 □       You shall not possess any device that could be used for covert photography without the prior approval of a
                         probation officer.
                 □       You shall not view or possess child pornography. If the tream1ent provider detem1ines that exposure to other
                         sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
                         to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a
                         determination, pursuant to 18 U.S.C. § 3583(c)(2), regarding whether to enlarge or otherwise modify the
                         conditions of supervision to include conditions consistent with the recommendations of the treatment provider.
                 D       You shall not, without the approval of a probation officer and tream1ent provider, engage in activities that will put
                         you in unsupervised private contact with any person w1der the age of 18, and you shall not knowingly visit
                          locations where persons under the age of 18 regularly congregate, including parks, schools, school bus stops,
                         playgrounds, and childcare faci lities. This condition does not apply to contact in the course of normal commercial
                         business or unintentional incidental contact
                 □       This condition does not apply to your family members:            [Names]
                 0       Your employment shall be restricted to the judicial district and division where you reside or are supervised, unless
                         approval is granted by a probation officer. Prior to accepting any form of employment, you shall seek the
                         approval of a probation officer, in order to allow the probation officer the opportunity to assess the level of risk to
                         the community you will pose if employed in a particular capacity. You shall not participate in any volunteer
                         activity that may cause you to come into direct contact with children except under circumstances approved in
                         advance by a probation officer and treatment provider.
                 D       You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
                         any other financial infonnation requested.

                                                                     App. 79
                      Case:
                    Case:    23-2557
                          1:20-cr-0 0309 Documen
                                          Document:              07/25/23
                                                      206 Filed: Filed:
                                                 t #: 53                   Page 6 of 8 PagelD
                                                                        09/25/2024            #:1144
                                                                                       Pages: 139
lLND 245B (Rev. 03/1212020) Judgment in a Criminal Case                                                                           Jud5men1- Paue 6 of8
Sheet 3 - Supervised Release
DEFE DA 1T: LARRY JO, ES
CASE NUMBER: l:20-CR-0 0309(1)
                                                                                                                                      laws that
                D      You shall comply with all state and local laws pertaining to convicted sex offenders, including such
                       impose restrictions beyond those set forth in this order.
                                                                                                                                the
 181    ( I0)   you shall pay to the Clerk of 1he Court any financial obligation ordered herein that remains unpaid at
                              ent of the term of supervised release,  at a rate  of not less than  I 0%  of the total of your gross eamings minus
                commencem
                federal and state income tax withholdings.
                                                                                                                                     without the
 181    ( I I)  you shall not enter into any agreement to ac1 as an informer or special agent of a law enforcemen t agency
                prior permission of the court.
                                                                                                                                    you received
 181    ( 12)   you shall pay to the Clerk of the Court S 15 ,0 I 5, as repayment to the United States of governmen t funds
                                                                                                               10: Bureau  of Alcohol,  Tobacco,
                during the investigation oftbis offense. {The Clerk of the Court shall remit the funds
                                                                                            Suite 1500,   Chicago,   IL 60604.
        Firearms & Explosives, Attn: Budget Analyst, 175 West Jackson Boulevard,
                                                                                                                                 members of the
 D      ( 13)   if the probation officer determines 1ha1 you pose a risk to another person (including an organizatio n or
                                   probation  officer may require  you  to tell the person   about  the risk, and  you  must comply   with that
                community), the
                                                                                                               arrests and  convictions and
                instruction. Such notification could include advising the person about your record of
                                                                                        confirm  that  you  have  told the person about  the risk.
                substance use. The probation officer may contact the person and
  181   ( 14)    You shall observe one Reentry     Court session,  as instructed  by  your  probation   officer.
  0     ( 15)    Other:




                                                                     App. 80
                   Case: 1:20-cr-00309
                     Case:  23-2557 Document#:   206 Filed: Filed:
                                       Document: 53         07/25/23  Page 7 of 8 PagelD
                                                                   09/25/2024            #: 1145
                                                                                  Pages: 139
ILND 2458 (Rev. 03/ 1212020) Judgment in a Criminal Case
Sheet 5 Criminal Monetary Penalties                                                                                                  Judgment - Page 7 of 8
DEFENDANT: LARRY JONES
CASE NUMB ER: 1:20-CR-00309(1)

                                              CRJMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                             Assessment                    Restitution            Fine                     AVAA Assessment*     JVTA Assessment**
 TOTA LS                                     S200.00                     S.00                    $.00                   S.00                   $.00


 D      The determination of restitution is deferred ulllil . An Amended Judgmelll in a Criminal Case {AO Z45C} will be entered after such
        determination.
 D      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
        victims must be paid before the United States is paid.




      D           Restitution amount ordered pursuant to plea agreement $

       □          The defendant must pay interest on restitution and a fine of more than S2,500, unless the restitution or fine is paid in full
                  before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options 011 Sheet
                  6 may be subject 10 penalties for delinquency and default, pursuam to 18 U.S.C. § 3612(g).
      D           The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                  D                the interest requirement is waived for the

                  □                the interest requirement for the             is modified as fo llows:
      O           The defendant's non-exempt assets, if any, are subject to immediate execution to satisfy any outstanding restitution or fme
                  obligations.

      * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
      •• Justice for Victims o f Trafficking Act o f 2015, Pub. L. No. 114-22.
      *** Findings for the total amount of losses are required under Chapters 109A, 110, I IOA, and 113A of Title 18 for offenses committed on or after
      September 13, 1994. but before April 23, 1996.




                                                                         App. 81
                   Case: 1:20-cr-00309
                     Case:  23-2557 Document#:   206 Filed: Filed:
                                       Document: 53         07/25/23  Page 8 of 8 PagelD
                                                                   09/25/2024            #: 1146
                                                                                  Pages: 139
ILND 245B (Rev. 03/ 12/2020) Judgment in a Criminal Case
Sheet 7 - Denial of Federal Benefits                                                                                       Jud2ment - Page 8 of 8

DEFENDANT: LARRY JONES
CASE NUMBER: l :20-CR-00309(1)
                                                       SCHEDULE OF PAYMENTS
Having assessed the defendant's ability lo pay, payment of the total criminal monetary penalties is due as follows:

A              Lump sum payment of S200.00 due immediately.

               □         balance due not later than        , or

               0         balance due in accordance with D C, 0 D, 0 E. or O F below; or


B       □      Payment 10 begin immediately (may be combined with O C, 0 D, or O F below); or

C       □      Payment in equal         (e.g. weekly. monthly, quarterly) installments of S       over a period of       (e.g., months or years} , to
               commence         (e.g., 30 or 60 days) after the date of this judgment; or

D       □      Paymen t in equal         (e.g. weekly, mont/rly, quarterly) installments of$       over a period of      (e.g .. months or years), to
               commence          (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E       □      Payment during the tem1 of supervised release will commence within         (e.g., 30 or 60 days) after release from imprisonment.
               The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F       □      Special instmctions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during impri~u111m:nt. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' fnmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

0      Joint and Several

Case umber                                         T otal Amount          J oint and Sever al         Corresponding Payee, if
Defenda nt and Co-Defenda nt ames                                         Amount                      Appro pr iate
(including defend ant number )

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several
Amount. and corresponding payee, if appropriate.**

0      The defendant shall pay the cost of prosecution.

0      The defendant shall pay the following court cost(s}:

0      The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) A VAA assessment. (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.




                                                                   App. 82
